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Keith A. Ketterling, OSB No. 913368
Email: kketterling@stollberne.com
Timothy S. DeJong, OSB No. 940662
Email: tdejong@stollberne.com
Jacob S. Gill, OSB No. 033238
Email: jgill@stollberne.com
Nadia H. Dahab, OSB No. 125630
Email:ndahab@stollberne.com
STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
209 SW Oak Street, Suite 500
Portland, Oregon 97204
Telephone: (503) 227-1600
Facsimile: (503) 227-6840

Steve W. Berman (admitted pro hac vice)
Email: steve@hbsslaw.com
Karl P. Barth (admitted pro hac vice)
Email: karlb@hbsslaw.com
Catherine Y.N. Gannon (admitted pro hac vice)
Email: catherineg@hbsslaw.com
Dawn Cornelius (admitted pro hac vice)
Email: dawn@hbsslaw.com
HAGENS BERMAN SOBOL SHAPIRO LLP
1918 Eighth Avenue, Suite 3300
Seattle, Washington 98101
Telephone: (206) 623-7292
Facsimile: (206) 623-0594

Attorneys For Plaintiffs
[Additional Counsel of Record Listed on Signature Page]




                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION

LAWRENCE P. CIUFFITELLI, for himself                   Case No. 3:16-cv-00580-AC
and as Trustee of CIUFFITELLI
REVOCABLE TRUST; GREG and ANGELA
JULIEN; JAMES and SUSAN
MACDONALD, as Co-Trustees of the                       SECOND AMENDED CLASS ACTION
MACDONALD FAMILY TRUST; R.F.                           COMPLAINT
MACDONALD CO.; ANDREW NOWAK,
                                                       JURY TRIAL DEMANDED
for himself and as Trustee of the ANDREW
NOWAK REVOCABLE LIVING TRUST
U/A 2/20/2002; WILLIAM RAMSTEIN; and



                                STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                        209 S.W. OAK STREET, SUITE 500
                                           PORTLAND, OREGON 97204
                                      TEL. (503) 227-1600 FAX (503) 227-6840
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GREG WARRICK, for himself and, with
SUSAN WARRICK, as Co-Trustees of the
WARRICK FAMILY TRUST, individually
and on behalf of all others similarly situated,

               Plaintiffs,

   v.

DELOITTE & TOUCHE LLP;
EISNERAMPER LLP; SIDLEY AUSTIN
LLP; TONKON TORP LLP; TD
AMERITRADE, INC.; INTEGRITY BANK &
TRUST; DUFF & PHELPS, LLC,

               Defendants.


        Plaintiffs allege the following upon personal knowledge as to themselves and their own

acts, and as to all other matters upon information and belief, based upon the investigation made

by and through their attorneys.

                                             INTRODUCTION

        1.     This lawsuit seeks to recover losses for more than 1,500 investors who, at the end

of 2015, were owed more than $600 million on the securities they purchased from the Aequitas

companies. Defendants’ participation and assistance made these sales possible. According to

the most recent estimate by the court-appointed Receiver for the Aequitas companies, those

investors will lose at least $450 million of the principal on their investments, after Aequitas

collapsed in spectacular fashion and was shut down by the Securities and Exchange Commission

(“SEC”).

        2.     The Aequitas securities were sold in violation of the Oregon Securities Law. The

securities were not registered in compliance with Oregon law, and Aequitas sold the securities by

means of untrue statements of material fact and omissions of material facts. A temporary


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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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litigation stay prevents plaintiffs from naming at this time as defendants in this lawsuit the

Aequitas companies and others primarily liable for these violations, including Aequitas

executives Robert Jesenik, Brian Oliver and Scott Gillis. However, the Oregon Securities Law

provides for joint-and-several secondary liability in such situations. Defendants participated and

aided in the unlawful sales of Aequitas securities, and Integrity Bank & Trust also successfully

solicited some of the unlawful sales of Aequitas securities. Thus, Defendants are jointly and

severally liable to return to all Aequitas investors the money the investors paid for the securities,

plus interest at the rate stated in the security or 9 percent, whichever is greater.

        3.      The untrue statements and omissions by Aequitas are extensive and pervasive and

are alleged in detail herein. In general terms, the investments were represented to be secure,

stable, and liquid. Aequitas emphasized “strong asset coverage,” and investors were told that the

value of the Aequitas collateral backing their securities substantially exceeded the collective

amount owed to security holders. Aequitas represented that it had taken additional steps to

reduce risk, including securing guarantees and recourse agreements and monitoring the assets on

a monthly basis. Investors were told that the money they invested would be used to purchase

“stable” and valuable assets, primarily consisting of hospital and education receivables, from

“financially strong institutions.” Aequitas touted that its investors “have enjoyed consistent

quarterly interest payments with no loss of principal since 2003.” And they were told that their

securities were liquid, meaning that investors could cash out of their investments if they chose to

do so. Each of those representations was untrue or misleading.

        4.      In truth, there was nothing stable or secure about the investments. Aequitas was

dependent upon investor money—not to fund purchases of assets, as Aequitas represented—but

to satisfy redemptions and interest payments to other investors. Aequitas was also dependent

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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upon investors renewing their investments on maturity, to avoid huge redemption obligations.

Aequitas’ assets did not generate sufficient income to satisfy Aequitas’ massive debt obligations,

including to the investors. Investors were not told this. Instead, Aequitas manufactured an

appearance of financial strength by manipulating the value of assets carried on its books.

Aequitas accomplished this for six years by constructing a morass of interrelated companies and

frequent inter-company transactions. The collateral values reflected on its books and in financial

statements provided to investors were highly inflated. Aequitas failed to write down the

collateral values even when the assets were severely distressed or worthless. For instance, the

“financially strong” education institution that originated the student loans in which Aequitas

invested was the very unstable, notorious for-profit Corinthian Colleges. Aequitas failed to

disclose that a significant portion of investors’ money was used to fund various Aequitas-related

or -sponsored companies without receiving fair value.

       5.      Aequitas internal documents reveal that Aequitas was dependent on receipt of

new investor money at least as early as 2010. Aequitas internal communications detail a

continuous cash crunch and dependence on raising huge amounts of new investor money and

upon dissuading existing investors from redeeming their securities for survival. Rather than

acknowledge its extensive problems, Aequitas implemented a facade. To the outside world,

Aequitas was flying high, throwing lavish parties, opening expensive new offices, hiring new

employees, traveling by private plane—all of which compounded Aequitas’ financial

problems—and reporting impressive financial results. Inside the company, executives discussed

in dire terms the company’s continual failure to sell sufficient new securities to purchase assets

and meet obligations. An October 2015 memo from one executive documents extensive,

ongoing misuse of investor funds, misrepresentations in the sale of securities, failure to provide

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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adequate disclosure information to investors, and routine violations of SEC rules and regulations.

In February 2016, Aequitas was forced to disclose to investors for the first time that it had not

been able to satisfy investors’ redemption requests for months, leading to the implosion of

Aequitas, the termination of nearly all of its employees, a lawsuit by the SEC, and a request to

have a receiver appointed to manage the disaster.

                                   JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction over this class action pursuant to the

Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d)(2), because the matter in controversy

exceeds $5,000,000, exclusive of interests and costs; is a class action involving 100 or more class

members; and at least one member of the Class is a citizen of a different state than a Defendant.

       7.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Defendants

reside in Oregon and in this District and a substantial part of the events and omissions giving rise

to the claims occurred in this District.

       8.      This Court has personal jurisdiction over Defendants pursuant to Rule 4(k)(1)(a)

of the Federal Rules of Civil Procedure because Defendants are subject to the jurisdiction of the

courts of general jurisdiction in Oregon. Defendant Tonkon Torp LLP is a citizen of Oregon.

The activities of Defendants Deloitte & Touche LLP; EisnerAmper LLP; Sidley Austin LLP; and

Duff & Phelps, LLC in Oregon and the services they each provided to persons in Oregon form

the basis of the claims asserted against them in this complaint. The services that TD Ameritrade,

Inc., and Integrity Bank & Trust provided to persons in Oregon form the basis of the claims

asserted against them in this complaint. Each of the Defendants engaged in conduct made

actionable under the Oregon Securities Law.



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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
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                                                  PARTIES

       Plaintiffs

       9.      Plaintiff Lawrence P. Ciuffitelli, a resident of California, acting for himself and in

his capacity as trustee of the Ciuffitelli Revocable Trust U/A 5/1/1996 (“Ciuffitelli”), purchased

securities from Aequitas in the total principal amount of $2.5 million.

       10.     Plaintiffs Greg and Angela Julien, residents of California, acting in their

capacities as trustees of the Gregory and Angela Julien Revocable Trust U/A 7/2/2012 (the

“Juliens”), purchased securities from Aequitas in the total principal amount of $375,000.

       11.     Plaintiff R. F. MacDonald Co. (“RFMC”), a California corporation with its

principal place of business in Hayward, California, purchased securities from Aequitas in the

total principal amount of more than $4.7 million.

       12.     Plaintiffs James and Susan MacDonald, residents of California, acting as co-

trustees of the MacDonald Family Trust U/A 12/05/2000 (the “MacDonalds”), purchased

securities from Aequitas in the total principal amount of $2 million.

       13.     Plaintiff Andrew Nowak, a resident of Oregon, acting for himself and in his

capacity as trustee of the Andrew Nowak Revocable Living Trust U/A 2/20/2002 (“Nowak”),

purchased securities from Aequitas in the total principal amount of $2.1 million.

       14.     Plaintiff William Ramstein (“Ramstein”), a resident of California, purchased

securities from Aequitas in the total principal amount of $1.945 million.

       15.     Plaintiffs Greg and Susan Warrick, residents of California, acting as co-trustees of

the Warrick Family Trust, and plaintiff Greg Warrick, acting for himself, purchased securities

from Aequitas in the total principal amount of $151,200.



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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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       Defendants

       16.     Defendant Deloitte & Touche LLP (“Deloitte”) is a Delaware limited liability

partnership registered to do business in Oregon. As detailed herein, Deloitte performed auditing

and accounting services for Aequitas and enabled Aequitas to sell securities that are at issue in

this action. Deloitte officially replaced Defendant EisnerAmper LLP as Aequitas’ auditor on or

about September 12, 2013. Deloitte prepared audited financial statements for Aequitas for the

years 2013 and 2014. These audited financial statements were excerpted and referenced in

offering documents and provided to prospective investors and existing investors deciding

whether to invest or re-invest. The audited financial statements were a material part of the

information made available to investors and the existence of an auditor gave Aequitas clout.

Indeed, the offering documents for Aequitas securities prominently identified Deloitte as

Aequitas’ auditor. On and after March 24, 2014, Deloitte was identified, in the publicly-

available Form ADV filed by Aequitas Investment Management, LLC (“AIM”), as the auditor

for all the Aequitas funds (that is, all Aequitas fundraising vehicles other than ACF)

       17.     Defendant EisnerAmper LLP is a New York limited liability partnership

registered to do business in Oregon, and the successor by merger to Harb Levy & Weiland LLP

(“EisnerAmper”). As detailed herein, EisnerAmper performed auditing and accounting services

for Aequitas and enabled Aequitas to sell securities that are at issue in this action. EisnerAmper

prepared audited financial statements for Aequitas for the years 2011 and 2012. These audited

financial statements were excerpted and referenced in offering documents and provided to

prospective investors and existing investors deciding whether to invest or re-invest. The audited

financial statements were a material part of the information made available to investors and the

existence of an auditor gave Aequitas clout. Indeed, the offering documents for Aequitas

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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securities prominently identified EisnerAmper as Aequitas’ auditor. Even after Deloitte replaced

EisnerAmper as auditor, Aequitas private placement memorandums (“PPMs”) continued to

reference and excerpt from the EisnerAmper audited financial statements. Until March 24, 2014,

EisnerAmper was identified, in the publicly-available Form ADV filed by AIM, as the auditor

for all the Aequitas funds (that is, all Aequitas fundraising vehicles other than ACF).

       18.     Defendant Sidley Austin LLP (“Sidley”) is an Illinois limited liability partnership.

Sidley is an international business law firm that provided legal services to Aequitas in connection

with the sale of securities that are at issue in this action. Sidley advised Aequitas with respect to

the sale of its securities, including providing a critical legal opinion regarding Aequitas’

compliance with the Investment Advisers Act of 1940 that enabled Aequitas to obtain clean audit

opinions from EisnerAmper and Deloitte and to sell securities, and prepared legal papers

necessary for Aequitas to complete the sale of its securities, including offering documents, risk

disclosures, and subscription agreements. Sidley prepared these documents with knowledge that

Aequitas would sell the subject securities. Sidley was identified as legal counsel to Aequitas in

offering documents. The Aequitas securities could not have been sold without the legal services

that Sidley provided.

       19.     Defendant Tonkon Torp LLP (“Tonkon”) is an Oregon limited liability

partnership. Tonkon is a law firm with offices in Portland. At all material times, Tonkon

provided legal services to Aequitas in connection with the sale of securities that are at issue in

this action. Tonkon advised Aequitas with respect to the sale of its securities and prepared legal

papers necessary for Aequitas to complete the sale of its securities, including offering

documents, risk disclosures, subscription agreements and promissory notes. Tonkon prepared

these documents with knowledge that Aequitas would sell the subject securities. Tonkon was

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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identified as legal counsel to Aequitas in numerous offering documents. The Aequitas securities

could not have been sold without the legal services that Tonkon provided.

       20.     Defendant TD Ameritrade, Inc. (“Ameritrade”) is a New York corporation

registered to do business in Oregon. Ameritrade, as part of its “Advisor Direct” financial advisor

referral program, recommended and referred investors to financial advisors for the purpose of

purchasing Aequitas securities. Ameritrade began its practice of recommending and referring

investors to financial advisors for the purpose of purchasing Aequitas securities no later than

2010. Ameritrade also served as custodian for certain Aequitas securities. Ameritrade

customers purchased more than $140 million in Aequitas securities, with Ameritrade’s

assistance. By contract, Ameritrade profited handsomely from its customers’ purchases of

Aequitas securities.

       21.     Defendant Integrity Bank & Trust (“Integrity”) is a Colorado commercial bank.

Integrity actively offered and solicited the sale of more than $100 million of Aequitas securities

on Aequitas’ behalf. Integrity participated in Aequitas’ sales of securities and solicited sales of

securities on Aequitas’ behalf pursuant to several contracts. Integrity was actively involved in

marketing the Aequitas securities. Integrity also served as the custodian for certain Aequitas

fundraising entities.

       22.     Defendant Duff & Phelps, LLC (“Duff & Phelps”) is a Delaware limited liability

company registered to do business in Oregon. Duff & Phelps performed valuation services and

prepared appraisal reports for Aequitas that were used in connection with the sale of securities by

Aequitas.




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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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                                  FACTUAL ALLEGATIONS

I.     THE AEQUITAS ENTITIES

       23.     Aequitas conducted its securities and other business activities through various

affiliated entities. The complex organizational structure, consisting of approximately 75 active

entities, aided Aequitas in hiding the true nature of Aequitas’ business. The integrated nature of

the Aequitas businesses was a material part of the information communicated by Aequitas to

investors. Investors were told that “Aequitas conducts its business activities and transactions

through various affiliate companies and trade names.” Investors were told that the returns on

their investments in a particular Aequitas fund or company would be tied to the performance of

other Aequitas entities, and that assets of affiliate companies secured their investments.

Investors were told that money was shared between Aequitas companies for their benefit,

regardless of the specific company or fund they invested in, and that interest and principal on

their investments would be repaid, in part, via repayment of loans from affiliated Aequitas

companies.

       24.     Aequitas Management, LLC (“Aequitas Management”) is the parent entity of the

affiliated Aequitas entities. Aequitas Management presently owns 84 percent of Aequitas

Holdings, LLC (“Holdings”), which presently is the sole owner and member of Aequitas

Commercial Finance, LLC, and the sole shareholder of Aequitas Capital Management, Inc.

       25.     Aequitas Commercial Finance, LLC (“ACF”), a wholly owned subsidiary of

Holdings, owns all or part of numerous Aequitas entities, including Aequitas Income Protection

Fund, LLC (“AIPF”), Aequitas Income Opportunity Fund, LLC (“AIOF”), Aequitas Income

Opportunity Fund II, LLC (“AIOF-II”), Aequitas Capital Opportunities Fund, LP (“ACOF”),



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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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Aequitas ETC Founders Fund, LLC (“AETC”), Aequitas Enhanced Income Fund, LLC

(“AEIF”), and MotoLease Financial, LLC (“AMLF”).

       26.     Aequitas Capital Management, Inc. (“ACM”), another wholly owned subsidiary

of Holdings, is the manager of numerous Aequitas entities, including ACF and AMLF. As such,

ACM oversees the operations and investment decisions of ACF and AMLF in exchange for

certain management fees and other interests.

       27.     ACM oversaw the operations and investment decisions of AIPF, AIOF, AIOF-II,

AETC, AEIF, APCF, and ACOF (collectively, the “Aequitas Funds”) in exchange for certain

management fees and other interests. AIM, a wholly owned subsidiary of ACM and an SEC-

registered investment advisor, is the manager of AIPF, AIOF, AIOF-II, AETC, AEIF, Aequitas

Private Client Fund, LLC (“APCF”), and Aequitas Capital Opportunities GP, LLC, the general

partner of ACOF (“ACOFGP”). The sole purpose of AIM was to act as the investment advisor

to various Aequitas fundraising vehicles, including the Aequitas Funds.


II.    THE AEQUITAS SECURITIES

       28.     The Aequitas companies raised hundreds of millions of dollars from thousands of

investors by selling securities issued by ACF, the Aequitas Funds, and AMLF.

       29.     As detailed herein, none of the securities were registered under any state or

federal securities law. The securities were not exempt from registration. The securities were not

federal covered securities.

       30.     The Aequitas companies raised investor funds by causing ACF to sell securities

(the “ACF Notes”) directly to investors through the so-called Aequitas “Private Note” program.

The ACF Notes generally were referred to as “Secured Subordinated Promissory Notes” or


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                                 STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                         209 S.W. OAK STREET, SUITE 500
                                            PORTLAND, OREGON 97204
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“Secured Notes.” The Private Note program was a continuous, unlimited offering. The offering

had no ending date and no limit on the total investments. As of December 31, 2015,

approximately $312 million in ACF Notes were outstanding to more than 1,500 investors.

       31.    Aequitas raised additional investor funds by causing the sale of securities through

other Aequitas entities, including the Aequitas Funds and AMLF. Aequitas generally referred to

the securities sold through AIPF (the “AIPF Interests”) as “Limited Liability Company

Interests”. Aequitas generally referred to the securities sold through AIOF (the “AIOF Notes”)

as “Senior Secured Promissory Notes”. Aequitas generally referred to the securities sold through

AIOF-II (the “AIOF-II Notes”) as “Senior Secured Promissory Notes”. Aequitas generally

referred to the securities sold through AMLF (the “AMLF Notes”) as “Senior Secured

Promissory Notes”. Aequitas generally referred to the securities sold through AEIF (the “AEIF

Interests”) as “Limited Liability Company Interests”. Aequitas generally referred to the

securities sold through APCF (the “APCF Notes”) as “Secured Promissory Notes”. Aequitas

generally referred to the securities sold through ACOF (the “ACOF Interests”) as “Capital

Commitments”. Aequitas caused the sale of more than $300 million in securities through the

Aequitas Funds and AMLF.

       32.    The offerings of the Aequitas securities were a single integrated offering for

purposes of the securities registration requirements under state and federal law. ACF owned all

of the equity interests in AIOF, AIOF-II, AEIF, and AMLF, and all of the voting interests in

AIPF, and ACF expressly guaranteed all of the notes sold by AMLF. Aequitas created ACOF

for the purpose of swapping investor funds for ownership interests in certain Aequitas entities—

Aequitas caused ACF and Holdings to contribute those ownership interests to ACOF at inflated

values, and Aequitas then caused investor funds to be distributed out of ACOF to ACF and

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                                 STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                         209 S.W. OAK STREET, SUITE 500
                                            PORTLAND, OREGON 97204
                                       TEL. (503) 227-1600 FAX (503) 227-6840
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Holdings based on those inflated contributions. Many of the ACOF portfolio companies were

entirely dependent on ongoing ACF financing, and many of the ACOF portfolio companies were

dependent on ACF (through its subsidiaries) as their sole source of revenue. Aequitas created

both AEIF and AIOF-II for the sole purpose of funneling investor funds to ACF and its affiliates,

and that ultimately was the function of AIOF and AIPF as well—as of December 31, 2014, their

only assets were approximately $33 million and $37 million, respectively, in loans to ACF and

certain of its affiliates. The integrated nature of these offerings was reflected in the audited

financial statements of ACF, which were done on a consolidated basis and encompassed ACF,

AIPF, AIOF, AIOF-II, AEIF, ACOF, and AMLF, as well as numerous other Aequitas entities.


III.   THE AEQUITAS SECURITIES WERE NOT REGISTERED, IN VIOLATION OF
       THE OREGON SECURITIES LAW

       33.     Sales of the ACF Notes began at least as early as January 4, 2006, and the

offering of the ACF Notes continued through at least December 2015.

               a.      Sales of the ACF Notes and sales of the other Aequitas securities all were

made for substantially the same general purpose of funding the redemption of investments in the

various Aequitas securities and financing the operations of ACF, AIM, Holdings, and the other

affiliated Aequitas companies.

               b.      Sales of the ACF Notes and sales of the other Aequitas securities all were

part of a single plan of financing. The affiliated Aequitas companies relied on this investor

funding, along with senior secured institutional credit facilities, to finance their operations and to

fund investor redemptions. The affiliated Aequitas companies shifted these funds amongst

themselves through various means, including inter-company loans and asset transfers.



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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               c.      Sales of the ACF Notes occurred at or about the same time as the sales of

the other Aequitas securities.

               d.      The ACF Notes and the other Aequitas securities were substantially the

same class of securities. Although these investments came in different forms—promissory notes,

limited liability company membership interests, and limited partnership interests—the ACF

Notes and the other Aequitas securities all were effectively of the same class. As explained

above, they all ultimately looked to, or were reliant upon, ACF for repayment, and they all were

subordinate to the interests of Aequitas’ senior secured institutional lenders.

               e.      Purchasers of the ACF Notes and purchasers of the other Aequitas

securities received substantially the same type of consideration in connection with their

purchases because, as explained above, the AIOF Notes and the other Aequitas securities all

ultimately looked to, or were reliant upon, ACF for repayment.

       34.     The ACF Notes were not registered under any state or federal securities law.

       35.     The Oregon Securities Law required the registration of the ACF Notes.

       36.     The issuer of the ACF Notes and persons acting on its behalf, including Integrity,

engaged in general solicitation and/or general advertising in connection with the offer and sale of

the ACF Notes.

               a.      The issuer of the ACF Notes and persons acting on its behalf, including

Integrity, routinely offered and sold the ACF Notes to persons with whom the issuer did not have

a substantial preexisting relationship.

               b.      The issuer of the ACF Notes and persons acting on its behalf, including

Integrity, engaged in roadshows promoting the ACF Notes to prospective investors and/or their



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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
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                                         TEL. (503) 227-1600 FAX (503) 227-6840
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investment advisors, including prospective investors and investment advisors with whom the

issuer of the ACF Notes did not have a substantial preexisting relationship.

               c.      The issuer of the ACF Notes and persons acting on its behalf, including

Integrity, widely disseminated promotional, marketing, offering, and sales materials relating to

the ACF Notes to prospective investors and/or their investment advisors, including prospective

investors and investment advisors with whom the issuer of the ACF Notes did not have a

substantial preexisting relationship.

       37.     The ACF Notes were not federal covered securities under the Oregon Securities

Law. Nor were the ACF Notes covered securities under Section 18 of the Securities Act.

               a.      The ACF Notes were not listed, authorized for listing, or sold on any

national securities exchange, and the ACF Notes were not sold in the over-the-counter market.

               b.      The issuer of the ACF Notes did not file with the SEC any report,

registration statement, or form (other than Form D).

               c.      The ACF Notes were not exempt under Section 3(a) of the Securities Act,

and offers and sales of the ACF Notes were not exempt under Section 4(a)(7) of the Securities

Act or Rule 506 of Regulation D.

       38.     Sales of the AIOF Notes began at least as early as May 5, 2009, and the offering

of the AIOF Notes continued through at least April 10, 2015.

               a.      Sales of the AIOF Notes and sales of the other Aequitas securities all were

made for substantially the same general purpose of funding the redemption of investments in the

Aequitas securities and financing the operations of ACF, AIM, Holdings, and the other affiliated

Aequitas companies.



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                                           209 S.W. OAK STREET, SUITE 500
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                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               b.      Sales of the AIOF Notes and sales of the other Aequitas securities all were

part of a single plan of financing. The affiliated Aequitas companies relied on this investor

funding, along with senior secured institutional credit facilities, to finance their operations and to

fund investor redemptions. The affiliated Aequitas companies shifted these funds amongst

themselves through various means, including inter-company loans and asset transfers.

               c.      Sales of the AIOF Notes occurred at or about the same time as the sales of

the other Aequitas securities.

               d.      The AIOF Notes and the other Aequitas securities were substantially the

same class of securities. Although these investments came in different forms—promissory notes,

limited liability company membership interests, and limited partnership interests—the AIOF

Notes and the other Aequitas securities all were effectively of the same class. As explained

above, they all ultimately looked to, or were reliant upon, ACF for repayment, and they all were

subordinate to the interests of Aequitas’ senior secured institutional lenders.

               e.      Purchasers of the AIOF Notes and purchasers of the other Aequitas

securities received substantially the same type of considerations in connection with their

purchases because, as explained above, the AIOF Notes and the other Aequitas securities all

ultimately looked to, or were reliant upon, ACF for repayment.

       39.     The AIOF Notes were not registered under any state or federal securities law.

       40.     The Oregon Securities Law required the registration of the AIOF Notes.

       41.     The issuer of the AIOF Notes and persons acting on its behalf engaged in general

solicitation and/or general advertising in connection with the offer and sale of the AIOF Notes.




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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
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                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               a.      The issuer of the AIOF Notes and persons acting on its behalf routinely

offered and sold the AIOF Notes to persons with whom the issuer did not have a substantial

preexisting relationship.

               b.      The issuer of the AIOF Notes and persons acting on its behalf engaged in

roadshows promoting the AIOF Notes to prospective investors and/or their investment advisors,

including prospective investors and investment advisors with whom the issuer of the AIOF Notes

did not have a substantial preexisting relationship.

               c.      The issuer of the AIOF Notes and persons acting on its behalf widely

disseminated promotional, marketing, offering, and sales materials relating to the AIOF Notes to

prospective investors and/or their investment advisors, including prospective investors and

investment advisors with whom the issuer of the AIOF Notes did not have a substantial

preexisting relationship.

       42.     The AIOF Notes were not federal covered securities under the Oregon Securities

Law. Nor were the AIOF Notes covered securities under Section 18 of the Securities Act.

               a.      The AIOF Notes were not listed, authorized for listing, or sold on any

national securities exchange, and the AIOF Notes were not sold in the over-the-counter market.

               b.      The issuer of the AIOF Notes did not file with the SEC any report,

registration statement, or form (other than Form D).

               c.      The AIOF Notes were not exempt under Section 3(a) of the Securities Act,

and offers and sales of the AIOF Notes were not exempt under Section 4(a)(7) of the Securities

Act or Rule 506 of Regulation D.

       43.     Sales of the AIPF Interests began at least as early as September 30, 2011, and the

offering of the AIPF Interests continued through at least May 27, 2014.

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                                           209 S.W. OAK STREET, SUITE 500
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                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               a.      Sales of the AIPF Interests and sales of the other Aequitas securities all

were made for substantially the same general purpose of funding the redemption of investments

in the Aequitas securities and financing the operations of ACF, AIM, Holdings, and the other

affiliated Aequitas companies.

               b.      Sales of the AIPF Interests and sales of the other Aequitas securities all

were part of a single plan of financing. The affiliated Aequitas companies relied on this investor

funding, along with senior secured institutional credit facilities, to finance their operations and to

fund investor redemptions. The affiliated Aequitas companies shifted these funds amongst

themselves through various means, including inter-company loans and asset transfers.

               c.      Sales of the AIPF Interests occurred at or about the same time as the sales

of the ACF Notes, AIOF Notes, AIPF Interests, and ACOF Interests.

               d.      The AIPF Interests and the other Aequitas securities were substantially the

same class of securities. Although these investments came in different forms—promissory notes,

limited liability company membership interests, and limited partnership interests—the AIPF

Interests and the other Aequitas securities all were effectively of the same class. As explained

above, they all ultimately looked to, or were reliant upon, ACF for repayment, and they all were

subordinate to the interests of Aequitas’ senior secured institutional lenders.

               e.      Purchasers of the AIPF Interests and purchasers of the other Aequitas

securities received substantially the same type of consideration in connection with their

purchases because, as explained above, the AIPF Interests and the other Aequitas securities all

ultimately looked to, or were reliant upon, ACF for repayment.

       44.     The AIPF Interests were not registered under any state or federal securities law.

       45.     The Oregon Securities Law required the registration of the AIPF Interests.

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                                           209 S.W. OAK STREET, SUITE 500
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                                         TEL. (503) 227-1600 FAX (503) 227-6840
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        46.       The issuer of the AIPF Interests and persons acting on its behalf engaged in

general solicitation and/or general advertising in connection with the offer and sale of the AIPF

Interests.

                  a.     The issuer of the AIPF Interests and persons acting on its behalf, including

Integrity, routinely offered and sold the AIPF Interests to persons with whom the issuer did not

have a substantial preexisting relationship.

                  b.     The issuer of the AIPF Interests and persons acting on its behalf, including

Integrity, engaged in roadshows promoting the AIPF Interests to prospective investors and/or

their investment advisors, including prospective investors and investment advisors with whom

the issuer of the AIPF Interests did not have a substantial preexisting relationship.

                  c.     The issuer of the AIPF Interests and persons acting on its behalf, including

Integrity, widely disseminated promotional, marketing, offering, and sales materials relating to

the AIPF Interests to prospective investors and/or their investment advisors, including

prospective investors and investment advisors with whom the issuer of the AIPF Interests did not

have a substantial preexisting relationship.

        47.       The AIPF Interests were not federal covered securities under the Oregon

Securities Law. Nor were the AIPF Interests covered securities under Section 18 of the

Securities Act.

                  a.     The AIPF Interests were not listed, authorized for listing, or sold on any

national securities exchange, and the AIPF Interests were not sold in the over-the-counter

market.

                  b.     The issuer of the AIPF Interests did not file with the SEC any report,

registration statement, or form (other than Form D).

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                                            209 S.W. OAK STREET, SUITE 500
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                                          TEL. (503) 227-1600 FAX (503) 227-6840
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               c.      The AIPF Interests were not exempt under Section 3(a) of the Securities

Act, and offers and sales of the AIPF Interests were not exempt under Section 4(a)(7) of the

Securities Act or Rule 506 of Regulation D.

       48.     The promotion of the ACOF Interests began at least as early as April 2013, and

the offering of the ACOF Interests continued through at least March 2015.

               a.      Sales of the ACOF Interests and sales of the other Aequitas securities all

were made for substantially the same general purpose of funding the redemption of investments

in the Aequitas securities and financing the operations of ACF, AIM, Holdings, and the other

affiliated Aequitas companies.

               b.      Sales of the ACOF Interests and sales of the other Aequitas securities all

were part of a single plan of financing. The affiliated Aequitas companies relied on this investor

funding, along with senior secured institutional credit facilities, to finance their operations and to

fund investor redemptions. The affiliated Aequitas companies shifted these funds amongst

themselves through various means, including inter-company loans and asset transfers.

               c.      Sales of the ACOF Interests occurred at or about the same time as the

sales of the other Aequitas securities.

               d.      The ACOF Interests and the other Aequitas securities were substantially

the same class of securities. Although these investments came in different forms—promissory

notes, limited liability company membership interests, and limited partnership interests—the

ACOF Interests and the other Aequitas securities all were effectively of the same class. As

explained above, they all ultimately looked to, or were reliant upon, ACF for repayment, and

they all were subordinate to the interests of Aequitas’ senior secured institutional lenders.



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                                           209 S.W. OAK STREET, SUITE 500
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                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               e.      Purchasers of the ACOF Interests and purchasers of the other Aequitas

securities received substantially the same type of consideration in connection with their

purchases because, as explained above, the ACOF Interests and the other Aequitas securities all

ultimately looked to, or were reliant upon, ACF for repayment.

        49.    The ACOF Interests were not registered under any state or federal securities law.

        50.    The Oregon Securities Law required the registration of the ACOF Interests.

        51.    The issuer of the ACOF Interests and persons acting on its behalf engaged in

general solicitation and/or general advertising in connection with the offer and sale of the ACOF

Interests.

               a.      The issuer of the ACOF Interests and persons acting on its behalf routinely

offered and sold the ACOF Interests to persons with whom the issuer did not have a substantial

preexisting relationship.

               b.      The issuer of the ACOF Interests and persons acting on its behalf engaged

in roadshows promoting the ACOF Interests to prospective investors and/or their investment

advisors, including prospective investors and investment advisors with whom the issuer of the

ACOF Interests did not have a substantial preexisting relationship.

               c.      The issuer of the ACOF Interests and persons acting on its behalf widely

disseminated promotional, marketing, offering, and sales materials relating to the ACOF

Interests to prospective investors and/or their investment advisors, including prospective

investors and investment advisors with whom the issuer of the ACOF Interests did not have a

substantial preexisting relationship.




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                                          209 S.W. OAK STREET, SUITE 500
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                                        TEL. (503) 227-1600 FAX (503) 227-6840
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       52.        The ACOF Interests were not federal covered securities under the Oregon

Securities Law. Nor were the ACOF Interests covered securities under Section 18 of the

Securities Act.

                  a.     The ACOF Interests were not listed, authorized for listing, or sold on any

national securities exchange, and the ACOF Interests were not sold in the over-the-counter

market.

                  b.     The issuer of the ACOF Interests did not file with the SEC any report,

registration statement, or form (other than Form D).

                  c.     The ACOF Interests were not exempt under Section 3(a) of the Securities

Act, and offers and sales of the ACOF Interests were not exempt under Section 4(a)(7) of the

Securities Act or Rule 506 of Regulation D.

       53.        Sales of the AIOF-II Notes began at least as early as November 1, 2014, and the

offering of the AIOF-II Notes continued through at least December 2015.

                  a.     Sales of the AIOF-II Notes and sales of the other Aequitas securities all

were made for substantially the same general purpose of funding the redemption of investments

in the Aequitas securities and financing the operations of ACF, AIM, Holdings, and the other

affiliated Aequitas companies.

                  b.     Sales of the AIOF-II Notes and sales of the other Aequitas securities all

were part of a single plan of financing. The affiliated Aequitas companies relied on this investor

funding, along with senior secured institutional credit facilities, to finance their operations and to

fund investor redemptions. The affiliated Aequitas companies shifted these funds amongst

themselves through various means, including inter-company loans and asset transfers.



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                                            209 S.W. OAK STREET, SUITE 500
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               c.      Sales of the AIOF-II Notes occurred at or about the same time as the sales

of the ACF Notes, the AIOF Notes, the ACOF Interests, the AEIF Interests, and the AMLF

Notes.

               d.      The AIOF-II Notes and the other Aequitas securities were substantially the

same class of securities. Although these investments came in different forms—promissory notes,

limited liability company membership interests, and limited partnership interests—the AIOF-II

Notes and the other Aequitas securities all were effectively of the same class. As explained

above, they all ultimately looked to, or were reliant upon, ACF for repayment, and they all were

subordinate to the interests of Aequitas’ senior secured institutional lenders.

               e.      Purchasers of the AIOF-II Notes and purchasers of the other Aequitas

securities received substantially the same type of consideration in connection with their

purchases because, as explained above, the AIOF-II Notes and the other Aequitas securities all

ultimately looked to, or were reliant upon, ACF for repayment.

         54.   The AIOF-II Notes were not registered under any state or federal securities law.

         55.   The Oregon Securities Law required the registration of the AIOF-II Notes.

         56.   The issuer of the AIOF-II Notes and persons acting on its behalf, including

Integrity, engaged in general solicitation and/or general advertising in connection with the offer

and sale of the AIOF-II Notes.

               a.      The issuer of the AIOF-II Notes and persons acting on its behalf,

including Integrity, routinely offered and sold the AIOF-II Notes to persons with whom the

issuer did not have a substantial preexisting relationship.

               b.      The issuer of the AIOF-II Notes and persons acting on its behalf,

including Integrity, engaged in roadshows promoting the AIOF-II Notes to prospective investors

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
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and/or their investment advisors, including prospective investors and investment advisors with

whom the issuer of the AIOF-II Notes did not have a substantial preexisting relationship.

                  c.     The issuer of the AIOF-II Notes and persons acting on its behalf,

including Integrity, widely disseminated promotional, marketing, offering, and sales materials

relating to the AIOF-II Notes to prospective investors and/or their investment advisors, including

prospective investors and investment advisors with whom the issuer of the AIOF-II Notes did not

have a substantial preexisting relationship.

       57.        The AIOF-II Notes were not federal covered securities under the Oregon

Securities Law. Nor were the AIOF-II Notes covered securities under Section 18 of the

Securities Act.

                  a.     The AIOF-II Notes were not listed, authorized for listing, or sold on any

national securities exchange, and the AIOF-II Notes were not sold in the over-the-counter

market.

                  b.     The issuer of the AIOF-II Notes did not file with the SEC any report,

registration statement, or form (other than Form D).

                  c.     The AIOF-II Notes were not exempt under Section 3(a) of the Securities

Act, and offers and sales of the AIOF-II Notes were not exempt under Section 4(a)(7) of the

Securities Act or Rule 506 of Regulation D.

       58.        Sales of the AEIF Interests began at least as early as February 2, 2015, and the

offering of the AEIF Interests continued through at least December 2015.

                  a.     Sales of the AEIF Interests and sales of the other Aequitas securities all

were made for substantially the same general purpose of funding the redemption of investments



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                                            209 S.W. OAK STREET, SUITE 500
                                               PORTLAND, OREGON 97204
                                          TEL. (503) 227-1600 FAX (503) 227-6840
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in the Aequitas securities and financing the operations of ACF, AIM, Holdings, and the other

affiliated Aequitas companies.

               b.      Sales of the AEIF Interests and sales of the other Aequitas securities all

were part of a single plan of financing. The affiliated Aequitas companies relied on this investor

funding, along with senior secured institutional credit facilities, to finance their operations and to

fund investor redemptions. The affiliated Aequitas companies shifted these funds amongst

themselves through various means, including inter-company loans and asset transfers.

               c.      Sales of the AEIF Interests occurred at or about the same time as the sales

of the ACF Notes, the AIOF Notes, the ACOF Interests, the AIOF-II Notes, and the AMLF

Notes.

               d.      The AEIF Interests and the other Aequitas securities were substantially the

same class of securities. Although these investments came in different forms—promissory notes,

limited liability company membership interests, and limited partnership interests—the AEIF

Interests and the other Aequitas securities all were effectively of the same class. As explained

above, they all ultimately looked to, or were reliant upon, ACF for repayment, and they all were

subordinate to the interests of Aequitas’ senior secured institutional lenders.

               e.      Purchasers of the AEIF Interests and purchasers of the other Aequitas

securities received substantially the same type of consideration in connection with their

purchases because, as explained above, the AEIF Notes and the other Aequitas securities all

ultimately looked to, or were reliant upon, ACF for repayment.

         59.   The AEIF Interests were not registered under any state or federal securities law.

         60.   The Oregon Securities Law required the registration of the AEIF Interests.



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                                           209 S.W. OAK STREET, SUITE 500
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        61.       The issuer of the AEIF Interests and persons acting on its behalf engaged in

general solicitation and/or general advertising in connection with the offer and sale of the AEIF

Interests.

                  a.     The issuer of the AEIF Interests and persons acting on its behalf routinely

offered and sold the AEIF Interests to persons with whom the issuer did not have a substantial

preexisting relationship.

                  b.     The issuer of the AEIF Interests and persons acting on its behalf engaged

in roadshows promoting the AEIF Interests to prospective investors and/or their investment

advisors, including prospective investors and investment advisors with whom the issuer of the

AEIF Interests did not have a substantial preexisting relationship.

                  c.     The issuer of the AEIF Interests and persons acting on its behalf widely

disseminated promotional, marketing, offering, and sales materials relating to the AEIF Interests

to prospective investors and/or their investment advisors, including prospective investors and

investment advisors with whom the issuer of the AEIF Interests did not have a substantial

preexisting relationship.

        62.       The AEIF Interests were not federal covered securities under the Oregon

Securities Law. Nor were the AEIF Interests covered securities under Section 18 of the

Securities Act.

                  a.     The AEIF Interests were not listed, authorized for listing, or sold on any

national securities exchange, and the AEIF Interests were not sold in the over-the-counter

market.

                  b.     The issuer of the AEIF Interests did not file with the SEC any report,

registration statement, or form (other than Form D).

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                                            209 S.W. OAK STREET, SUITE 500
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                                          TEL. (503) 227-1600 FAX (503) 227-6840
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               c.      The AEIF Interests were not exempt under Section 3(a) of the Securities

Act, and offers and sales of the AEIF Interests were not exempt under Section 4(a)(7) of the

Securities Act or Rule 506 of Regulation D.

       63.     The offering of the AMLF Notes, which was part of the Aequitas “Note

Manufacturing” program, began at least as early as April 2015, and the offering of the AMLF

Notes continued through at least December 2015.

               a.      Sales of the AMLF Notes and sales of the other Aequitas securities all

were made for substantially the same general purpose of funding the redemption of investments

in the Aequitas securities and financing the operations of ACF, AIM, Holdings, and the other

affiliated Aequitas companies.

               b.      Sales of the AMLF Notes and sales of the other Aequitas securities all

were part of a single plan of financing. The affiliated Aequitas companies relied on this investor

funding, along with senior secured institutional credit facilities, to finance their operations and to

fund investor redemptions. The affiliated Aequitas companies shifted these funds amongst

themselves through various means, including inter-company loans and asset transfers.

               c.      Sales of the AMLF Notes occurred at or about the same time as the sales

of the ACF Notes, the AIOF Notes, the AEIF Interests, and the AIOF-II Notes.

               d.      The AMLF Notes and the other Aequitas securities were substantially the

same class of securities. Although these investments came in different forms—promissory notes,

limited liability company membership interests, and limited partnership interests—the AMLF

Notes and the other Aequitas securities all were effectively of the same class. As explained

above, they all ultimately looked to, or were reliant upon, ACF for repayment, and they all were

subordinate to the interests of Aequitas’ senior secured institutional lenders.

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                                           209 S.W. OAK STREET, SUITE 500
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                                         TEL. (503) 227-1600 FAX (503) 227-6840
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                e.     Purchasers of the AMLF Notes and purchasers of the other Aequitas

securities received substantially the same type of consideration in connection with their

purchases because, as explained above, the AMLF Notes and the other Aequitas securities all

ultimately looked to, or were reliant upon, ACF for repayment.

       64.      The AMLF Notes were not registered under any state or federal securities law.

       65.      The Oregon Securities Law required the registration of the AMLF Notes.

       66.      The issuer of the AMLF Notes and persons acting on its behalf engaged in general

solicitation and/or general advertising in connection with the offer and sale of the AMLF Notes.

                a.     The issuer of the AMLF Notes and persons acting on its behalf offered

and sold the AMLF Notes to persons with whom the issuer did not have a substantial preexisting

relationship.

                b.     The issuer of the AMLF Notes and persons acting on its behalf engaged in

roadshows promoting the AMLF Notes to prospective investors and/or their investment advisors,

including prospective investors and investment advisors with whom the issuer of the AMLF

Notes did not have a substantial preexisting relationship.

                c.     The issuer of the AMLF Notes and persons acting on its behalf

disseminated promotional, marketing, offering, and sales materials relating to the AMLF Notes

to prospective investors and/or their investment advisors, including prospective investors and

investment advisors with whom the issuer of the AMLF Notes did not have a substantial

preexisting relationship.

       67.      The AMLF Notes were not federal covered securities under the Oregon Securities

Law. Nor were the AMLF Notes covered securities under Section 18 of the Securities Act.



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                                          209 S.W. OAK STREET, SUITE 500
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               a.      The AMLF Notes were not listed, authorized for listing, or sold on any

national securities exchange, and the AMLF Notes were not sold in the over-the-counter market.

               b.      The issuer of the AMLF Notes did not file with the SEC any report,

registration statement, or form.

               c.      The AMLF Notes were not exempt under Section 3(a) of the Securities

Act, and offers and sales of the AMLF Notes were not exempt under Section 4(a)(7) of the

Securities Act or Rule 506 of Regulation D.

IV.    THE AEQUITAS SECURITIES WERE SOLD BY MEANS OF UNTRUE
       STATEMENTS AND OMISSIONS

       A.      Facts Supporting Allegations of Specific Untrue and Misleading Statements

               1.      Undisclosed Prior Business Failures

       68.     Prior to selling the securities at issue, the principals of Aequitas experienced

numerous and substantial business failures. For example, Jesenik and Oliver faced securities

fraud claims in 2004 relating to their management of the predecessor companies to ACM and

ACF, wherein their former business partner alleged that he was told that the business was a “cash

cow” when, in fact, it was losing six figures every month. Beginning in 2007, Aequitas made

substantial investments in a restaurant group that quickly failed. Also in 2007, Aequitas made

substantial investments in Catcher Holdings, Inc., which failed almost immediately. In 2009,

Aequitas was unable to satisfy an obligation to provide a $25 million credit facility to

CashReady, LLC.

       69.     Aequitas used another substantial business failure to create and artificially inflate

the value of Carepayment Technologies, Inc. (“CPTI”). CPTI began life as microHelix, Inc., an

SEC-registered company that made custom cable assemblies and mechanical assemblies for the


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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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medical and commercial OEM markets. In 2006, Aequitas began lending to and buying shares

of microHelix. Aequitas had acquired more than 63% of the company’s shares by 2007, when

the company failed and ceased operations, officially becoming a registered “shell company” in

September 2007. Aequitas ultimately sank about $20 million into its failed microHelix

investment. At the end of 2009, Aequitas began the process of manipulating this $20 million

failure into an illusory $35+ million asset.

               2.      Use of Investor Funds and Inability to Purchase Receivables Assets

       70.     At all relevant times, and by no later than June 9, 2010, Aequitas relied on

continuing new investor funds both to repay investors and to fund operations. The Aequitas

companies relied on new investments because there was a critical cash-flow mismatch between

the types of assets Aequitas purchased (which, if they provided any returns at all, were structured

to provide longer-term, incremental returns) and Aequitas’ funding source (relatively short-term

note securities). Aequitas did not disclose, until late December 2015, via a quarterly update, that

“ACF uses proceeds from Private Notes primarily to repay prior investors,” when, in fact,

Aequitas had used proceeds from the sale of securities primarily to repay prior investors since at

least 2010.

       71.     Whereas investors were told that the proceeds would be used primarily to pursue

specific investment strategies for a particular fund, investor funds were used instead to cover

operating losses and obligations to investors across the Aequitas business.

       72.     At all material times, Aequitas was unable to fund commitments to purchase

receivables assets and unable to purchase assets because of insufficient capital.

       73.     Aequitas compounded these problems by offering short-term notes.



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       74.     In January 2010, Aequitas executives discussed internally their concerns about

timely repayment of securities and the need to avoid “spook[ing]” investors with late payments.

Furthermore, one investment advisor, Human Investing, notified Aequitas early in 2010 of its

intention to redeem all of its customers’ private notes, which were set to mature in 2010.

       75.     In 2011, according to Aequitas internal communications, Aequitas needed to sell

$20 million of securities per month, with $1 million from sources other than its primary

fundraiser, Strategic Capital Group, to break even on cash flow.

       76.     An internal Aequitas memorandum dated October 19, 2015, sent by an Aequitas

executive to other Aequitas executives and in-house counsel, documents that only a small portion

of investor proceeds were actually used to purchase assets, and that this practice extended widely

to the entities within the Aequitas organization.

       77.     The auditors identified Aequitas’ dependence on sales of securities in their audit

workpapers. In assessing Aequitas’ ability to continue as a going concern as of December 31,

2012, EisnerAmper documented that Aequitas’ heavy reliance upon selling securities raised

doubts concerning Aequitas’ ability to continue as a going concern. EisnerAmper noted that

ACF had raised over $182.1 million in investor funds and that investors had renewed, rather than

redeem, their investments at a historical rate of 60-70%, which led EisnerAmper to characterize

the private note program as a permanent form of capital. EisnerAmper accepted, uncritically,

Aequitas’ representations that it would take steps to lower the cost of this private capital. When

Deloitte took over as auditor, it noted that ACF had raised over $182.1 million in investor funds

and that investors had renewed, rather than redeem, their investments at a historical rate of 60-

70%, “making much of the capital a quasi-permanent form of capital.” Remarkably, Deloitte



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                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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cited “new investor money” as a basis for “the combined Aequitas companies” to operate as a

going concern for the foreseeable future.

               3.      Undisclosed Dependence on Renewals of Investments on Maturity

       78.     Aequitas continually sold millions of dollars’ worth of short-term securities. As a

result, Aequitas continually faced the prospect of massive redemptions as the securities matured.

Aequitas lacked capital or liquid assets sufficient to satisfy these obligations. Accordingly,

Aequitas’ survival was, at all relevant times, dependent upon convincing investors to renew their

investments on maturity, rather than redeem, or cash out, the investments. Aequitas was very

successful at this, with renewal rates as high as 70%. However, investors were not informed of

the substantial risk that Aequitas would collapse if renewal rates faltered.

       79.     The risk of non-renewal was exacerbated by the fact that Aequitas relied on a

relative few investment advisors to steer their clients, and huge amounts of money, to Aequitas.

Thus, Aequitas was at risk that one or more investment advisors would recommend that all of

their clients redeem their investments and that Aequitas would be unable to repay those

investors.

               4.      Undisclosed Facts Concerning Asset Valuations

       80.     At all relevant times, ACF overstated the reported values of its assets. Because

the asset values were materially overstated, every representation by Aequitas that is based on or

derived from those asset values was also materially overstated. For example, the purported

“security” or “collateral” backing the Aequitas securities were overstated.




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                       a.     Notes Receivable (Loans to Affiliates)

       81.     One of ACF’s primary assets as reported in its audited financial statements was

“Notes Receivable, Affiliates,” which it also referred to as “Loans to Affiliates” in the Financial

Information Summary sections of its various private placement memoranda.

       82.     Aequitas Management, AIM and ACM were spending far more money than they

were taking in, including large expenses related to the renovation of Aequitas’ headquarters in

Lake Oswego, opening a new office in New York City, outsized salaries for executives, expenses

related to a private jet, and lavish expenses from marketing Aequitas securities to potential

investors and brokers. Aequitas Management, AIM and ACM caused Holdings to “borrow” the

shortfall from ACF. Money loaned by ACF to Holdings beginning no later than 2009 was, in

turn, loaned by Holdings to AIM. The management fees that AIM generated from the various

Aequitas funds were not sufficient to cover working capital needs. As a result, there was no

reasonable prospect of repayment.

       83.     Because ACF’s financial statements did not include its parent, Holdings, or

affiliate, AIM, these loans were improperly presented to ACF investors as assets.

       84.     Aequitas reported the loan from ACF to Holdings, which loan ultimately totaled

$180 million, as an asset of ACF valued at the face-amount of the loan, despite the fact that

Holdings had little or no chance of repaying the loan. At all relevant times, the amount due on

the loan exceeded Holdings’ assets.

       85.     Generally Accepted Accounting Principles (“GAAP”) required ACF to write

down the carrying value of this note to reflect its impaired value. ASC 310 is the provision of

GAAP that governs the recognition and valuation of loans. Pursuant to ASC 310-10-35, the

impaired value of this loan should have been written down to the amount that ACF was likely to

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recover, based upon the likely future payments by Holdings, or, because Aequitas was unlikely

to become profitable, the value of its assets that could be used to repay the note.

       86.      At the end of 2010, Holdings owed ACF approximately $49 million and the assets

of Holdings were only $46 million.

       87.      By the end of 2011, Holdings owed ACF approximately $62.7 million.

       88.      By the end of 2012, Holdings owed ACF approximately $80.6 million.

       89.      By the end of 2013, Holdings owed ACF more than $78.8 million.

       90.      ACF reported a value of $184.8 million in 2014. Of this total, $120.9 million was

attributed to a note receivable from Holdings. Holdings lost $22.2 million in 2014. The limited

assets of Holdings fell far short of the amounts borrowed from ACF and the company had no

going concern value beyond its limited assets. By March 2014, Holdings’ assets were $20

million less than the amount it owed to ACF. The gap between the amounts that Holdings had

borrowed and the amount it could repay based upon its assets continued to grow. By February

2015, Holdings had borrowed $127.6 million from ACF, but had only $67.0 million in assets.

By June 2015, its assets had slipped to $65.3 million, while the balance it owed ACF climbed to

$169 million.

       91.      By the end of 2014, the prospects for collection of the entire balance owed ACF

by Holdings was, at best, in serious doubt, impairing the value of this note. As described above,

there was at least a $20 million shortfall between the note balance and Holdings’ assets by March

of 2014, and that number had swelled to $60 million by February 2015. Accordingly, even

accepting Aequitas’ asset values, the value of the note receivable was overstated on ACF’s

audited 2014 financial statements by between $20 million and $60 million.



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                                          209 S.W. OAK STREET, SUITE 500
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       92.     This overstatement was highly material in light of ACF’s reported equity of just

$1.8 million. The accurate statement of the value of this note from Holdings would have alerted

investors that ACF was insolvent and had a negative net asset value.

                       b.      Corinthian Colleges Student Loan Receivables

       93.     On June 29, 2011, Aequitas caused ACF to enter into the Tuition Loan Program

Agreement (the “TLPA”) with Corinthian Colleges (“Corinthian”) whereby ACF agreed to

purchase private loans underwritten by an “originating bank” that bore no risk of loss, with

Corinthian agreeing to immediately pay a 40-50% “discount fee” to ACF, resulting in a net

purchase price of 50-60% of the face value to ACF. Further, ACF retained the right to require

Corinthian to repurchase any loans that were more than 90 days past-due (the “Recourse Loan

Repurchases”). Accordingly, ACF would make the entire amount of this “discount fee” as profit

if it collected on the loan (a 40% return), and Corinthian would buy back the loans on which

ACF couldn’t collect – a “no-lose” situation, as long as Corinthian honored its contractual

agreement related to the Recourse Loan Repurchases.

       94.     Between 2011 and February 2014, Campus Funding, LLC (a wholly-owned

subsidiary of ACF) bought $561 million in face value of student loan debt from Corinthian

Colleges.

       95.     However, widespread criticism of Corinthian’s business practices continued

following ACF’s entry into the TLPA with Corinthian. By June of 2013, Corinthian had

admitted that it was being investigated by the SEC related to its business practices, including its

student loan default rates. Other governmental regulators were investigating Corinthian as well.

By late 2013, the writing was on the wall that federal regulators were going to stop Corinthian’s

ability to obtain federal student loan financing for its students, which would be the death-knell of

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                                          209 S.W. OAK STREET, SUITE 500
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                                        TEL. (503) 227-1600 FAX (503) 227-6840
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the company. Corinthian had honored its recourse obligations through May of 2014, but on June

18, 2014, ACF sent a Notice of Default to Corinthian Colleges, complaining that Corinthian had

failed to honor its recourse obligations, and Corinthian would never again make any recourse

payments to ACF.

       96.       In its 2012 financial statements, ACF reported net assets (member’s equity) of

just $1.3 million, including $120 million of student loan receivables carried at ACF’s

determination of the “fair value” of such assets. EisnerAmper provided an unqualified audit

opinion based on these numbers.

       97.       However, ACF’s audited 2012 financial statements overstated the reported fair

value of its student loan receivables, as would later be admitted in its 2013-2014 financial

statements:

              Subsequent to the issuance of the Company’s consolidated financial
              statements for the year ended December 31, 2012, the Company determined
              that it had incorrectly calculated the fair value of its student loan receivables
              for the year then ended and incorrectly deferred and amortized commissions
              paid on its student loan receivables. Consequently, the Company has
              retroactively corrected its student loan receivables and deferred charges as of
              January 1, 2013. As a result, its members’ equity has been restated as of
              January 1, 2013. The cumulative effect of these corrections on the
              Company’s members’ equity was a decrease of $3,071,099.

       98.       This overstatement was plainly material in that the accurate reporting of these

amounts in its 2012 financial statements would have lowered ACF’s Members’ equity to a

negative number, rendering it insolvent. Had investors been aware of ACF’s insolvency, they

would likely not have been willing to purchase its notes.

       99.       ACF again overstated the value of its student loan receivables in its 2014 audited

financial statements. A significant portion of the $552.7 million of total reported assets of ACF

on December 31, 2014 was the total of $105.6 million in receivables ($31.8 million carried at

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                                             209 S.W. OAK STREET, SUITE 500
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cost and $74.8 million carried at purported “fair value”). The value of both the receivables

carried “at cost” and those carried at “fair value” were materially misstated in ACF’s 2014

financial statements.

       100.    ACF carried Corinthian loans that had defaulted (for which payment was more

than 90 days late) at their $31.8 million cost of acquisition by ACF. Because ACF paid a net

cost of 50-60% of face value, these loans were, at the most, approximately $64 million in face

value. On August 20, 2014, Corinthian sold virtually all of the similar defaulted student loans it

owned, totaling approximately 170,000 loans with a face value of $505 million to a third party

for $19 million, or approximately 3.7% of face value. Accordingly, the impaired value of these

defaulted assets was no more than $2.4 million, but ACF recognized it on its financial statements

at the acquisition cost of $31.8 million – an overstatement of $29.4 million.

       101.    Likewise, ACF valued the non-defaulted Corinthian Loan receivables at their

purported “fair value” of $74.8 million based on a discounted cash flow technique described in

the footnotes to its 2014 financial statements that was based on numerous factors including: (i) a

weighted average interest rate of 5.9% to 14.9%; (ii) a weighted average term of 48-164 months;

iii) SSR rate of 0.0% to 18.6%; and (iv) a recourse rate of 39.0% to 69.0%. This “recourse rate”

was a key variable in performing the calculation because all recourse payments paid the loan

amount in full on a loan that would otherwise have had zero value.

       102.    But the “recourse rate” of between 39% and 69% used in ACF’s model was

improper, and had no basis and caused these calculations to be overstated.

       103.    On July 1, 2014, the General Counsel of Aequitas sent a letter to one of its former

business partners, admitting that Aequitas was aware that Corinthian would no longer honor its

commitment to repurchase defaulted loans from ACM:

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           [W]e believe that Corinthian does not intend to make any payments to
           Campus Student Funding under the TLPA and related agreements . . .

                                                  *      *     *

           To the extent Corinthian is unable to continue as a going concern and/or is
           unwilling to honor its obligations under the TLPA and related agreements,
           the Corinthian loan portfolios funded by Campus Student Funding will
           effectively become non-recourse.

       104.     This letter further admitted that the adverse publicity and regulatory actions

against Corinthian was likely to further degrade the portfolio’s value beyond previous years’

performance statistics:

           In addition, it is also possible that the operating agreement between Corinthian
           and the Department of Education may cause additional harm to our existing
           student loan portfolios. Further, the risk of borrowers changing their
           payment behavior once the news about the Corinthian school wind-down has
           gained greater public attention represents another significant challenge to
           the future performance of the student loan program.

       105.    The letter concluded by admitting that the combination of these factors was likely

to have a serious adverse impact on the Corinthian portfolio:

           As a result of Corinthian’s defaults and possible deterioration of the student
           borrower’s payment performance, we anticipate lower collections and
           significant additional expenses for servicing the existing portfolios that
           will not be reimbursed as well as foregone revenues from default aversion
           fees, marketing participation fees, and ancillary fees that will not be paid.
           (emphasis added).

       106.    Thus, by at least July 1, 2014, ACM and ACF were admittedly aware that: (i)

Corinthian would no longer make any Recourse Loan Purchases, changing the character of the

portfolio into a non-recourse portfolio; ii) the Corinthian Loan portfolio had been further harmed

by Corinthian’s agreement with the Department of Education to disband its schools; and (iii)

Aequitas expected “Lower collections and significant additional expenses” related to this

portfolio. Accordingly, the use of a “recourse rate” of 39% to 69% had no basis and served to

dramatically overstate the calculation of fair value.


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         107.   As admitted by Aequitas’ General Counsel, these loan portfolios had “effectively

become non-recourse portfolios.” Accordingly, their proper valuation should have been

consistent with the August 20, 2014 sale of non-recourse loans for 3.7% of face value. This

improper valuation methodology violated GAAP, and specifically ASC 825 by failing to

recognize the Corinthian Loan assets at their dramatically decreased fair value.1

         108.   ACF’s 2014 audited financial statements failed to disclose the significant

contingency that the CFPB had filed a lawsuit seeking a judicial rescission of all of the

Corinthian Loans carried as assets on ACF’s balance sheet. At a minimum, footnote disclosure

of this contingency was required by GAAP. Specifically, ASC 450 requires disclosure of

material loss contingencies that are “reasonably possible” (as was the CFPB’s requested relief) to

occur.

                       c.      CarePayment Healthcare Receivables

         109.   Aequitas purchase healthcare receivables through ACF’s Carepayment, LLC,

subsidiary (“CPLLC”) and its affiliates. Aequitas pledged all of its health care receivables as

collateral to secure loans to Aequitas from third party lenders.

         110.   Aequitas created an illusory asset in CPTI by causing it to service the Aequitas

healthcare receivables owned by. But CPTI, which had no employees or facilities of its own,

had no genuine independent value—it simply turned around and paid Aequitas to perform all of

its servicing operations and functions.

         111.   The claimed value of CPTI was dependent on the health care receivables owned

by Aequitas and on continuing financing from Aequitas.


   1
     Financial Instruments, Accounting Standards Codification No. 825, Financial Accounting
Standards Board (2009).

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                                          209 S.W. OAK STREET, SUITE 500
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                       d.      Freedom Financial Consumer Credit Receivables

       112.    The consumer credit receivables purchased by Aequitas (through ACF and other

Aequitas affiliates) were largely subprime “C+” and “F+” consumer credit receivables (the

“Freedom Financial Receivables”).

       113.    The C+ Freedom Financial Receivables comprised debt consolidation loans to

persons who were insolvent or otherwise unable to meet their existing financial obligations.

       114.    Aequitas was exposed to the entire credit risk associated with the Freedom

Financial Receivables, and it had no recourse to any third party with respect to any default or

nonperformance under the Freedom Financial Receivables.

       115.    Aequitas was leveraging investor funds to secure substantial additional third-party

financing for its purchase of the Freedom Financial Receivables.

       116.    Aequitas did not disclose the nature, extent, or material terms of the third-party

financing underlying its purchase of the Freedom Financial Receivables.

       117.    Aequitas had pledged the Freedom Financial Receivables as collateral to secure

all or substantially all of the third-party financing underlying Aequitas’ acquisition of the

Freedom Financial Receivables.

       118.    ACF had guaranteed the repayment of the third-party financing underlying

Aequitas’ acquisition of the Freedom Financial Receivables under certain circumstances.

       119.    The failure rate for the Freedom Financial Receivables was materially worse than

the failure rate assumptions on which the third-party financing was based.

       120.    The failure rate for the Freedom Financial Receivables was materially worse than

the failure rate necessary for the viability of the Freedom Financial Receivables line of business.



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                                          209 S.W. OAK STREET, SUITE 500
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       121.    At least as early as mid-2015, the failure rate of the Freedom Financial

Receivables caused Aequitas to be in default on the third-party financing underlying its purchase

of the Freedom Financial Receivables.

       122.    The claimed value of Aequitas’ wholly-owned subsidiary ACC Holdings 1, LLC

(“ACCH-1”) and its affiliate ACC Holdings 2, LLC (“ACCH-2”), depended entirely on the

performance of the Freedom Financial Receivables.

       123.    The value of ACF’s ownership interest in ACCH-1 depended entirely on the

performance of the Freedom Financial Receivables owned by ACF through ACCH-1’s wholly-

owned subsidiary ACC Funding Trust 2014-1 (“ACCTrust-1”).

       124.    The value of ACF’s loans to ACCH-2 depended entirely on the performance of

the Freedom Financial Receivables owned by Aequitas through ACCH-2’s wholly-owned

subsidiary ACC Funding Trust 2014-2 (“ACCTrust-2”).

       125.    Aequitas claimed as valuable assets (i) ACF’s ownership interest in ACCH-1, and

(ii) the Freedom Financial Receivables owned by ACF (through ACCTrust-1), in addition to (iii)

the amounts outstanding on ACF’s direct loans to ACCH-2.

       126.    The claimed collateral supporting the Aequitas securities included (i) ACF’s

ownership interest in ACCH-1, and (ii) the Freedom Financial Receivables owned by ACF

(through ACCTrust-1), in addition to (iii) the amounts outstanding on ACF’s direct loans to

ACCH-2.

                      e.      MotoLease Motorcycle Leases

       127.    The claimed value of Aequitas’ MotoLease, LLC, affiliate (“MotoLease”) was

based largely on its ability to continue to sell vehicle leases to ACF (through its wholly-owned

subsidiary AMLF).

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                                         209 S.W. OAK STREET, SUITE 500
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       128.    The claimed value of AMLF was based entirely on the value of the vehicle leases

purchased from MotoLease.

       129.    Aequitas was exposed to the entire credit risk associated with the MotoLease

vehicle leases, and no recourse to any third party with respect to any default or nonperformance

under any of those leases.

       130.    ACF claimed as valuable assets both (i) ACF’s direct and indirect (through

ACOF) ownership interest in MotoLease, and (ii) the vehicle leases owned by ACF (through

AMLF and its affiliates).

       131.    Aequitas claimed as collateral supporting the Aequitas securities included both (i)

ACF’s direct and indirect (through ACOF) ownership interest in MotoLease, and (ii) the vehicle

leases owned by ACF (through AMLF and its affiliates).

       132.    Aequitas had pledged MotoLease vehicle leases as collateral to secure loans to

Aequitas from third party lenders.

                      f.      ETC Broker-Dealer

       133.    The claimed value of Aequitas’ ETC Global Group, LLC affiliate (“ETCGlobal”)

was based entirely on the continuing operations and performance of its indirect subsidiary

Electronic Transaction Clearing, Inc. (“ETC”), a registered broker-dealer, in compliance with

applicable laws and regulations. Aequitas did not disclose the administrative, regulatory, and

legal difficulties that were undermining and diminishing the viability of ETC’s continuing

operations and performance, including, for example:

               a.     Aequitas did not disclose (i) that during the period from 2009 to 2015,

ETC was operating in violation of exchange rules, NASD Rule 3010, FINRA Rule 2010, and

Section 15(c)(3) of the Securities Exchange Act of 1934 and Rule 15c3-5 thereunder by failing

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                                         209 S.W. OAK STREET, SUITE 500
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to establish and maintain an adequate system of risk management controls and supervisory

procedures, and by failing to prevent its market access customers and their traders from

executing thousands of potentially manipulative trades on the exchanges of which ETC was a

member despite numerous red flags and repeated notice from regulators, (ii) the regulatory

investigation concerning those violations, or (iii) the FINRA complaint filed against ETC with

respect to those violations.

                b.      Aequitas did not disclose (i) that at least as early as 2012, ETC was

operating in violation of the Bank Secrecy Act, 31 U.S.C. 5311 et seq. and the regulations

promulgated thereunder by failing to establish and implement adequate anti-money-laundering

(“AML”) policies, procedures, and controls, or (ii) the regulatory investigation concerning those

violations.

                c.      Aequitas did not disclose (i) that over a two-year period, ETC had

misreported transactions to FINRA and the SEC in a manner that excluded critical information

regarding suspicious transactions, or (ii) the regulatory investigation concerning those violations.

                d.      Aequitas did not disclose (i) that in October 2012 and again in April 2013,

ETC was censured and fined for violations of FINRA Rule 7450(a), or (ii) that ETC had been

operating in violation of that rule.

                e.      Aequitas did not disclose (i) that in December 2013, ETC was censured

and fined for violations of EDGA Exchange rules, or (ii) that ETC had been operating in

violation of those rules.

                f.      Aequitas did not disclose (i) that in January 2014, ETC was censured and

fined for violations of SEC Rule 200(g) of Regulation SHO and NASDAQ Rules 2110, 3010,

and 4755, or (ii) that ETC had been operating in violation of those rules.

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               g.      Aequitas did not disclose (i) that in February 2014, ETC was censured and

fined for violations of SEC Rule 17a-3, FINRA Rules 2010 and 7450, and NASD Rules 3010

and 3110, or (ii) that ETC had been operating in violation of those rules.

               h.      Aequitas did not disclose (i) that in April 2014, ETC was censured and

fined for violations of EDGX Exchange rules, or (ii) that ETC had been operating in violation of

those rules.

                       g.      Strategic Capital

        134.   Aequitas did not disclose regulatory and legal issues related to ACF’s indirect

subsidiary, Strategic Capital Alternatives, LLC, and its affiliates, including Strategic Capital

Group, LLC. Aequitas did not disclose that the claimed value of its SCA Holdings, LLC,

affiliate (“SCAH”), depended in part on the successful funneling of investor funds to Aequitas

by the direct and indirect subsidiaries of SCAH, including the registered investment advisors

Strategic Capital Alternatives, LLC; SAS Capital Management LLC; and Argentus Advisors,

LLC. Aequitas did not disclose that the value of ACF’s loans to SCAH depended in part on the

successful funneling of investor funds to Aequitas by the direct and indirect subsidiaries of

SCAH. Aequitas did not disclose that ACF claimed as valuable assets both (i) ACF’s ownership

interest (through ACOF) in SCAH, and (ii) the amounts outstanding on ACF’s direct loans to

SCAH.

                       h.      Separation of Servicing Businesses from Receivables

        135.   The most significant vehicles used by Aequitas to create and inflate asset value

were CPTI and EDPlus Holdings, LLC (“EDPlus”), both of which were ACOF portfolio

companies. Aequitas overstated the values of CPTI and EDPlus by separating the underlying

assets (receivables) from the business of servicing those receivables. CPTI and EDPlus were

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                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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servicing companies; they did not own the receivables, only the right to service the receivables

(which right could be terminated). By contrast, Aequitas used the receivables as collateral for

institutional lines of credit (for example, from Bank of America and Wells Fargo) that Aequitas

used to fund all Aequitas operations. By doing so, Aequitas leveraged investor funds, putting

itself in a deeper hole.

        B.      False and Misleading Statements Regarding ACF

        136.    The June 9, 2010, Confidential Private Placement Memorandum (“PPM”) issued

by ACF in connection with the sale of ACF Notes includes a Directory that identifies Tonkon as

Legal Counsel. The June 9, 2010 PPM contains numerous untrue statements of material fact

(and/or omissions of material fact necessary to make the statements made, in light of the

circumstances under which they were made, not misleading), including the following:

                a.         The “Payment Terms” identified on page 1 is materially false and

misleading because it omits and fails to disclose that ACF was having difficulties in making

timely interest and redemption payments and was dependent upon investors to (a) make new

investments and (b) renew their investments on maturity;

                b.         The descriptions of the “Use of Proceeds” on page 2 is materially false

and misleading because it omits to disclose that a substantial portion of the proceeds will be used

to repay previous investors with maturing notes;

                c.         The disclosures on pages 16-22 regarding ACM’s role as Manager of ACF

were materially false and misleading. Specifically, page 16 identified ACM’s CEO and various

other professionals employed by ACM, claiming that these employees had “complementary

skills and extensive experience relevant to making and managing the investments and financial

operations of” ACF. But this disclosure was materially false and misleading because it omitted

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                                     STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                             209 S.W. OAK STREET, SUITE 500
                                                PORTLAND, OREGON 97204
                                           TEL. (503) 227-1600 FAX (503) 227-6840
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to disclose that ACM and its principals had a track record of numerous and substantial business

failures, as described more fully in Section IV(A); supra;

               d.      The disclosure on pages 26-27 that ACF “is not obligated to register the

Secured Notes and does not intend to do so” is misleading because it omitted to disclose the

corresponding risk to investors if the ACF Notes did not comply with the exemption

requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the ACF note; (ii) refunding all such

rescission requests would cause ACF to face severe financial demands and reputational harm that

could materially adversely affect its business and operations; (iii) ACF would be subject to

significant fines and penalties imposed by the SEC or state regulators; and (iv) additional

remedies to purchasers could be available under applicable state law; and

               e.      Various of the “risk factors” disclosed in the PPM, including, inter alia,

those identified under the headings “Economic and market risk” (Appendix A, page 1),

“Leverage,” (Appendix A, page 2), were materially misleading in that they were identified as

“risks,” when, in fact, they had already materialized as significant problems to ACF.

       137.    The December 1, 2011, Confidential Private Placement Memorandum (“PPM”)

issued by ACF in connection with the sale of ACF Notes includes a Directory that identifies

Harb, Levy & Weiland LLP (the predecessor of EisnerAmper) as Auditor and Tonkon as Legal

Counsel. The December 1, 2011 PPM contains numerous untrue statements of material fact

(and/or omissions of material fact necessary to make the statements made, in light of the

circumstances under which they were made, not misleading), including the following:

               a.      The disclosures on pages 4-5 outlining “The Opportunity” disclosed that

ACF would invest primarily in debt-related assets in order to generate sufficient cash flow to

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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meet its monthly required debt service payments, and that ACF also obtained additional security

for these investments beyond the assets themselves, closely monitoring the underlying debtors to

ensure their continued financial health. These disclosures included the assertions on page 5 that

“[t]he Company will make investments on an opportunistic basis. This means the Company will

invest in non-market correlated, niche income-yielding strategies that emerge from inefficient

market conditions and which are underserved by traditional lenders” and “By remaining fast-

moving and flexible, the Company expects to be able to capitalize on a variety of conditions

contributing to favorable to deal structure and pricing.” These disclosures were materially false

and misleading because: (1) ACF’s investments did not generate sufficient cash flow to meet its

debt service and other fixed obligations; (2) ACF did not invest in assets with the necessary time

horizon and payment schedule that would allow ACF to meet its future cash obligations; (3)

ACF was insolvent and unable to make investments; (4) investors would not be protected by

adequate security interests in portfolio assets; and (5) the stated “Risk Management” plan was

not employed by the Company;

               b.      The disclosure of ACF’s “collateral” as “a security interest in all assets of”

ACF (pages 1 and 12) was materially false and misleading because it omitted and failed to

disclose that the value of the alleged collateral was materially overstated, leaving investors

unsecured or undersecured in their investments;

               c.      The disclosures in the “Financial Information Summary” (page 23) were

false and misleading because they materially overstated the value of ACF’s collateral available

to investors. This Financial Information Summary contained selected “audited” financial results

for the years 2006 through 2010, identifying ACF’s “Investment Assets” as being worth more

than $79 million as of the end of 2010, and its “loans to affiliates” (or intercompany loans) as

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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being worth more $53 million as of the end of 2010. These disclosures were false and

misleading because the values of both the reported Investment Assets and the Loans to Affiliates

were materially overstated for the reasons detailed in Section IV(A); supra;

               d.      The disclosure that advances and loans to affiliates “are secured by all

assets of Aequitas Holdings LLC and the borrowing affiliates” (page 10) is materially misleading

because it implies that the loans are actually secure, but omits the material information that these

intercompany loans were made to Aequitas entities that were insolvent or losing copious

amounts of money, and the ultimate repayment of these loans could not be considered reasonably

assured. Thus, the “security” obtained from the related entities was worthless or inadequate, and

the loans were unsecured or undersecured loans to failing companies with little or no reasonable

chance of repayment. See Section IV(A); supra;

               e.      The disclosures on pages 15-18 regarding ACM’s role as Manager of ACF

were materially false and misleading. Specifically, page 15 identified ACM’s CEO and various

other professionals employed by ACM, claiming that these employees had “complementary

skills and extensive experience relevant to making and managing the investments and financial

operations of” ACF. But this disclosure was materially false and misleading because it omitted

to disclose that ACM and its principals had a track record of numerous and substantial business

failures, as described more fully in Section IV(A); supra;

               f.      The disclosure that the potential “Sources of Repayment” for the notes

included cash flows generated by its investment portfolio or sales of assets from its investment

portfolio (page 2) was materially false and misleading because it portrayed cash flows from

portfolio investments as being the primary source of repayment of its debt obligations, when, in

fact, ACF relied upon the issuance of new notes as its means to pay off the previously issued

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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notes that were coming due. This disclosure is also misleading because it omits the material fact

that ACF was dependent upon investors renewing their investments on maturity;

               g.      The disclosures that ACF would use the proceeds from the sale of these

promissory notes for “purchasing debt obligations such as accounts receivable and notes, for

funding loans and leases and similar finance transactions, for acquiring equity interests in certain

limited situations, for providing lines of credit to affiliated entities and for general corporate

purposes” (pages 3-4 and 5) was materially false and misleading in that it portrayed ACF as

planning to use the funds it obtained from investors to pursue new investment opportunities to

benefit the new investors and omitted the material fact that ACF relied on money obtained from

new investors to pay the principal and interest owed to old investors;

               h.      The disclosure on page 25 that ACF “is not obligated to register the

Secured Notes and does not intend to do so” is misleading because it omitted to disclose the

corresponding risk to investors if the ACF Notes did not comply with the exemption

requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the ACF note; (ii) refunding all such

rescission requests would cause ACF to face severe financial demands and reputational harm that

could materially adversely affect its business and operations; (iii) ACF would be subject to

significant fines and penalties imposed by the SEC or state regulators; and (iv) additional

remedies to purchasers could be available under applicable state law;

               i.      The disclosure that ACF “may be at risk for some level of losses in the

event of default by third parties in its various finance transactions,” and identifying various steps

that ACF purportedly takes to reduce such risk (page 10) is misleading because it downplays the



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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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risk of future losses and omits to disclose the material fact that substantial losses had already

been experienced;

               j.      Various of the “risk factors” disclosed in the PPM, including, inter alia,

those identified under the headings “Economic and market risk” (Appendix A, page 1),

“Leverage,” (Appendix A, page 2), “Educational loan reform efforts may impact the Company”

(Appendix A, page 3), and “Counterparty Risks” (Appendix A, page 4) were materially

misleading in that they were identified as “risks,” when, in fact, they had already materialized as

significant problems to ACF; and

               k.      The disclosures on pages 16-17 under the heading “Related Party

Transactions; Conflicts of Interest” were materially false and misleading, including the specific

disclosures that “The Aequitas Conflicts Review Committee (described below) has been

established to review and render an opinion on matters submitted to it that involve transactions

with parties related to the Company or perceived conflicts of interest with respect to transactions

involving the Company” and that “The fact that members of the Investment Committee, their

affiliates or any related persons are directly or indirectly interested in or connected with any

entity or individual with which or with whom the Company may have dealings will not by itself

preclude such dealings, and the Company will not have any rights in or to such dealings or any

profits derived therefrom.” These disclosures tended to portray ACF as having a process that

would prevent ACM from entering into transactions that would be detrimental to ACF, but were

materially false and misleading because they omitted to disclose the material information that

ACM had diverted $55 million in fees that related to ACF’s investment in Corinthian

receivables, in a transaction evidencing a clear conflict of interest between ACM and ACF.



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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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       138.    The November 30, 2012, Confidential Private Placement Memorandum (“PPM”)

issued by ACF in connection with the sale of ACF Notes includes a Directory that identifies

EisnerAmper as Auditor and Tonkon as Legal Counsel, and includes references to and excerpts

from the 2011 EisnerAmper-audited financial statements. The November 30, 2012 PPM

contains numerous untrue statements of material fact (and/or omissions of material fact

necessary to make the statements made, in light of the circumstances under which they were

made, not misleading), including the following:

               a.     The disclosures on pages 5-7 outlining “The Opportunity” disclosed that

ACF would invest primarily in debt-related assets in order to generate sufficient cash flow to

meet its monthly required debt service payments, and that ACF also obtained additional security

for these investments beyond the assets themselves, closely monitoring the underlying debtors to

ensure their continued financial health. These disclosures included the assertions on page 5 that

“[t]he Company will make investments on an opportunistic basis. This means the Company will

invest in non-market correlated, niche income-yielding strategies that emerge from inefficient

market conditions and which are underserved by traditional lenders” and “By remaining fast-

moving and flexible, the Company expects to be able to capitalize on a variety of conditions

contributing to favorable to deal structure and pricing.” These disclosures were materially false

and misleading because: (1) ACF’s investments did not generate sufficient cash flow to meet its

debt service and other fixed obligations; (2) ACF did not invest in assets with the necessary time

horizon and payment schedule that would allow ACF to meet its future cash obligations; (3)

ACF was insolvent and unable to make investments; (4) investors would not be protected by

adequate security interests in portfolio assets; and (5) the stated “Risk Management” plan was

not employed by the Company;

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                                 STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                         209 S.W. OAK STREET, SUITE 500
                                            PORTLAND, OREGON 97204
                                       TEL. (503) 227-1600 FAX (503) 227-6840
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               b.      The disclosure of ACF’s “collateral” as “a security interest in all personal

property of” ACF (pages 1 and 9) was materially false and misleading because it omitted and

failed to disclose that the value of the alleged collateral was materially overstated, leaving

investors unsecured or undersecured in their investments;

               c.      The disclosures in the “Financial Information Summary” (page 22) were

false and misleading because they materially overstated the value of ACF’s collateral available

to investors. This Financial Information Summary contained selected “audited” financial results

for the years 2009 through 2011, identifying ACF’s “Investment Assets” as being worth more

than $136 million as of the end of 2011, and its “loans to affiliates” (or intercompany loans) as

being worth more $77 million as of the end of 2011. (The Financial Information Summary also

identified “Investment Assets” of more than $79 million in 2010 and $72 million in 2009 and

Loans to affiliates of more than $53 million in 2010 and $38 million in 2009). These disclosures

were false and misleading because the values of both the reported Investment Assets and the

Loans to Affiliates were materially overstated for the reasons detailed in Section IV(A), supra;

               d.      The disclosure that advances and loans to affiliates “are typically secured

by the equity or all assets of Holdings or the specific affiliates to which funds are advanced”

(page 6) is materially misleading because it implies that the loans are actually secure, but omits

the material information that these intercompany loans were made to Aequitas entities that were

insolvent or losing copious amounts of money, and the ultimate repayment of these loans could

not be considered reasonably assured. Thus, the “security” obtained from the related entities was

worthless or inadequate, and the loans were unsecured or undersecured loans to failing

companies with little or no reasonable chance of repayment. See Section IV(A); supra;



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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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               e.      The disclosures on pages 11-13 regarding ACM’s role as Manager of ACF

were materially false and misleading. Specifically, page 11 identified ACM’s CEO and various

other professionals employed by ACM, claiming that these employees had “complementary

skills and extensive experience relevant to making and managing the investments and financial

operations of” ACF. But this disclosure was materially false and misleading because it omitted

to disclose that ACM and its principals had a track record of numerous and substantial business

failures, as described more fully in Section IV(A); supra;

               f.      The disclosure that the potential “Sources of Repayment” for the notes

included cash flows generated by its investment portfolio or sales of assets from its investment

portfolio (page 2) was materially false and misleading because it portrayed cash flows from

portfolio investments as being the primary source of repayment of its debt obligations, when, in

fact, ACF relied upon the issuance of new notes as its means to pay off the previously issued

notes that were coming due. The disclosure is also misleading because it omits the material fact

that ACF was dependent upon investors renewing their investments on maturity;

               g.      The disclosures that ACF would use the proceeds from the sale of these

promissory notes to “engage in various specialty financing transactions, to provide senior and

junior debt and equity funding for the benefit of its affiliates and its related investment

programs” (pages 2 and 5) was materially false and misleading in that it portrayed ACF as

planning to use the funds it obtained from investors to pursue new investment opportunities to

benefit the new investors and omitted the material fact that ACF relied on money obtained from

new investors to pay the principal and interest owed to old investors;

               h.      The disclosure on page 23 that ACF “is not obligated to register the

Secured Notes and does not intend to do so” is misleading because it omitted to disclose the

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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corresponding risk to investors if the ACF Notes did not comply with the exemption

requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the ACF note; (ii) refunding all such

rescission requests would cause ACF to face severe financial demands and reputational harm that

could materially adversely affect its business and operations; (iii) ACF would be subject to

significant fines and penalties imposed by the SEC or state regulators; and (iv) additional

remedies to purchasers could be available under applicable state law;

               i.      The disclosure that ACF “may be at risk for some level of losses in the

event of default by third parties in its various finance transactions,” and identifying various steps

that ACF purportedly takes to reduce such risk (page 6) is misleading because it downplays the

risk of future losses and omits to disclose the material fact that substantial losses had already

been experienced;

               j.      Various of the “risk factors” disclosed in the PPM, including, inter alia,

those identified under the headings “Economic and market risk” (Appendix A, page 1),

“Leverage,” (Appendix A, page 2), “Educational loan reform efforts may impact the Company”

(Appendix A, page 4), and “Counterparty Risks” (Appendix A, page 5) were materially

misleading in that they were identified as “risks,” when, in fact, they had already materialized as

significant problems to ACF;

               k.      The statement at Appendix A, page 6, that “The ability of the Company to

pay interest on and repay principal of Secured Notes depends, to a great extent, on the Manager’s

performance and ability to select successful investments” is misleading because it omits to

disclose that the company’s ability to pay interest and repay principal was dependent, at least to a

great extent, on selling additional securities; and

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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                l.      The disclosures on pages 12-13 under the heading “Related Party

Transactions; Conflicts of Interest” were materially false and misleading, including the specific

disclosures that “The Aequitas Conflicts Review Committee (described below) has been

established to review and render an opinion on matters submitted to it that involve transactions

with parties related to the Company or perceived conflicts of interest with respect to transactions

involving the Company” and that “The fact that members of the Investment Committee, their

affiliates or any related persons are directly or indirectly interested in or connected with any

entity or individual with which or with whom the Company may have dealings will not by itself

preclude such dealings, and the Company will not have any rights in or to such dealings or any

profits derived therefrom.” These disclosures tended to portray ACF as having a process that

would prevent ACM from entering into transactions that would be detrimental to ACF, but were

materially false and misleading because they omitted to disclose the material information that ACM had

diverted $55 million in fees that related to ACF’s investment in Corinthian receivables, in a transaction

evidencing a clear conflict of interest between ACM and ACF.

        139.    The March 1, 2013, Supplement No. 1 to the November 30, 2012 PPM issued by

ACF in connection with the sale of ACF Notes includes a copy of the November 30, 2012 ACF

PPM and thereby makes the same untrue and misleading statements identified previously herein.

        140.    The November 30, 2013, Confidential Private Placement Memorandum (“PPM”)

issued by ACF in connection with the sale of ACF Notes includes a Directory that identifies

Deloitte as Auditor and Tonkon as Legal Counsel, and includes references to and excerpts from

the 2011 and 2012 EisnerAmper audited financial statements. The November 30, 2013 PPM

contains numerous untrue statements of material fact (and/or omissions of material fact




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                                     STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                             209 S.W. OAK STREET, SUITE 500
                                                PORTLAND, OREGON 97204
                                           TEL. (503) 227-1600 FAX (503) 227-6840
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necessary to make the statements made, in light of the circumstances under which they were

made, not misleading), including the following:

               a.      The disclosures on pages 6-8 outlining “The Opportunity” disclosed that

ACF would invest primarily in debt-related assets in order to generate sufficient cash flow to

meet its monthly required debt service payments, and that ACF also obtained additional security

for these investments beyond the assets themselves, closely monitoring the underlying debtors to

ensure their continued financial health. These disclosures included the assertions that “[t]he

Company will make opportunistic investments in non-market correlated, niche income-yielding

strategies;” “By remaining fast-moving and flexible, the Company expects to be able to

capitalize on a variety of conditions favorable to deal structure and pricing;” and “the Company

focuses on moving quickly to seize opportunities while they are still available.” These

disclosures were materially false and misleading because: (1) ACF’s investments did not

generate sufficient cash flow to meet its debt service and other fixed obligations; (2) ACF did not

invest in assets with the necessary time horizon and payment schedule that would allow ACF to

meet its future cash obligations; (3) ACF was insolvent and unable to make investments; (4)

investors would not be protected by adequate security interests in portfolio assets; and (5) the

stated “Risk Management” plan was not employed by the Company;

               b.      The disclosure of ACF’s “collateral” as “a security interest in all personal

property of” ACF (pages 2 and 10) was materially false and misleading because it omitted and

failed to disclose that the value of the alleged collateral was materially overstated, leaving

unsecured or undersecured in their investments;

               c.      The disclosures in the “Financial Information Summary” (page 22) were

false and misleading because they materially overstated the value of ACF’s collateral available

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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to investors. This Financial Information Summary contained selected “audited” financial results

for the years 2010 through 2013, identifying ACF’s “Investment Assets” as being worth more

than $306 million as of the end of 2014, and its “loans to affiliates” (or intercompany loans) as

being worth more $120 million as of the end of 2014. (The Financial Information Summary also

identified “Investment Assets” of more than $208 million in 2012, $124 million in 2011 and $79

million in 2010 and Loans to affiliates of more than $108 million in 2012, $77 million in 2011

and $53 million in 2010). These disclosures were false and misleading because the values of

both the reported Investment Assets and the Loans to Affiliates were materially overstated for

the reasons detailed in Section IV(A), supra;

               d.      The disclosure that advances and loans to affiliates “are typically secured

by the equity or all assets of Holdings or the specific affiliates to which funds are advanced”

(page 7) is materially misleading because it implies that the loans are actually secure, but omits

the material information that these intercompany loans were made to Aequitas entities that were

insolvent or losing copious amounts of money, and the ultimate repayment of these loans could

not be considered reasonably assured. Thus, the “security” obtained from the related entities was

worthless or inadequate, and the loans were unsecured or undersecured loans to failing

companies with little or no reasonable chance of repayment. See, Section IV(A), supra;

               e.      The disclosures regarding ACM’s purported integrated operating platform

(page 5) were materially false and misleading. Specifically, the disclosure that ACM’s operating

platform had “a proven set of capabilities that identifies and qualifies attractive investment

opportunities, designs innovative financing structures, and then adds deep expertise in

management and technology” was materially false and misleading in that this platform had

caused ACF to invest in decidedly unattractive opportunities, including the Corinthian loan

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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receivables. Likewise, the disclosure that and this platform “has demonstrated success

optimizing business and investment outcomes” was materially false and misleading because

ACF’s portfolio was not “optimized,” and because it omitted to disclose that ACM and its

principals had a track record of numerous and substantial business failures, as described more

fully in Section IV(A), supra;

                 f.    The disclosure that the potential “Sources of Repayment” for the notes

“generally” included cash flows generated by its investment portfolio or sales of assets from its

investment portfolio (pages 3 and 7) was materially false and misleading because it portrayed

cash flows from portfolio investments as being the primary source of repayment of its debt

obligations, when, in fact, ACF relied upon the issuance of new notes as its means to pay off the

previously issued notes that were coming due. This disclosure is also misleading because it

omits the material fact that ACF was dependent upon investors renewing their investments on

maturity;

                 g.    The disclosures that ACF would use the proceeds from the sale of these

promissory notes to “engage in various specialty financing transactions, to provide senior and

junior debt and equity funding for the benefit of its affiliates and its related investment programs

and to repay previously issued Secured Notes” (pages 3 and 6-7) was materially false and

misleading in that it portrayed ACF as planning to use the funds it obtained from investors to

pursue new investment opportunities to benefit the new investors and omitted the material fact

that ACF relied on money obtained from new investors to pay the principal and interest owed to

old investors;

                 h.    The disclosure on page 24 that ACF “is not obligated to register the

Secured Notes and does not intend to do so” is misleading because it omitted to disclose the

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                                        TEL. (503) 227-1600 FAX (503) 227-6840
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corresponding risk to investors if the ACF Notes did not comply with the exemption

requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the ACF note; (ii) refunding all such

rescission requests would cause ACF to face severe financial demands and reputational harm that

could materially adversely affect its business and operations; (iii) ACF would be subject to

significant fines and penalties imposed by the SEC or state regulators; and (iv) additional

remedies to purchasers could be available under applicable state law;

               i.         The disclosure at page 7 that “[t]he Company generally pays the principal

and interest of Secured Notes from the proceeds of loans, leases, subordinated debt investments

and similar assets of the Company and sales of Company assets, or from dividends and

distributions paid to the Company from its subsidiaries or equity holdings,” is false and

misleading because the payments were generally, or always, made from the proceeds of sales of

securities and misleading because it omits to disclose the company’s dependence on sales and

renewals of securities;

               j.         The disclosure that “the Company may use proceeds of the sale of Secured

Notes to repay the principal and interest of previously issued Secured Notes” for various stated

reasons, including ACF’s “efforts to reduce its weighted cost of capital” (page 7) is misleading

because it fails to disclose that ACF was often using the proceeds of current offerings to replace

maturing notes with lower interest payments. This disclosure is further misleading because it

omits the material information that: (1) a substantial portion of the proceeds from the sale of the

Notes would be used to satisfy obligations to investors; (2) ACF was dependent on sales of

securities to satisfy its ongoing current capital needs and obligations; and (3) ACF’s perilous

financial condition;

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                                            209 S.W. OAK STREET, SUITE 500
                                               PORTLAND, OREGON 97204
                                          TEL. (503) 227-1600 FAX (503) 227-6840
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               k.      The disclosure that ACF “may be at risk for some level of losses in the

event of default by third parties in its various finance transactions,” and identifying various steps

that ACF purportedly takes to reduce such risk (page 7) is misleading because it downplays the

risk of future losses and omits to disclose the material fact that substantial losses had already

been experienced;

               l.      Various of the “risk factors” disclosed in the PPM, including, inter alia,

those identified under the headings “educational loan reform efforts may harm the company”

(Appendix A, page 2), “the performance of the Company’s counterparties may affect the

Company” (Appendix A, pages 2-3), “Economic and market risks exist” (Appendix A, page 3),

“The Company may make investments in affiliates” (Appendix A, page 5) and “the collateral

may be insufficient or unavailable” (Appendix A, pages 7-8) were materially misleading in that

they were identified as “risks,” when, in fact, they had already materialized as significant

problems to ACF;

               m.      The statement at Appendix A, page 6, that “The ability of the Company to

pay interest on and repay principal of Secured Notes depends, to a great extent, on the Manager’s

performance and ability to select successful investments” is misleading because it omits to

disclose that the company’s ability to pay interest and repay principal was dependent, at least to a

great extent, on selling additional securities and upon investors renewing their investments on

maturity;

               n.      The disclosure that ACF “may be unable to generate sufficient cash flow

to meet debt service and payment at maturity” (Appendix A, page 7) was false and misleading

when made because it omitted to disclose the material fact that ACF had already experienced

significant difficulties in making timely interest payments and principal repayments, was

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                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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experiencing severe liquidity problems, and was dependent upon sales and renewals of the Notes

to keep from defaulting on its existing debt obligations; and

                 o.     The disclosures on pages 13-14 under the heading “Related Party

Transactions; Conflicts of Interest” were materially false and misleading, including the specific

disclosures that “The Aequitas Conflicts Review Committee (described below) has been

established to review and render an opinion on matters submitted to it that involve transactions

with parties related to the Company or perceived conflicts of interest with respect to transactions

involving the Company” and that “The fact that members of the Investment Committee, their

affiliates or any related persons are directly or indirectly interested in or connected with any

entity or individual with which or with whom the Company may have dealings will not by itself

preclude such dealings, and the Company will not have any rights in or to such dealings or any

profits derived therefrom.” These disclosures tended to portray ACF as having a process that

would prevent ACM from entering into transactions that would be detrimental to ACF, but were

materially false and misleading because they omitted to disclose the material information that

ACM had diverted $55 million in fees that related to ACF’s investment in Corinthian

receivables, in a transaction evidencing a clear conflict of interest between ACM and ACF.

          141.   The October 16, 2014 Supplement No. 1 to the November 30, 2013 PPM issued

by ACF in connection with the sale of ACF Notes includes a copy of the November 30, 2013

ACF PPM and thereby makes the same untrue and misleading statements identified previously

herein.

          142.   Shortly after May 9, 2015, ACF disseminated its Consolidated Financial

Statements for the years 2014 and 2013 to investors. These financial statements were audited by

Deloitte and include Deloitte’s Independent Auditors’ Report. The value of ACF’s investment

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
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portfolio was materially overstated in 2014 because ACF failed to recognize losses related to the

diminished value of the Corinthian loan portfolio as of December 31, 2014, as described in more

detail in Section IV(A), supra;

       143.    On May 11, 2015, ACF and ACF disseminated a document entitled “Aequitas

Capital’s Investor Update” to investors, falsely asserting that ACF’s portfolio of loans was

“performing acceptably.”

       144.    The September 9, 2015, Confidential Private Placement Memorandum (“PPM”)

issued by ACF in connection with the sale of ACF Notes includes a Directory that identifies

Deloitte as Auditor and Tonkon as Legal Counsel, and includes references to and excerpts from

the 2011 and 2012 EisnerAmper and 2013 and 2014 Deloitte audited financial statements. The

September 9, 2015 PPM contains numerous untrue statements of material fact (and/or omissions

of material fact necessary to make the statements made, in light of the circumstances under

which they were made, not misleading), including the following:

               a.      The disclosures on pages 5 through 7 outlining “the opportunity” disclosed

that ACF would invest primarily in debt-related assets in order to generate sufficient cash flow to

meet its monthly required debt service payments, and that ACF also obtained additional security

for these investments beyond the assets themselves, closely monitoring the underlying debtors to

ensure their continued financial health. These disclosures were materially false and misleading

because: (1) ACF’s investments did not generate sufficient cash flow to meet its debt service and

other fixed obligations; (2) ACF did not invest in assets with the necessary time horizon and

payment schedule that would allow ACF to meet its future cash obligations; (3) investors would

not be protected by adequate security interests in portfolio assets; and (4) the stated “Risk

Management” plan was not employed by the Company;

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                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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               b.      The disclosure of ACF’s “collateral” as a “security interest in personal

property of” ACF (pages 2 and 9) was materially false and misleading because it omitted and

failed to disclose that the value of the alleged collateral was materially overstated, leaving

investors unsecured or undersecured in their investments;

               c.      The disclosures in the “Financial Information Summary” (page 22) were

false and misleading because they materially overstated the value of ACF’s collateral available

to investors. This Financial Information Summary contained selected “audited” financial results

for the years 2011 through 2014, identifying ACF’s “Investment Assets” as being worth more

than $343 million as of the end of 2014, and its “loans to affiliates” (or intercompany loans) as

being worth more $184 million as of the end of 2014. (The Financial Information Summary also

identified “Investment Assets” of more than $306 million in 2013, $208 million in 2012 and

$124 million in 2011 and Loans to affiliates of more than $120 million in 2013, $108 million in

2012 and $77 million in 2011). These disclosures were false and misleading because the values

of both the reported Investment Assets and the Loans to Affiliates were materially overstated for

the reasons detailed in Section IV(A), supra;

               d.      The disclosure that advances and loans to affiliates “are typically secured

by the equity or all assets of Holdings or the specific affiliates to which funds are advanced” is

materially misleading because it implies that the loans are actually secure, but omits the material

information that these intercompany loans were made to Aequitas entities that were insolvent or

losing copious amounts of money, and the ultimate repayment of these loans could not be

considered reasonably assured. Thus, the “security” obtained from the related entities was

worthless or inadequate, and the loans were unsecured or undersecured loans to failing

companies with little or no reasonable chance of repayment. See Section IV(A)(4), supra;

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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               e.      The disclosures regarding the background of both ACM and ACF (pages 5

and 12) were materially false and misleading because they omitted to disclose that ACM and its

principals had a track record of numerous and substantial business failures, as described more

fully in Section IV(A)(1), supra;

               f.      The disclosure that the potential “Sources of Repayment” for the notes

“generally” included cash flows generated by its investment portfolio or sales of assets from its

investment portfolio (pages 3 and 6-7) was materially false and misleading because it portrayed

cash flows from portfolio investments as being the primary source of repayment of its debt

obligations, when, in fact, by no later than January of 2010, ACF relied upon the issuance of new

notes as its means to pay off the previously issued notes that were coming due. The disclosure is

also misleading because it omits the material fact that ACF was dependent upon investors

renewing their investments on maturity;

               g.      The disclosures that ACF would use the proceeds from the sale of these

promissory notes to “engage in various specialty financing transactions, to provide senior and

junior debt and equity funding for the benefit of its affiliates and its related investment programs

and to repay previously issued Secured Notes” (pages 2 and 6) was materially false and

misleading in that it portrayed ACF as planning to use the funds it obtained from investors to

pursue new investment opportunities to benefit the new investors and omitted the material fact

that, by 2010, ACF had relied on money obtained from new investors to pay the principal and

interest owed to old investors;

               h.      The disclosure on page 24 that ACF “is not obligated to register the

Secured Notes and does not intend to do so” is misleading because it omitted to disclose the

corresponding risk to investors if the ACF Notes did not comply with the exemption

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                                    STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                            209 S.W. OAK STREET, SUITE 500
                                               PORTLAND, OREGON 97204
                                          TEL. (503) 227-1600 FAX (503) 227-6840
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requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the ACF note; (ii) refunding all such

rescission requests would cause ACF to face severe financial demands and reputational harm that

could materially adversely affect its business and operations; (iii) ACF would be subject to

significant fines and penalties imposed by the SEC or state regulators; and (iv) additional

remedies to purchasers could be available under applicable state law;

                 i.        The disclosures on page 6 that “[t]he Company will make opportunistic

investments in non-market correlated, niche income-yielding strategies;” “By remaining fast-

moving and flexible, the Company expects to be able to capitalize on a variety of conditions

favorable to deal structure and pricing;” and “the Company focuses on moving quickly to seize

opportunities while they are still available” are untrue because the company was insolvent and

unable to make investments and misleading because the company’s true financial condition was

not disclosed;

                 j.       The disclosure at page 6 that “[t]he Company generally pays the principal

and interest of Secured Notes from the proceeds of loans, leases, subordinated debt investments

and similar assets of the Company and sales of Company assets, or from dividends and

distributions paid to the Company from its subsidiaries or equity holdings,” is false and

misleading because the payments were generally, or always, made from the proceeds of sales of

securities and misleading because it omits to disclose the company’s dependence on sales and

renewals of securities;

                 k.       The disclosure that “The Company may use proceeds of the sale of

Secured Notes to repay the principal and interest of previously issued Secured Notes” for various

stated reasons, including ACF’s “efforts to reduce its weighted cost of capital” (pages 6-7) is

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                                    STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                            209 S.W. OAK STREET, SUITE 500
                                               PORTLAND, OREGON 97204
                                          TEL. (503) 227-1600 FAX (503) 227-6840
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misleading because it fails to disclose that ACF was often using the proceeds of current offerings

to replace maturing notes with lower interest payments. This disclosure is further misleading

because it omits the material information that: (1) a substantial portion of the proceeds from the

sale of the Notes would be used to satisfy obligations to investors; (2) ACF was dependent on

sales of securities to satisfy its ongoing current capital needs and obligations; and (3) ACF’s

perilous financial condition;

               l.      The disclosure that ACF “may be at risk of loss in the event of default by

third parties or affiliates in its various finance transactions or if an equity investment does not

preform as anticipated” (page 7) is misleading because it omits actual, substantial losses already

experienced and downplays the risk of future losses.”;

               m.      Various of the “risk factors” disclosed in the PPM, including, inter alia,

those identified under the headings “educational loan reform efforts may harm the company”

(Appendix A, page 2), “the performance of the Company’s receivable platform counterparties

may affect the Company” (Appendix A, page 4), “Economic and market risks exist” (Appendix

A, page 5), “The Company may make investments in affiliates” (Appendix A, pages 7-8) and

“the collateral may be insufficient or unavailable” (Appendix A, pages 12-13) were materially

misleading in that they were identified as “risks,” when, in fact, they had already materialized as

significant problems to ACF;

               n.      The disclosures that ACF “may suffer a loss in relation to the CFPB

lawsuit due to the potential inability of Corinthian to complete its obligations for recourse”

(Appendix A, pages 4-5) was materially misleading because ACM and ACF were already aware

that these obligations had already effectively become non-recourse obligations by July 1, 2014 at

the latest;

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               o.      The statement at Appendix A, page 10, that “The ability of the Company

to pay interest on and repay principal of Secured Notes depends, to a great extent, on the

Manager’s performance and ability to select successful investments” is misleading because it

omits to disclose that the company’s ability to pay interest and repay principal was dependent, at

least to a great extent, on selling additional securities and renewing existing securities on

maturity;

               p.      The disclosure that ACF “may be unable to generate sufficient cash flow

to meet debt service and payment at maturity” (Appendix A, page 12) was false and misleading

when made because it omitted to disclose the material fact that ACF had already experienced

significant difficulties in making timely interest payments and principal repayments, was

experiencing severe liquidity problems, and was dependent upon sales and renewals of the Notes

to keep from defaulting on its existing debt obligations;

               q.      The disclosures under the heading “Related Party Transactions; Conflicts

of Interest” were materially false and misleading, including the specific disclosures that “The

Aequitas Conflicts Review Committee (described below) has been established to review and

render an opinion on matters submitted to it that involve transactions with parties related to the

Company or perceived conflicts of interest with respect to transactions involving the Company”

and that “The fact that members of the Investment Committee, their affiliates or any related

persons are directly or indirectly interested in or connected with any entity or individual with

which or with whom the Company may have dealings will not by itself preclude such dealings,

and the Company will not have any rights in or to such dealings or any profits derived

therefrom.” These disclosures tended to portray ACF as having a process that would prevent

ACM from entering into transactions that would be detrimental to ACF, but were materially false

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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and misleading because they omitted to disclose the material information that ACM had diverted

$55 million in fees that related to ACF’s investment in Corinthian receivables, in a transaction

evidencing a clear conflict of interest between ACM and ACF.

       145.    In October 2015, ACF disseminated a “Performance Summary” for the quarter

ended September 30, 2015. This Performance Summary represented a marked change in the

information disclosed by Aequitas, including for the first time a calculation of “Assets Securing

Subordinated Debt.” This first-time disclosure showed a net asset coverage ratio of just 106%

($342,172,000/$321,332,000):



                                               ACF SUMMARY

              Book Value of Total Assets                                         $633,819,000
              Less:    Non-controlling Members’ Equity                           ($123,635,000)
              Less:    Credit Facilities and Senior
              Debt                                                               ($168,012,000)
              Assets Securing Subordinated Debt                                  $342,172,000
              Subordinated Debt                                                  $321,332,000



       146.    The October 27, 2015 Confidential Private Placement Memorandum (“PPM”)

issued by ACF in connection with the sale of ACF Notes includes a Directory that identifies

Deloitte as ACF’s auditor, and includes references to, and excerpts from, the 2011 and 2012

EisnerAmper and 2013 and 2014 Deloitte audited financial statements. This PPM contained

numerous untrue statements of material fact (and omissions of material fact necessary to make

the statements made, in light of the circumstances under which they are made, not misleading),

including the following:




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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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               a.      The disclosures on pages 5 through 7 outlining “the opportunity” disclosed

that ACF would invest primarily in debt-related assets in order to generate sufficient cash flow to

meet its monthly required debt service payments, and that ACF also obtained additional security

for these investments beyond the assets themselves, closely monitoring the underlying debtors to

ensure their continued financial health. These disclosures were materially false and misleading

because: (1) ACF’s investments did not generate sufficient cash flow to meet its debt service and

other fixed obligations; (2) ACF did not invest in assets with the necessary time horizon and

payment schedule that would allow ACF to meet its future cash obligations; (3) investors would

not be protected by adequate security interests in portfolio assets; and (4) the stated “Risk

Management” plan was not employed by the Company;

               b.      The disclosure of ACF’s “collateral” as a “security interest in personal

property of” ACF (pages 2 and 9) was materially false and misleading because it omitted and

failed to disclose that the value of the alleged collateral was materially overstated, leaving

investors unsecured or undersecured in their investments;

               c.      The disclosures in the “Financial Information Summary” (page 22) were

false and misleading because they materially overstated the value of ACF’s collateral available

to investors. This Financial Information Summary contained selected “audited” financial results

for the years 2011 through 2014, identifying ACF’s “Investment Assets” as being worth more

than $343 million as of the end of 2014, and its “loans to affiliates” (or intercompany loans) as

being worth more $184 million as of the end of 2014. (The Financial Information Summary also

identified “Investment Assets” of more than $306 million in 2013, $208 million in 2012 and

$124 million in 2011 and Loans to affiliates of more than $120 million in 2013, $108 million in

2012 and $77 million in 2011). These disclosures were false and misleading because the values

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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of both the reported Investment Assets and the Loans to Affiliates were materially overstated for

the reasons detailed in Section IV(A), supra;

               d.      The disclosure that advances and loans to affiliates “are typically secured

by the equity or all assets of Holdings or the specific affiliates to which funds are advanced” is

materially misleading because it implies that the loans are actually secure, but omits the material

information that these intercompany loans were made to Aequitas entities that were insolvent or

losing copious amounts of money, and the ultimate repayment of these loans could not be

considered reasonably assured. Thus, the “security” obtained from the related entities was

worthless or inadequate, and the loans were unsecured or undersecured loans to failing

companies with little or no reasonable chance of repayment. See Section IV(A)(4), supra;

               e.      The disclosures regarding the background of both ACM and ACF (pages 5

and 12) were materially false and misleading because they omitted to disclose that ACM and its

principals had a track record of numerous and substantial business failures, as described more

fully in Section IV(A)(1), supra;

               f.      The disclosure that the potential “Sources of Repayment” for the notes

“generally” included cash flows generated by its investment portfolio or sales of assets from its

investment portfolio (pages 2 and 6-7) was materially false and misleading because it portrayed

cash flows from portfolio investments as being the primary source of repayment of its debt

obligations, when, in fact, by no later than January of 2010, ACF relied upon the issuance of new

notes as its means to pay off the previously issued notes that were coming due. The disclosure is

also misleading because it omits the material fact that ACF was dependent upon investors

renewing their investments on maturity;



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                                    STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                            209 S.W. OAK STREET, SUITE 500
                                               PORTLAND, OREGON 97204
                                          TEL. (503) 227-1600 FAX (503) 227-6840
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               g.      The disclosures that ACF would use the proceeds from the sale of these

promissory notes to “engage in various specialty financing transactions, to provide senior and

junior debt and equity funding for the benefit of its affiliates and its related investment programs

and to repay previously issued Secured Notes” (pages 2 and 6) was materially false and

misleading in that it portrayed ACF as planning to use the funds it obtained from investors to

pursue new investment opportunities to benefit the new investors and omitted the material fact

that, by 2010, ACF had relied on money obtained from new investors to pay the principal and

interest owed to old investors;

               h.      The disclosure on pages 22-23 that ACF “is not obligated to register the

Secured Notes and does not intend to do so” is misleading because it omitted to disclose the

corresponding risk to investors if the ACF Notes did not comply with the exemption

requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the ACF note; (ii) refunding all such

rescission requests would cause ACF to face severe financial demands and reputational harm that

could materially adversely affect its business and operations; (iii) ACF would be subject to

significant fines and penalties imposed by the SEC or state regulators; and (iv) additional

remedies to purchasers could be available under applicable state law;

               i.       The disclosures on page 6 that “[t]he Company will make opportunistic

investments in non-market correlated, niche income-yielding strategies;” “By remaining fast-

moving and flexible, the Company expects to be able to capitalize on a variety of conditions

favorable to deal structure and pricing;” and “the Company focuses on moving quickly to seize

opportunities while they are still available” are untrue because the company was insolvent and



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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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unable to make investments and misleading because the company’s true financial condition was

not disclosed;

                 j.       The disclosure at page 6 that “[t]he Company generally pays the principal

and interest of Secured Notes from the proceeds of loans, leases, subordinated debt investments

and similar assets of the Company and sales of Company assets, or from dividends and

distributions paid to the Company from its subsidiaries or equity holdings,” is false and

misleading because the payments were generally, or always, made from the proceeds of sales of

securities and misleading because it omits to disclose the company’s dependence on sales and

renewals of securities;

                 k.       The disclosure that “The Company may use proceeds of the sale of

Secured Notes to repay the principal and interest of previously issued Secured Notes” for various

stated reasons, including ACF’s “efforts to reduce its weighted cost of capital” (pages 6-7) is

misleading because ACF was often using the proceeds of current offerings to replace maturing

notes with lower interest payments. This disclosure is further misleading because it omits the

material information that: (1) a substantial portion of the proceeds from the sale of the Notes

would be used to satisfy obligations to investors; (2) ACF was dependent on sales of securities to

satisfy its ongoing current capital needs and obligations; and (3) ACF’s perilous financial

condition;

                 l.       The disclosure that ACF “may be at risk of loss in the event of default by

third parties or affiliates in its various finance transactions or if an equity investment does not

preform as anticipated” (page 7) is misleading because it omits actual, substantial losses already

experienced and downplays the risk of future losses.”;



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                                     STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                             209 S.W. OAK STREET, SUITE 500
                                                PORTLAND, OREGON 97204
                                           TEL. (503) 227-1600 FAX (503) 227-6840
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                m.      Various of the “risk factors” disclosed in the PPM, including, inter alia,

those identified under the headings “There can be no assurance that the principal of or interest on

the Subordinated Notes will be repaid” (Appendix A, page 1); “educational loan reform efforts

may harm the company” (Appendix A, page 2), “the performance of the Company’s receivable

platform counterparties may affect the Company” (Appendix A, page 4), “Economic and market

risks exist” (Appendix A, page 5), “The Company may make investments in affiliates”

(Appendix A, page 8) and “the collateral may be insufficient or unavailable” (Appendix A, page

13) were materially misleading in that they were identified as “risks,” when, in fact, they had

already materialized as significant problems to ACF;

                n.      The disclosures that ACF “may suffer a loss in relation to the CFPB

lawsuit due to the potential inability of Corinthian to complete its obligations for recourse”

(Appendix A, page 5) was materially misleading because ACM and ACF were already aware

that these obligations had already effectively become non-recourse obligations by July 1, 2014 at

the latest;

                o.      The statement at Appendix A, page 10, that “The ability of the Company

to pay interest on and repay principal of Secured Notes depends, to a great extent, on the

Manager’s performance and ability to select successful investments” is misleading because it

omits to disclose that the company’s ability to pay interest and repay principal was dependent, at

least to a great extent, on selling additional securities;

                p.      The disclosure that ACF “may be unable to generate sufficient cash flow

to meet debt service and payment at maturity” (Appendix A, page 12) was false and misleading

when made because it omitted to disclose the material fact that ACF had already experienced

significant difficulties in making timely interest payments and principal repayments, was

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                                            209 S.W. OAK STREET, SUITE 500
                                               PORTLAND, OREGON 97204
                                          TEL. (503) 227-1600 FAX (503) 227-6840
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experiencing severe liquidity problems, and was dependent upon sales of the Notes to keep from

defaulting on its existing debt obligations; and

               q.      The disclosures under the heading “Related Party Transactions; Conflicts

of Interest” were materially false and misleading, including the specific disclosures that “The

Aequitas Conflicts Review Committee (described below) has been established to review and

render an opinion on matters submitted to it that involve transactions with parties related to the

Company or perceived conflicts of interest with respect to transactions involving the Company”

and that “The fact that members of the Investment Committee, their affiliates or any related

persons are directly or indirectly interested in or connected with any entity or individual with

which or with whom the Company may have dealings will not by itself preclude such dealings,

and the Company will not have any rights in or to such dealings or any profits derived

therefrom.” These disclosures tended to portray ACF as having a process that would prevent

ACM from entering into transactions that would be detrimental to ACF, but were materially false

and misleading because they omitted to disclose the material information that ACM had diverted

$55 million in fees that related to ACF’s investment in Corinthian receivables, in a transaction

evidencing a clear conflict of interest between ACM and ACF.

       C.      False and Misleading Statements Regarding AIOF

       147.    The July 1, 2011 Confidential Private Placement Memorandum (“PPM”) issued

by AIOF in connection with the sale of AIOF Senior Secured Promissory Notes includes a

Directory that identifies Tonkon as AIOF’s legal counsel. This PPM contained numerous untrue

statements of material fact and omissions of material fact necessary to make the statements

made, in light of the circumstances under which they are made, not misleading, including the

following:

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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               a.      The disclosures that [AIOF] “intends to follow a value investing style,”

meaning that AIOF “intends to acquire or invest in assets it believes are undervalued by the

market and thus have a lower price than their true worth” (page 3); and that AIM’s CEO and

various other professionals employed by AIM, had “complementary skills and extensive

experience relevant to making and managing the investments and financial operations of” AIOF

(page 22) were materially false and misleading because Aequitas had no real expertise in this

area and had failed miserably. Further, these disclosures were materially false and misleading

because they omitted the material facts that AIM and its principals had a track record of

numerous and substantial business failures, as described more fully in Section IV(A), supra;

               b.      The disclosure that the “Sources of Repayment” for the notes included

cash flows generated by its investment portfolio or sales of assets from its investment portfolio

(page 3) was materially false and misleading because it portrayed cash flows from portfolio

investments as being a primary source of repayment of its debt obligations, when, in fact, AIOF

primarily was dependent upon investors renewing their investments on maturity;

               c.      The disclosure of AIOF’s “collateral” as a “security interest in all assets of

the Fun (pages 2 and 20) was materially false and misleading because it omitted and failed to

disclose that the value of the alleged collateral was materially overstated, leaving investors

unsecured or undersecured in their investments;

               d.      The disclosure on page 32 that AIOF “is not obligated to register the

Secured Notes and does not intend to do so” is misleading because it omitted to disclose the

corresponding risk to investors if the AIOF Notes did not comply with the exemption

requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the AIOF note; (ii) refunding all such

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                                          209 S.W. OAK STREET, SUITE 500
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rescission requests would cause AIOF to face severe financial demands and reputational harm

that could materially adversely affect its business and operations; (iii) AIOF would be subject to

significant fines and penalties imposed by the SEC or state regulators; and (iv) additional

remedies to purchasers could be available under applicable state law; and

               e.     The PPM disclosed certain “risks” that might arise at some unknown

future date including that AIOF “will be subject to economic, investment and market risk”

(Appendix A, page 1) and that AIOF’s assets “may be inadequate to fund the Fund's obligations

to Members and others” (Appendix A, page 4). These disclosures of possible future “risks” were

materially false and misleading because the PPM omitted and failed to disclose that these issues

were not merely future contingencies, but had already occurred.

       148.    The March 1, 2012 Confidential Private Placement Memorandum (“PPM”) issued

by AIOF in connection with the sale of AIOF Senior Secured Promissory Notes includes a

Directory that identifies Tonkon as AIOF’s legal counsel and EisnerAmper as AIOF’s auditor.

This PPM contained numerous untrue statements of material fact (and omissions of material fact

necessary to make the statements made, in light of the circumstances under which they are made,

not misleading), including the following:

               a.     The disclosures that [AIOF] “intends to follow a value investing style,”

meaning that AIOF “intends to acquire or invest in assets it believes are undervalued by the

market and thus have a lower price than their true worth” (page 3); and that AIM’s CEO and

various other professionals employed by AIM, had “complementary skills and extensive

experience relevant to making and managing the investments and financial operations of” AIOF

(page 21) were materially false and misleading because Aequitas had no real expertise in this


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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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area and had failed miserably. Further, these disclosures were materially false and misleading

because they omitted the material facts that AIM and its principals had a track record of

numerous and substantial business failures, as described more fully in Section IV(A), supra;

               b.      The disclosure that the “Use of Proceeds” from the notes would

“substantially” be used to purchase or participate in financing the purchase of portfolios of

recourse and non-recourse healthcare and education receivables but “may also be used to pay

redemptions of previously issued Notes” (page 2, emphases added) was materially false and

misleading because it portrayed to investors that Note proceeds generally would not be used to

pay redemptions to previous investors, when, in fact, AIOF primarily was dependent upon

investors renewing their investments at maturity in order to fulfill its redemption obligations to

previous investors.

               c.      The disclosure that the “Sources of Repayment” for the notes included

cash flows generated by its investment portfolio or sales of assets from its investment portfolio

(page 3) was materially false and misleading because it portrayed cash flows from portfolio

investments as being a primary source of repayment of its debt obligations, when, in fact, AIOF

primarily was dependent upon investors renewing their investments on maturity;

               d.      Various of the “risk factors” disclosed in the PPM, including, inter alia,

those identified under the headings “The Fund will be subject to economic, investment, and

market risk” (Appendix A, page 1), “There may be a lack of diversification in Portfolio Assets”

(Appendix A, page 2), “Conflicts of Interest,” (Appendix A, page 3), “Educational loan reform

efforts may impact the Company” (Appendix A, page 4), and “The Collateral securing the Notes

may be insufficient” (Appendix A, page 4) were materially misleading in that they were



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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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identified as “risks,” when, in fact, they had already materialized as existing or likely significant

problems to AIOF;

               e.      The disclosure of AIOF’s “collateral” as a “security interest in all assets of

the Fun (page 2) was materially false and misleading because it omitted and failed to disclose

that the value of the alleged collateral was materially overstated, leaving investors unsecured or

undersecured in their investments;

               f.      The disclosure on pages 11-12 regarding the “Educational Receivables

Market” was materially false and misleading because, under the heading “Representative

Opportunity—Private Student Loans,” the PPM describes its student loan receivables portfolio

but omits and fails to disclose that the “publicly-held educational institution” was the for-profit

Corinthian Colleges, which was already experiencing financial distress at that time.

               g.      The disclosure that “[t]he forward flow loans will be purchased on a full

recourse basis such that, in the event of a payment default by a loan obligor, the for-profit

college is required to repurchase the loan for the unrecovered portion of the original purchase

price” (page 12) was materially false and misleading because the entirety of its education credit

receivables were from Corinthian Colleges, which was in financial distress such that any

contractual “recourse” protection was likely illusory; and

               h.      The disclosure on page 29 that AIOF “is not obligated to register the

Secured Notes and does not intend to do so” is misleading because it omitted to disclose the

corresponding risk to investors if the AIOF Notes did not comply with the exemption

requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the AIOF note; (ii) refunding all such

rescission requests would cause AIOF to face severe financial demands and reputational harm

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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that could materially adversely affect its business and operations; (iii) AIOF would be subject to

significant fines and penalties imposed by the SEC or state regulators; and (iv) additional

remedies to purchasers could be available under applicable state law.

       149.    The December 31, 2012 Confidential Private Placement Memorandum (“PPM”)

issued by AIOF in connection with the sale of AIOF Senior Secured Promissory Notes includes a

Directory that identifies Tonkon as AIOF’s legal counsel and Harb, Levy & Weiland LLP

(predecessor to EisnerAmper) as AIOF’s auditor. This PPM contained numerous untrue

statements of material fact (and omissions of material fact necessary to make the statements

made, in light of the circumstances under which they are made, not misleading), including the

following:

               a.     The disclosures that [AIOF] “intends to follow a value investing approach

by acquiring or investing in receivables or loans with an intrinsic worth that is undervalued by

the market.” (page 3); and that AIM’s CEO and various other professionals employed by AIM,

had “complementary skills and extensive experience relevant to making and managing the

investments and financial operations of” AIOF (page 31) were materially false and misleading

because Aequitas had no real expertise in this area and had failed miserably. Further, these

disclosures were materially false and misleading because they omitted the material facts that

AIM and its principals had a track record of numerous and substantial business failures, as

described more fully in Section Section IV(A), supra;

               b.     The disclosure of AIOF’s “collateral” as a “security interest in all assets of

the Fun (pages 1, 15) was materially false and misleading because it omitted and failed to




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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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disclose that the value of the alleged collateral was materially overstated, leaving investors

unsecured or undersecured in their investments;

               c.       The disclosure on page 27 that AIOF “is not obligated to register the

Secured Notes and does not intend to do so” is misleading because it omitted to disclose the

corresponding risk to investors if the AIOF Notes did not comply with the exemption

requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the AIOF note; (ii) refunding all such

rescission requests would cause AIOF to face severe financial demands and reputational harm

that could materially adversely affect its business and operations; (iii) AIOF would be subject to

significant fines and penalties imposed by the SEC or state regulators; and (iv) additional

remedies to purchasers could be available under applicable state law;

               d.       The disclosures on page 11 that sales of the Senior Notes would be made

by the Manager and by broker-dealers who are members of FINRA, and that the Manager “may

pay selling commissions to registered broker-dealers” (page 11) were materially false and

misleading because they omitted and failed to disclose that the Senior Notes were being sold

through “finders” who were paid fees in spite of not being licensed as broker dealers or agents, in

violation of securities laws, which subjected AIOF to significant potential penalties, including

allowing investors who purchased Senior Notes in transactions in which finders' fees were paid

having the right to rescind their purchases and subjecting AIOF to additional liability under state

and federal laws; and

               e.       The PPM disclosed certain “risks” that might arise at some unknown

future date including that AIOF “will be subject to economic, investment and market risk”


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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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(Appendix A, page 1); that Educational loan reform efforts may impact the Fund” (Appendix A,

page 4); and that AIOF’s assets “may be inadequate to fund the Fund's obligations to Members

and others” (Appendix A, page 6). These disclosures of possible future “risks” were materially

false and misleading because the PPM omitted and failed to disclose that these issues were not

merely future contingencies, but had already occurred.

       D.      False and Misleading Statements Regarding AIOF II

       150.    The February 12, 2012 Confidential Private Placement Memorandum (“PPM”)

issued by AIOF II in connection with the sale of AIOF II Series A Limited Liability Company

Interests includes a Directory that identifies Tonkon as AIOF II’s legal counsel and Harb, Levy

& Weiland LLP (the predecessor of EisnerAmper) as AIOF II’s auditor. This PPM contained

numerous untrue statements of material fact (and omissions of material fact necessary to make

the statements made, in light of the circumstances under which they are made, not misleading),

including the following:

               a.      Under the heading of “About Aequitas and the Fund,” the PPM disclosed

that AIOF II “expects to use the proceeds from the sale of Series Interests, including the Series A

Interests, to acquire Portfolio Assets, to pay obligations with respect to Series Interests and for

Organizational Expenses and Operating Costs” (page 7). This disclosure was materially false

and misleading because it failed to disclose that the promissory notes issued by ACF would be

partly or wholly unsecured because ACF was insolvent, and its reported assets were materially

overstated;

               b.      The disclosures that “with a team of industry experts and years of

experience in these markets, the Manager believes that [AIOF II] is well-positioned to take

advantage of the currently favorable market conditions” (page 12); that Aequitas had “extensive

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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experience and capabilities of Aequitas in private credit markets” (page 12); and that AIM’s

CEO and various other professionals employed by AIM, had “complementary skills and

extensive experience relevant to making and managing the investments and financial operations

of” AIOF II (page 30) were materially false and misleading because Aequitas had no real

expertise in this area and had failed miserably. Further, these disclosures were materially false

and misleading because they omitted the material facts that AIM and its principals had a track

record of numerous and substantial business failures, as described more fully in Section IV(A),

supra;

               c.      The disclosure that “[AIOF II] intends to acquire or invest in assets it

believes are undervalued by the market and thus have a lower price than their true worth” (page

5) was materially false and misleading because the assets purchased by ACF were dramatically

overvalued (rather than undervalued) in ACF’s reported and audited financial statements;

               d.      The disclosure on page 39 that AIOF II “is not obligated to register the

Secured Notes and does not intend to do so” is misleading because it omitted to disclose the

corresponding risk to investors if the AIOF II Notes did not comply with the exemption

requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the AIOF II note; (ii) refunding all such

rescission requests would cause AIOF II to face severe financial demands and reputational harm

that could materially adversely affect its business and operations; (iii) AIOF II would be subject

to significant fines and penalties imposed by the SEC or state regulators; and (iv) additional

remedies to purchasers could be available under applicable state law; and

               e.      The disclosures on page 38-39 that sales of the Senior Notes would be

made by the Manager and by broker-dealers who are members of FINRA, and that the Manager

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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“may pay selling commissions to registered broker-dealers” (page 38) were materially false and

misleading because they omitted and failed to disclose that the Senior Notes were being sold

through “finders” who were paid fees in spite of not being licensed as broker dealers or agents, in

violation of securities laws, which subjected SIOF II to significant potential penalties, including

allowing investors who purchased Senior Notes in transactions in which finders’ fees were paid

having the right to rescind their purchases and subjecting AIOF II to additional liability under

state and federal laws.

       151.    The October 31, 2014 Confidential Private Placement Memorandum (“PPM”)

issued by AIOF II in connection with the sale of AIOF II Senior Secured Promissory Notes

includes a Directory that identifies Tonkon as AIOF II’s legal counsel and Deloitte as AIOF II’s

auditor. This PPM contained numerous untrue statements of material fact (and omissions of

material fact necessary to make the statements made, in light of the circumstances under which

they are made, not misleading), including the following:

               a.         Under the heading of “About the Fund,” the PPM disclosed that AIOF II

“will invest in promissory notes issued to the [AIOF II] by Aequitas Commercial Finance, LLC

(the “Member”) or applicable SPE, on senior or subordinated terms, as determined by the

Manager in its sole discretion” (page 9). This disclosure was materially false and misleading

because it failed to disclose that the promissory notes issued by ACF would be partly or wholly

unsecured because ACF was insolvent, and its reported assets were materially overstated;

               b.         The disclosures that “with a team of industry experts and years of

experience in these markets, the Manager believes that [AIOF II] is well-positioned to take

advantage of the credit strategies’ currently favorable market conditions” (page 10); that

“Aequitas has established itself within large and inefficient credit markets such as education,

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                                    STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                            209 S.W. OAK STREET, SUITE 500
                                               PORTLAND, OREGON 97204
                                          TEL. (503) 227-1600 FAX (503) 227-6840
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healthcare, and private credit, where it provides unique financing solutions to companies and

their consumers through its proprietary platforms” (page 10); and that AIM’s CEO and various

other professionals employed by AIM, had “complementary skills and extensive experience

relevant to making and managing the investments and financial operations of” AIOF II (page 20)

were materially false and misleading because Aequitas had no real expertise in this area and had

failed miserably. Further, these disclosures were materially false and misleading because they

omitted the material facts that AIM and its principals had a track record of numerous and

substantial business failures, as described more fully in Section IV(A), supra;

               c.      The PPM made various disclosures regarding its security interest in the

assets purchased by ACF, including that: (1) “the Senior Notes are secured by a first priority

security interest in all assets of AIOF II” and any security in ACF’s underlying assets granted

pursuant to AIOF II’s purchase of ACF’s promissory notes (page 17); and (2) that AIOF II

accomplishes a security interest by “ investing in Promissory notes issued [AIOF II] by ACF

and the SPEs that are originating or participating (taking a pari passu or subordinate position) in

the financing of receivables, consumer and commercial loans and leases, often at discounted

prices, through the Aequitas platform” (page 10); and (3) “By structuring the purchase of the

loans at a significant discount which provides substantial over-collateteralization, Aequitas is

able to mitigate the risk of a school not meeting its obligation to repurchase severely delinquent

loans.” (page 11). These disclosures were materially false and misleading because they omitted

and failed to disclose that a material proportion of ACF’s underlying collateral was education

loans to students of the now-defunct Corinthian Colleges, rendering ACF insolvent, and the

security interest in its assets to be worthless.” Referring to the notes issued by AIOF II as

“secured” is misleading for the same reasons;

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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               d.      The disclosure that “[AIOF II] follows a value investing approach by

financing the purchase of receivables or debt assets that [AIOF II] believes have an intrinsic

worth that is undervalued by the market” (page 10);

               e.      The disclosure on page 32 that AIOF II “is not obligated to register the

Secured Notes and does not intend to do so” is misleading because it omitted to disclose the

corresponding risk to investors if the AIOF II Notes did not comply with the exemption

requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the AIOF II note; (ii) refunding all such

rescission requests would cause AIOF II to face severe financial demands and reputational harm

that could materially adversely affect its business and operations; (iii) AIOF II would be subject

to significant fines and penalties imposed by the SEC or state regulators; and (iv) additional

remedies to purchasers could be available under applicable state law;

               f.      The disclosures on page 32 that sales of the Senior Notes would be made

by the Manager and by broker-dealers who are members of FINRA, and that the Manager “may

pay selling commissions to registered broker-dealers” (page 32) were materially false and

misleading because they omitted and failed to disclose that the Senior Notes were being sold

through “finders” who were paid fees in spite of not being licensed as broker dealers or agents, in

violation of securities laws, which subjected SIOF II to significant potential penalties, including

allowing investors who purchased Senior Notes in transactions in which finders’ fees were paid

having the right to rescind their purchases and subjecting AIOF II to additional liability under

state and federal laws; and

               g.      The PPM disclosed certain “risks” that might arise at some unknown

future date including the “risk of loss to bankruptcy or failure of counterparties” (Appendix A,

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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page 4); that “obligors may default” (Appendix A, page 8); “there is no guarantee that [ACF’s]

proprietary loan selection and valuation models will be successful” (Appendix A, pages 8-9); and

“counterparty risks” (Appendix A, page 12). These disclosures of possible future “risks” were

materially false and misleading because the PPM omitted and failed to disclose that these issues

were not merely future contingencies, but had already occurred.

       152.    The October 31, 2014 Confidential Private Placement Memorandum (“PPM”)

issued by AIOF II in connection with the sale of AIOF II Senior Secured Promissory Notes

includes a Directory that identifies Tonkon as AIOF II’s legal counsel, Deloitte as AIOF II’s

auditor and Integrity as its custodian. This PPM contained numerous untrue statements of

material fact (and omissions of material fact necessary to make the statements made, in light of

the circumstances under which they are made, not misleading), including the following:

               a.      Under the heading of “About the Fund,” the PPM disclosed that AIOF II

“will invest in promissory notes issued to the [AIOF II] by Aequitas Commercial Finance, LLC

(the “Member”) or applicable SPE, on senior or subordinated terms, as determined by the

Manager in its sole discretion” (page 9). This disclosure was materially false and misleading

because it failed to disclose that the promissory notes issued by ACF would be partly or wholly

unsecured because ACF was insolvent, and its reported assets were materially overstated;

               b.      The disclosures that “with a team of industry experts and years of

experience in these markets, the Manager believes that [AIOF II] is well-positioned to take

advantage of the credit strategies’ currently favorable market conditions” (page 10); that

“Aequitas has established itself within large and inefficient credit markets such as education,

healthcare, and private credit, where it provides unique financing solutions to companies and

their consumers through its proprietary platforms” (page 10); and that AIM’s CEO and various

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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other professionals employed by AIM, had “complementary skills and extensive experience

relevant to making and managing the investments and financial operations of” AIOF II (page 21)

were materially false and misleading because Aequitas had no real expertise in this area and had

failed miserably. Further, these disclosures were materially false and misleading because they

omitted the material facts that AIM and its principals had a track record of numerous and

substantial business failures, as described more fully in Section IV(A), supra;

               c.      The PPM made various disclosures regarding its security interest in the

assets purchased by ACF, including that: (1) “the Senior Notes are secured by a first priority

security interest in all assets of AIOF II” and any security in ACF’s underlying assets granted

pursuant to AIOF II’s purchase of ACF’s promissory notes (page 17); and (2) that AIOF II

accomplishes a security interest by “ investing in Promissory notes issued [AIOF II] by ACF

and the SPEs that are originating or participating (taking a pari passu or subordinate position) in

the financing of receivables, consumer and commercial loans and leases, often at discounted

prices, through the Aequitas platform” (page 10); and (3) “By structuring the purchase of the

loans at a significant discount which provides substantial over-collateteralization, Aequitas is

able to mitigate the risk of a school not meeting its obligation to repurchase severely delinquent

loans.” (page 11). These disclosures were materially false and misleading because they omitted

and failed to disclose that a material proportion of ACF’s underlying collateral was education

loans to students of the now-defunct Corinthian Colleges, rendering ACF insolvent, and the

security interest in its assets to be worthless.” Referring to the notes issued by AIOF II as

“secured” is misleading for the same reasons.

               d.      The disclosure that “[AIOF II] follows a value investing approach by

financing the purchase of receivables or debt assets that [AIOF II] believes have an intrinsic

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                                        TEL. (503) 227-1600 FAX (503) 227-6840
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worth that is undervalued by the market” (page 10) was materially false and misleading because

the assets purchased by ACF were dramatically overvalued (rather than undervalued) in ACF’s

reported and audited financial statements.

               e.      The disclosure on page 34 that AIOF II “is not obligated to register the

Secured Notes and does not intend to do so” is misleading because it omitted to disclose the

corresponding risk to investors if the AIOF II Notes did not comply with the exemption

requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the AIOF II note; (ii) refunding all such

rescission requests would cause AIOF II to face severe financial demands and reputational harm

that could materially adversely affect its business and operations; (iii) AIOF II would be subject

to significant fines and penalties imposed by the SEC or state regulators; and (iv) additional

remedies to purchasers could be available under applicable state law;

               f.      The disclosures on page 32 that sales of the Senior Notes would be made

by the Manager and by broker-dealers who are members of FINRA, and that the Manager “may

pay selling commissions to registered broker-dealers” (page 32) were materially false and

misleading because they omitted and failed to disclose that the Senior Notes were being sold

through “finders” who were paid fees in spite of not being licensed as broker dealers or agents, in

violation of securities laws, which subjected AIOF II to significant potential penalties, including

allowing investors who purchased Senior Notes in transactions in which finders’ fees were paid

having the right to rescind their purchases and subjecting AIOF II to additional liability under

state and federal laws; and

               g.      The PPM disclosed certain “risks” that might arise at some unknown

future date including the “risk of loss to bankruptcy or failure of counterparties” (Appendix A,

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                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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page 4); that “obligors may default” (Appendix A, page 8); and “there is no guarantee that

[ACF’s] proprietary loan selection and valuation models will be successful” (Appendix A, page

9). These disclosures of possible future “risks” were materially false and misleading because

the PPM omitted and failed to disclose that these issues were not merely future contingencies,

but had already occurred.

       E.      False and Misleading Statements Regarding ACOF

       153.    The February 2014 Confidential Private Placement Memorandum (“PPM”) issued

by ACOF in connection with the sale of ACOF Limited Partnership Interests includes a

Directory that identifies Deloitte as ACOF’s auditor and Sidley as Legal Advisers to the General

Partner (Aequitas Capital Opportunities GP, LLC) and the Investment Advisor (AIM). The PPM

further identifies Duff & Phelps, describes its work as an independent valuation agent, and

discloses Duff & Phelps’ valuations of the fund’s primary assets. This PPM contained numerous

untrue statements of material fact (and omissions of material fact necessary to make the

statements made, in light of the circumstances under which they are made, not misleading),

including the following:

               a.     The disclosures at page 2 that proceeds would be used “to finance growth

investments in the Existing Portfolio Investments and new investments in growth oriented

companies generally in the financial services arena” and at page 4 that “the Investment Advisor

expects that capital committed to the Partnership will be allocated to both existing and new

investments, with a significant portion of invested capital funding growth investments in the

portfolio companies described below under ‘—Existing Portfolio Investments’ and the remainder

funding investments in new opportunities” are misleading because it omits to disclose that (a) a



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                                 STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                         209 S.W. OAK STREET, SUITE 500
                                            PORTLAND, OREGON 97204
                                       TEL. (503) 227-1600 FAX (503) 227-6840
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substantial portion of the proceeds would be used to satisfy obligations to other Aequitas

investors and (b) Aequitas’ dependence on new investments and renewal of existing investments.

               b.     The disclosures regarding the “Existing Portfolio Companies” were

materially false and misleading because the PPM omitted to disclose information alleged in

Section IV(A) regarding those portfolio companies and regarding the student loan receivables,

healthcare receivables and motorcycle leases held by Aequitas;

               c.     The disclosure at page 12 that the EducationPlus Loan Program “recently

ceased funding Corinthian loans with the intention of implementing enhancements to align with

current market conditions” was materially false and misleading because it omitted to disclose the

reasons that Aequitas had ceased funding of Corinthian loans and suggests that the reason was to

“implement enhancements to align with current market conditions” rather than the actual reasons

that Aequitas had ceased funding Corinthian loans;

               d.     The disclosed “Aequitas valuations” of CPTI, EDPlus, ETC, MotoLease

and Strategic Capital are materially untrue or misleading because the actual fair values were

materially less than represented. For example, the CPTI and EDPlus valuations effectively

assumed (i) that CPTI and EDPlus owned the receivables portfolios that they each serviced,

when, in fact, those receivables were owned by various Aequitas companies and pledged as

collateral for senior secured credit facilities, and (ii) that CPTI and EDPlus were independent

from Aequitas, when, in fact both companies were obligated to make substantial ongoing

payments to Aequitas and dependent on continued Aequitas financing to fund and support their

operations; and

               e.     The disclosures that: (1) “The Managing Principals of the General Partner

and the Chief Executive Officer of ACM are primarily responsible for the investment activities

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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of the Partnership, in conjunction with the Investment Committee. The Investment Advisor

employs senior professionals in addition to Messrs. Froude, Ruh and Jesenik, who have

complementary skills and extensive experience relevant to making and managing the

investments of the Partnership” (page 26); and (2) “with a team of industry experts and years of

experience in these markets, the Investment Advisor believes that the Partnership is well-

positioned to experience capital appreciation over the Partnership’s term.” (page 4); were

materially false and misleading in that they omitted and failed to disclose the material fact that

that ACM and its principals had a track record of numerous and substantial business failures, as

described more fully in Section IV(A), supra.

       154.    The August 2014 First Supplement to the February 2014 PPM issued by ACOF in

connection with the sale of ACOF Limited Partnership Interests incorporates by reference the

ACOF February 2014 PPM and thereby makes the same untrue and misleading statements

identified previously herein.

       155.    The November 2014 Second Supplement to the February 2014 PPM issued by

ACOF in connection with the sale of ACOF Limited Partnership Interests incorporates by

reference the ACOF February 2014 PPM and thereby makes the same untrue and misleading

statements identified previously herein.

       156.    The February 2015 Third Supplement to the February 2014 PPM issued by ACOF

in connection with the sale of ACOF Limited Partnership Interests incorporates by reference the

ACOF February 2014 PPM and thereby makes the same untrue and misleading statements

identified previously herein.

       157.    Aequitas and AIM provided prospective investors with an “Aequitas Capital

Opportunities Fund, LP Confidential Fund Summary” (ACOF Fund Summary), which was

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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intended to be used to promote and market the sale of the ACOF Limited Partnership Interests.

The ACOF Fund Summary identified Deloitte as the provider of tax and accounting services to

ACOF and Sidley as the provider of legal services to ACOF. The ACOF Fund Summary was

dated March 9, 2014. The ACOF Fund Summary contained an overview, summary of growth

opportunities, and performance information for each of the ACOF portfolio companies,

including EDPlus, CPT, MotoLease, ETCGlobal, and Strategic Capital Alternatives, LLC. The

performance information included, but was not limited to, revenue, assets under management

(“Total AUM”), and income values for each of the ACOF portfolio companies. The ACOF Fund

Summary contained numerous untrue statements of material fact and omissions of material fact

necessary to make the statements made, in light of the circumstances under which they were

made, not misleading, including the following:

              a.      The value shown in the ACOF Fund Summary to reflect Aequitas’ initial

contribution to ACOF was misleading because, for the reasons explained in the above sections of

this Complaint, the company ownership interests that comprise that initial contribution were

overvalued.

              b.      The value reported as the “Total AUM” for EDPlus was misleading

because the receivables to which the performance summary referred were not actually owned by

EDPlus—rather, they were owned by other Aequitas companies outside of ACOF, which

companies had pledged those receivables as collateral for senior secured debt. The “Total

AUM” value was also misleading because it reflected the face value of the outstanding

receivables; the ACOF Fund Summary omitted and failed to disclose the fair value or liquidation

value of the EDPlus receivables.



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                                           209 S.W. OAK STREET, SUITE 500
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                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               c.     The value reported as “Platform Revenue” for EDPlus was misleading

because that value reflected the revenue of other Aequitas companies outside of ACOF, which

companies actually funded the purchase of the EDPlus receivables.

               d.     All of the values reflected in the ACOF Fund Summary’s performance

information for EDPlus, as well as the overview of EDPlus and its growth opportunities, was

misleading because the ACOF Fund Summary omitted and failed to disclose the fact that the

existence and continued operation of EDPlus depended upon its continuing relationship with,

and ongoing financing from, Aequitas.

               e.     The value reported as the “Total AUM” for CPT was misleading because

the receivables to which the performance summary referred were not actually owned by CPT—

rather, they were owned by other Aequitas companies outside of ACOF, which companies had

pledged those receivables as collateral for senior secured debt. The “Total AUM” value was also

misleading because it reflected the face value of the outstanding receivables; the ACOF Fund

Summary omitted and failed to disclose the fair value or liquidation value of the CPT

receivables.

               f.     The value reported as “Platform Revenue” for CPT was misleading

because that value reflected the revenue of other Aequitas companies outside of ACOF, which

companies actually funded the purchase of the CPT receivables.

               g.     All of the values reflected in the ACOF Fund Summary’s performance

information for CPT, as well as the overview of CPT and its growth opportunities, was

misleading because the ACOF Fund Summary omitted and failed to disclose the fact that the

existence and continued operation of CPT depended upon its continuing relationship with, and

ongoing financing from, Aequitas.

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                                         209 S.W. OAK STREET, SUITE 500
                                            PORTLAND, OREGON 97204
                                       TEL. (503) 227-1600 FAX (503) 227-6840
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               h.     The value reported as the “Total AUM” for MotoLease was misleading

because the receivables to which the ACOF Fund Summary refers were not actually owned by

MotoLease—rather, they were owned by other Aequitas companies outside of ACOF, which

companies had pledged those receivables as collateral for senior secured debt. The “Total

AUM” value was also misleading because the “Total AUM” value reflected the full performance

value of the leases, even though the outstanding obligations on the leases were not likely to be

fully performed, and Aequitas knew that those obligations were not likely to be fully performed.

               i.     All of the values reflected in the ACOF Fund Summary’s performance

information for MotoLease, as well as the overview of MotoLease and its growth opportunities,

was misleading because the ACOF Fund Summary omitted and failed to disclose the fact that the

existence and continued operation of MotoLease depended upon its continuing relationship with,

and ongoing financing from, Aequitas.

               j.     All of the values reflected in the ACOF Fund Summary’s performance

information for ETCGlobal, as well as the overview of ETCGlobal and its growth opportunities,

was misleading because the ACOF Fund Summary omitted and failed to disclose the fact that

neither ACOF nor Aequitas owned ETCGlobal. ACOF owned less than 25 percent of the equity

interest in ETCGlobal.

               k.     All of the values reflected in the ACOF Fund Summary’s performance

information for Strategic Capital Alternatives, LLC, as well as the overview of Strategic Capital

Alternatives, LLC and its growth opportunities, was misleading because the ACOF Fund

Summary omitted and failed to disclose the fact that the existence and continued operation of

Strategic Capital Alternatives, LLC depended upon its continuing relationship with, and ongoing

financing from, Aequitas.

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                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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       F.      False and Misleading Statements Regarding AIPF

       158.    The September 30, 2011 Confidential Private Placement Memorandum (“PPM”)

issued by AIPF in connection with the sale of AIPF Preferred Non-voting Limited Liability

Company Interests includes a Directory that identifies Tonkon as AIPF’s legal counsel and Harb,

Levy & Weiland LLP (the predecessor of EisnerAmper) as AIPF’s auditor. This PPM contained

numerous untrue statements of material fact (and omissions of material fact necessary to make

the statements made, in light of the circumstances under which they are made, not misleading),

including the following:

               a.      The disclosures regarding “Use of Proceeds” and “Sources of Return on

Investment and Membership Interest Redemptions” are misleading because the PPM omits to

disclose the company’s dependence upon (a) proceeds from sales of new investments and (b)

renewals of prior investments on maturity, to pay for redemptions of prior investments;.

               b.      The disclosures that AIPF “intends to make investments on an

opportunistic basis” (page 11); that AIPF “expects to be able to capitalize on a variety of existing

conditions that contribute to favorable deal structure and pricing.” (page 11); and “The Chief

Executive Officer of the Manager is Robert J. Jesenik. Aequitas employs senior professionals in

addition to Mr. Jesenik who have complementary skills and extensive experience relevant to

making and managing the investments of the Fund” (page 27) were materially false and

misleading in that they falsely portrayed Aequitas and AIM has having significant expertise in

education receivables, when they plainly lacked such expertise. Additionally, these disclosures

were also false and misleading because they omitted the material fact that Aequitas and its

principals had a track record of numerous and substantial business failures, as described more

fully in Section IV(A), supra;

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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               c.      The disclosure that “[t]he forward flow loans will be purchased on a full

recourse basis such that, in the event of a payment default by a loan obligor, the for-profit

college is required to repurchase the loan for the unrecovered portion of the original purchase

price” (page 13) was materially false and misleading because the entirety of its education credit

receivables were from Corinthian Colleges, which was in financial distress such that any

contractual “recourse” protection was illusory;

               d.      The disclosures that “Series A Interests have not been registered under the

Securities Act or any state securities laws and must be held indefinitely unless a transfer of the

Series A Interests is subsequently registered or an exemption from such registration is available.

The Fund is not obligated to register the Series A Interests and does not intend to do so.” (page

37) were misleading because the PPM omitted to disclose the corresponding risk to investors if

the AIPF Interests did not comply with the exemption requirements under the Securities Acts and

applicable state laws, including the risks that: (i) each purchaser would have the right to rescind

its purchase of the AIPF Interests; (ii) refunding all such rescission requests would cause AIPF to

face severe financial demands and reputational harm that could materially adversely affect its

business and operations; (iii) AIPF would be subject to significant fines and penalties imposed

by the SEC or state regulators; and (iv) additional remedies to purchasers could be available

under applicable state law;

               e.      The disclosures that “[t]he Fund will be subject to economic, investment

and market risk” (Appendix A, page 4); “[e]ducational loan reform efforts may impact the Fund”

(Appendix A, page 4) were misleading when made because they identified these issues as a

potential problem that could occur at an unknown future date, but omitted to disclose that these

problems were already impacting AIPF.

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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       159.    The December 14, 2011 Confidential Private Placement Memorandum (“PPM”)

issued by AIPF in connection with the sale of AIPF Preferred Non-voting Limited Liability

Company Interests includes a Directory that identifies Tonkon as AIPF’s legal counsel and Harb,

Levy & Weiland LLP (the predecessor of EisnerAmper) as AIPF’s auditor. This PPM contained

numerous untrue statements of material fact (and omissions of material fact necessary to make

the statements made, in light of the circumstances under which they are made, not misleading),

including the following:

               a.      The disclosures regarding “Use of Proceeds” and “Sources of Return on

Investment and Membership Interest Redemptions” are misleading because the PPM omits to

disclose the company’s dependence upon (a) proceeds from sales of new investments and (b)

renewals of prior investments on maturity, to pay for redemptions of prior investments;

               b.      The disclosures that AIPF “intends to make investments on an

opportunistic basis” (page 11); that AIPF “expects to be able to capitalize on a variety of existing

conditions that contribute to favorable deal structure and pricing.” (page 11); and “The Chief

Executive Officer of the Manager is Robert J. Jesenik. Aequitas employs senior professionals in

addition to Mr. Jesenik who have complementary skills and extensive experience relevant to

making and managing the investments of the Fund” (page 27) were materially false and

misleading in that they falsely portrayed Aequitas and AIM has having significant expertise in

education receivables, when they plainly lacked such expertise. Additionally, these disclosures

were also false and misleading because they omitted the material fact that Aequitas and its

principals had a track record of numerous and substantial business failures, as described more

fully in Section IV(A), supra;



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                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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               c.      The disclosure that “[t]he forward flow loans will be purchased on a full

recourse basis such that, in the event of a payment default by a loan obligor, the for-profit

college is required to repurchase the loan for the unrecovered portion of the original purchase

price” (page 12) was materially false and misleading because the entirety of its education credit

receivables were from Corinthian Colleges, which was in financial distress such that any

contractual “recourse” protection was illusory;

               d.      The disclosures that “Offers and sales of Series A Interests will be made

on a “best efforts” basis by employees of the Manager and by broker-dealers who are members

of the Financial Industry Regulatory Authority, Inc., or FlNRA. The Manager may pay selling

commissions to registered broker-dealers with respect to sales of Series A Interests made by

them. Certain broker-dealers may also receive from the Fund a fee for wholesaling, marketing,

training and due diligence investigation” (page 35); were materially false and misleading because

they omitted and failed to disclose that the Notes were being sold through “finders” who were

paid fees in spite of not being licensed as broker dealers or agents, in violation of securities laws,

which subjected ACF to significant potential penalties, including allowing investors who

purchased Secured Notes in transactions in which finders’ fees were paid having the right to

rescind their purchases and subjecting ACF to additional liability under state and federal laws;

               e.      The disclosure that “Series A Interests have not been registered under the

Securities Act or any state securities laws and must be held indefinitely unless a transfer of the

Series A Interests is subsequently registered or an exemption from such registration is available.

The Fund is not obligated to register the Series A Interests and does not intend to do so.” (page

36) was misleading because it omitted to disclose the corresponding risk to investors if the AIPF

Interests did not comply with the exemption requirements under the Securities Acts and

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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applicable state laws, including the risks that: (i) each purchaser would have the right to rescind

its purchase of the AIPF Interests; (ii) refunding all such rescission requests would cause AIPF to

face severe financial demands and reputational harm that could materially adversely affect its

business and operations; (iii) AIPF would be subject to significant fines and penalties imposed

by the SEC or state regulators; and (iv) additional remedies to purchasers could be available

under applicable state law;

               f.      The disclosures that “[t]he Fund will be subject to economic, investment

and market risk” (Appendix A, page 4); “[e]ducational loan reform efforts may impact the Fund”

(Appendix A, page 4) were misleading when made because they identified these issues as a

potential problem that could occur at an unknown future date, but omitted to disclose that these

problems were already impacting AIPF.

       160.    The February 15, 2012 Confidential Private Placement Memorandum (“PPM”)

issued by AIPF in connection with the sale of AIPF Preferred Non-voting Limited Liability

Company Interests includes a Directory that identifies Tonkon as AIPF’s legal counsel and Harb,

Levy & Weiland LLP (the predecessor of EisnerAmper) as AIPF’s auditor. This PPM contained

numerous untrue statements of material fact (and omissions of material fact necessary to make

the statements made, in light of the circumstances under which they are made, not misleading),

including the following:

               a.      The disclosures regarding “Use of Proceeds” and “Sources of Return on

Investment and Membership Interest Redemptions” are misleading because the PPM omits to

disclose the company’s dependence upon (a) proceeds from sales of new investments and (b)

renewals of prior investments on maturity, to pay for redemptions of prior investments;



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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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               b.      The disclosures that AIPF “intends to make investments on an

opportunistic basis” (page 11); that AIPF “expects to be able to capitalize on a variety of existing

conditions that contribute to favorable deal structure and pricing.” (page 11); and “The Chief

Executive Officer of the Manager is Robert J. Jesenik. Aequitas employs senior professionals in

addition to Mr. Jesenik who have complementary skills and extensive experience relevant to

making and managing the investments of the Fund” (page 27) were materially false and

misleading in that they falsely portrayed Aequitas and AIM has having significant expertise in

education receivables, when they plainly lacked such expertise. Additionally, these disclosures

were also false and misleading because they omitted the material fact that Aequitas and its

principals had a track record of numerous and substantial business failures, as described more

fully in Section IV(A), supra;

               c.      The disclosure that “[t]he forward flow loans will be purchased on a full

recourse basis such that, in the event of a payment default by a loan obligor, the for-profit

college is required to repurchase the loan for the unrecovered portion of the original purchase

price” (page 12) was materially false and misleading because the entirety of its education credit

receivables were from Corinthian Colleges, which was in financial distress such that any

contractual “recourse” protection was illusory;

               d.      The disclosures that “Offers and sales of Series A Interests will be made

on a “best efforts” basis by employees of the Manager and by broker-dealers who are members

of the Financial Industry Regulatory Authority, Inc., or FlNRA. The Manager may pay selling

commissions to registered broker-dealers with respect to sales of Series A Interests made by

them. Certain broker-dealers may also receive from the Fund a fee for wholesaling, marketing,

training and due diligence investigation” (page 35); were materially false and misleading because

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                                          209 S.W. OAK STREET, SUITE 500
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                                        TEL. (503) 227-1600 FAX (503) 227-6840
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they omitted and failed to disclose that the Notes were being sold through “finders” who were

paid fees in spite of not being licensed as broker dealers or agents, in violation of securities laws,

which subjected ACF to significant potential penalties, including allowing investors who

purchased Secured Notes in transactions in which finders’ fees were paid having the right to

rescind their purchases and subjecting ACF to additional liability under state and federal laws;

               e.      The disclosure that “Series A Interests have not been registered under the

Securities Act or any state securities laws and must be held indefinitely unless a transfer of the

Series A Interests is subsequently registered or an exemption from such registration is available.

The Fund is not obligated to register the Series A Interests and does not intend to do so.” (page

36) was misleading because it omitted to disclose the corresponding risk to investors if the AIPF

Interests did not comply with the exemption requirements under the Securities Acts and

applicable state laws, including the risks that: (i) each purchaser would have the right to rescind

its purchase of the AIPF Interests; (ii) refunding all such rescission requests would cause AIPF to

face severe financial demands and reputational harm that could materially adversely affect its

business and operations; (iii) AIPF would be subject to significant fines and penalties imposed

by the SEC or state regulators; and (iv) additional remedies to purchasers could be available

under applicable state law; and

               f.      The disclosures that “[t]he Fund will be subject to economic, investment

and market risk” (Appendix A, page 4); “[e]ducational loan reform efforts may impact the Fund”

(Appendix A, page 4) were misleading when made because they identified these issues as a

potential problem that could occur at an unknown future date, but omitted to disclose that these

problems were already impacting AIPF.



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                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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       161.    The June 1, 2012 Confidential Private Placement Memorandum (“PPM”) issued

by AIPF in connection with the sale of AIPF Preferred Non-voting Limited Liability Company

Interests includes a Directory that identifies Tonkon as AIPF’s legal counsel and EisnerAmper as

AIPF’s auditor. This PPM contained numerous untrue statements of material fact (and omissions

of material fact necessary to make the statements made, in light of the circumstances under

which they are made, not misleading), including the following:

               a.      The disclosures regarding “Use of Proceeds” and “Sources of Return on

Investment and Membership Interest Redemptions” are misleading because the PPM omits to

disclose the company’s dependence upon (a) proceeds from sales of new investments and (b)

renewals of prior investments on maturity, to pay for redemptions of prior investments;

               b.      The disclosures that AIPF “intends to make investments on an

opportunistic basis” (page 12); that AIPF “expects to be able to capitalize on a variety of existing

conditions that contribute to favorable deal structure and pricing.” (page 12); and “The Chief

Executive Officer of the Manager is Robert J. Jesenik. Aequitas employs senior professionals in

addition to Mr. Jesenik who have complementary skills and extensive experience relevant to

making and managing the investments of the Fund” (page 29) were materially false and

misleading in that they falsely portrayed Aequitas and AIM has having significant expertise in

education receivables, when they plainly lacked such expertise. Additionally, these disclosures

were also false and misleading because they omitted the material fact that Aequitas and its

principals had a track record of numerous and substantial business failures, as described more

fully in Section IV(A), supra;

               c.      The disclosure that “[t]he forward flow loans will be purchased on a full

recourse basis such that, in the event of a payment default by a loan obligor, the for-profit

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                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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college is required to repurchase the loan for the unrecovered portion of the original purchase

price” (page 13) was materially false and misleading because the entirety of its education credit

receivables were from Corinthian Colleges, which was in financial distress such that any

contractual “recourse” protection was illusory;

               d.      The disclosures that “Offers and sales of Series A Interests will be made

on a “best efforts” basis by employees of the Manager and by broker-dealers who are members

of the Financial Industry Regulatory Authority, Inc., or FlNRA. The Manager may pay selling

commissions to registered broker-dealers with respect to sales of Series A Interests made by

them. Certain broker-dealers may also receive from the Fund a fee for wholesaling, marketing,

training and due diligence investigation” (page 37); were materially false and misleading because

they omitted and failed to disclose that the Notes were being sold through “finders” who were

paid fees in spite of not being licensed as broker dealers or agents, in violation of securities laws,

which subjected ACF to significant potential penalties, including allowing investors who

purchased Secured Notes in transactions in which finders’ fees were paid having the right to

rescind their purchases and subjecting ACF to additional liability under state and federal laws;

               e.      The disclosure that “Series A Interests have not been registered under the

Securities Act or any state securities laws and must be held indefinitely unless a transfer of the

Series A Interests is subsequently registered or an exemption from such registration is available.

The Fund is not obligated to register the Series A Interests and does not intend to do so.” (page

38) was misleading because it omitted to disclose the corresponding risk to investors if the AIPF

Interests did not comply with the exemption requirements under the Securities Acts and

applicable state laws, including the risks that: (i) each purchaser would have the right to rescind

its purchase of the AIPF Interests; (ii) refunding all such rescission requests would cause AIPF to

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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face severe financial demands and reputational harm that could materially adversely affect its

business and operations; (iii) AIPF would be subject to significant fines and penalties imposed

by the SEC or state regulators; and (iv) additional remedies to purchasers could be available

under applicable state law;

               f.      The disclosures that “[t]he Fund will be subject to economic, investment

and market risk” (Appendix A, page 4); “[e]ducational loan reform efforts may impact the Fund”

(Appendix A, page 4) were misleading when made because they identified these issues as a

potential problem that could occur at an unknown future date, but omitted to disclose that these

problems were already impacting AIPF.

       162.    The December 31, 2012 Confidential Private Placement Memorandum (“PPM”)

issued by AIPF in connection with the sale of AIPF Preferred Non-voting Limited Liability

Company Interests includes a Directory that identifies Tonkon as AIPF’s legal counsel and

EisnerAmper as AIPF’s auditor. This PPM contained numerous untrue statements of material

fact (and omissions of material fact necessary to make the statements made, in light of the

circumstances under which they are made, not misleading), including the following:

               a.      The disclosures regarding “Use of Proceeds” and “Sources of Return on

Investment and Membership Interest Redemptions” are misleading because the PPM omits to

disclose the company’s dependence upon (a) proceeds from sales of new investments and (b)

renewals of prior investments on maturity, to pay for redemptions of prior investments;

               b.      The disclosures that “the Fund follows a value investing approach by

directly acquiring or investing in SPEs that acquire receivables or debt assets that the Fund

believes have an intrinsic worth that is undervalued by the market. The Fund accomplishes this

by originating or participating (taking a pari passu or subordinate position) in the financing of

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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receivables, loans, and leases, often at discounted prices, through the Aequitas platform” (page

12); “Aequitas has established itself within large and inefficient credit markets such as education,

healthcare, and private credit, where it provides unique financing solutions to companies and

their consumers through its proprietary platforms.” (page 12); and “The Chief Executive Officer

of the Manager is Robert J. Jesenik. Aequitas employs senior professionals in addition to Mr.

Jesenik who have complementary skills and extensive experience relevant to making and

managing the investments of the Fund” (page 26) were materially false and misleading in that

they falsely portrayed Aequitas and AIM has having significant expertise in education

receivables, when they plainly lacked such expertise. Additionally, these disclosures were also

false and misleading because they omitted the material fact that Aequitas and its principals had a

track record of numerous and substantial business failures, as described more fully in Section

IV(A), supra;

                c.     The disclosures that “[t]he Fund focuses solely on receivables and debt

assets that enjoy recourse protection” (page 12) and “[b]y structuring the purchase of the loans at

a significant discount which provides substantial over-collateralization, Aequitas is able to

mitigate the risk of a school not meeting its obligation to repurchase severely delinquent loans.”

(page 12) were materially false and misleading because the entirety of its education credit

receivables were from Corinthian Colleges, which was in financial distress such that any

contractual “recourse” protection was illusory;

                d.     The disclosures that “Offers and sales of Series A Interests will be made

on a “best efforts” basis by employees of the Manager and by broker-dealers who are members

of the Financial Industry Regulatory Authority, Inc., or FlNRA. The Manager may pay selling

commissions to registered broker-dealers with respect to sales of Series A Interests made by

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                                          209 S.W. OAK STREET, SUITE 500
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                                        TEL. (503) 227-1600 FAX (503) 227-6840
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them. Certain broker-dealers may also receive from the Fund a fee for wholesaling, marketing,

training and due diligence investigation” (page 36); were materially false and misleading because

they omitted and failed to disclose that the securities were being sold through “finders” who

were paid fees in spite of not being licensed as broker dealers or agents, in violation of securities

laws, which subjected AIPF to significant potential penalties, including allowing investors who

purchased in transactions in which finders’ fees were paid having the right to rescind their

purchases and subjecting AIPF to additional liability under state and federal laws;

               e.      The disclosure that “Series A Interests have not been registered under the

Securities Act or any state securities laws and must be held indefinitely unless a transfer of the

Series A Interests is subsequently registered or an exemption from such registration is available.

The Fund is not obligated to register the Series A Interests and does not intend to do so.” (page

37) was misleading because it omitted to disclose the corresponding risk to investors if the AIPF

Interests did not comply with the exemption requirements under the Securities Acts and

applicable state laws, including the risks that: (i) each purchaser would have the right to rescind

its purchase of the AIPF Interests; (ii) refunding all such rescission requests would cause AIPF to

face severe financial demands and reputational harm that could materially adversely affect its

business and operations; (iii) AIPF would be subject to significant fines and penalties imposed

by the SEC or state regulators; and (iv) additional remedies to purchasers could be available

under applicable state law;

               f.      The disclosures that “[t]he Fund will be subject to economic, investment

and market risk” (Appendix A, page 4); “[e]ducational loan reform efforts may impact the Fund”

(page 5) were misleading when made because they identified these issues as a potential problem



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                                          209 S.W. OAK STREET, SUITE 500
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that could occur at an unknown future date, but omitted to disclose that these problems were

already impacting AIPF.

       G.      False and Misleading Statements Regarding AEIF

       163.    The October 1, 2014 Confidential Private Placement Memorandum (“PPM”)

issued by AEIF in connection with the sale of AEIF Preferred Non-voting Limited Liability

Company Interests includes a Directory that identifies Deloitte as AEIF’s auditor and Tonkon as

its legal counsel. This PPM contained numerous untrue statements of material fact (and

omissions of material fact necessary to make the statements made, in light of the circumstances

under which they are made, not misleading), including the following:

               a.       The disclosures regarding “Use of Proceeds” are misleading because the

PPM omits to disclose that the company and/or ACF would use proceeds to pay for redemptions

of prior investments;

               b.       The disclosures regarding “Sources of Return on Investment and

Membership Interest Redemptions” are misleading because the PPM omits to disclose the

company’s and ACF’s dependence upon (a) proceeds from sales of new investments and (b)

renewals of prior investments on maturity, to pay for redemptions of prior investments;

               c.       The disclosures that AEIF “will finance, directly or indirectly, in whole or

in part, the purchase of portfolios of Credit Strategy Receivables (as defined below) by Aequitas

Commercial Finance, LLC (the “Special Member”) or subsidiaries or affiliates (each such

subsidiary or affiliate, an “SPE”)” (page 12) and that AEIF “will invest in promissory notes

issued by the Special Member or applicable SPE, … the proceeds of which the Special Member

or SPE will use to acquire portfolios of Credit Strategy Receivables” (page 12) were misleading

in that they omitted to disclose that the value of the Credit Strategy Receivables was materially

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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overstated by ACF, rendering AEIF’s security interest ineffective, in whole or in part, and that

the Special Master or SPE would use proceeds to pay redemptions to other investors;

               d.      The disclosure that “Aequitas has established itself within large and

inefficient credit markets such as education, healthcare, and private credit, where it provides

unique financing solutions to companies and their consumers through its proprietary platforms”

(page 13) was false because Aequitas lacked expertise in these areas, and was further misleading

because it omitted to disclose the material fact that Aequitas and its principals had a track record

of numerous and substantial business failures, as described more fully in Section IV(A), supra;

               e.      The disclosures regarding “Educational Credit Strategies (such as Unigo

Group)” are misleading because the PPM omits to disclose the failures experienced by Aequitas

with respect to Corinthian, as detailed in Section IV(A).

               f.      The disclosure that AEIF “is not obligated to register the Series Notes and

does not intend to do so” (page 43) was misleading because it omitted to disclose the

corresponding risk to investors if the AEIF Interests did not comply with the exemption

requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the AEIF Interests; (ii) refunding all

such rescission requests would cause AEIF to face severe financial demands and reputational

harm that could materially adversely affect its business and operations; (iii) AEIF would be

subject to significant fines and penalties imposed by the SEC or state regulators; and (iv)

additional remedies to purchasers could be available under applicable state law;

       164.    The January 1, 2015 Confidential Private Placement Memorandum (“PPM”)

issued by AEIF in connection with the sale of AEIF Preferred Non-voting Limited Liability

Company Interests includes a Directory that identifies Deloitte as AEIF’s auditor and Tonkon as

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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its Legal Counsel. This PPM contained numerous untrue statements of material fact (and

omissions of material fact necessary to make the statements made, in light of the circumstances

under which they are made, not misleading), including the following:

               a.       The disclosures regarding “Use of Proceeds” are misleading because the

PPM omits to disclose that the company and/or ACF would use proceeds to pay for redemptions

of prior investments;

               b.       The disclosures regarding “Sources of Return on Investment and

Membership Interest Redemptions” are misleading because the PPM omits to disclose the

company’s and ACF’s dependence upon (a) proceeds from sales of new investments and (b)

renewals of prior investments on maturity, to pay for redemptions of prior investments;

               c.       The disclosure that AEIF “will finance, directly or indirectly, in whole or

in part, the purchase of portfolios of Credit Strategy Receivables (as defined below) by Aequitas

Commercial Finance, LLC (the “Special Member”) or subsidiaries or affiliates (each such

subsidiary or affiliate, an “SPE”)” (page 14) and that AEIF “will invest in promissory notes

issued by the Special Member or applicable SPE…, the proceeds of which the Special Member

or SPE will use to acquire portfolios of Credit Strategy Receivables” (page 14) were misleading

in that they omitted to disclose that the value of the Credit Strategy Receivables was materially

overstated by ACF, rendering AEIF’s security interest ineffective, in whole or in part and that

the Special Member or SPE would use proceeds to pay redemption to other investors;

               d.       The disclosure that “Aequitas has established itself within large and

inefficient credit markets such as education, healthcare, and private credit, where it provides

unique financing solutions to companies and their consumers through its proprietary platforms”

(page 15) was false because Aequitas lacked expertise in these areas, and was further misleading

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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because it omitted to disclose the material fact that Aequitas and its principals had a track record

of numerous and substantial business failures, as described more fully in Section IV(A), supra;

               e.       The disclosures regarding “Educational Credit Strategies (such as Unigo

Group)” are misleading because the PPM omits to disclose the failures experienced by Aequitas

with respect to Corinthian, as detailed in Section IV(A);

               f.       The disclosure that AEIF “is not obligated to register the Series Notes and

does not intend to do so” (page 47) was misleading because it omitted to disclose the

corresponding risk to investors if the AEIF Interests did not comply with the exemption

requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the AEIF Interests; (ii) refunding all

such rescission requests would cause AEIF to face severe financial demands and reputational

harm that could materially adversely affect its business and operations; (iii) AEIF would be

subject to significant fines and penalties imposed by the SEC or state regulators; and (iv)

additional remedies to purchasers could be available under applicable state law;

       165.    The December 14, 2015 Confidential Private Placement Memorandum (“PPM”)

issued by AEIF in connection with the sale of AEIF Preferred Non-voting Limited Liability

Company Interests includes a Directory that identifies Deloitte as AEIF’s auditor and Integrity as

its Custodian. This PPM contained numerous untrue statements of material fact (and omissions

of material fact necessary to make the statements made, in light of the circumstances under

which they are made, not misleading), including the following:

               a.       The disclosures regarding “Use of Proceeds” are misleading because the

PPM omits to disclose that the company and/or ACF would use proceeds to pay for redemptions

of prior investments;

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               b.      The disclosures regarding “Sources of Return on Investment and

Membership Interest Redemptions” are misleading because the PPM omits to disclose the

company’s and ACF’s dependence upon (a) proceeds from sales of new investments and (b)

renewals of prior investments on maturity, to pay for redemptions of prior investments;

               c.      The disclosure that AEIF “will finance, directly or indirectly, in whole or

in part, the purchase of portfolios of Credit Strategy Receivables (as defined below) by Aequitas

Commercial Finance, LLC (the “Special Member”) or subsidiaries or affiliates (each such

subsidiary or affiliate, an “SPE”)” (page 14) and that AEIF “will invest in promissory notes

issued by the Special Member or applicable SPE” (page 14) were misleading in that they omitted

to disclose that the value of the Credit Strategy Receivables was materially overstated by ACF,

rendering AEIF’s security interest ineffective, in whole or in part;

               d.      The disclosure that “Aequitas has established itself within large and

inefficient credit markets such as education, healthcare, and private credit, where it provides

unique financing solutions to companies and their consumers through its proprietary platforms”

(page 15) was false because Aequitas lacked expertise in these areas, and was further misleading

because it omitted to disclose the material fact that Aequitas and its principals had a track record

of numerous and substantial business failures, as described more fully in Section IV(A), supra;

               e.      The disclosures regarding “Educational Credit Strategies” are misleading

because the PPM omits to disclose the failures experienced by Aequitas with respect to

Corinthian, as detailed in Section IV(A);

               f.      The disclosure that AEIF “is not obligated to register the Series Notes and

does not intend to do so” (page 32) was misleading because it omitted to disclose the

corresponding risk to investors if the AEIF Interests did not comply with the exemption

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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requirements under the Securities Acts and applicable state laws, including the risks that: (i) each

purchaser would have the right to rescind its purchase of the AEIF Interests; (ii) refunding all

such rescission requests would cause AEIF to face severe financial demands and reputational

harm that could materially adversely affect its business and operations; (iii) AEIF would be

subject to significant fines and penalties imposed by the SEC or state regulators; and (iv)

additional remedies to purchasers could be available under applicable state law;

               g.      The disclosure that “[t]his Offering is made in the United States to certain

selected offerees who qualify as accredited investors” is misleading because it omits to disclose

the material information that the securities were being sold through “finders” who were paid fees

in spite of not being licensed as broker dealers or agents, in violation of securities laws, which

subjected APCF to significant potential penalties, including allowing investors who purchased in

transactions in which finders’ fees were paid having the right to rescind their purchases and

subjecting ACF to additional liability under state and federal laws;

       H.      False and Misleading Statements Regarding Aequitas Private Client Fund,
               LLC

       166.    The July 31, 2015 Confidential Private Placement Memorandum (“PPM”) issued

by APCF in connection with the sale of APCF Enhanced Yield Notes includes a Directory that

identifies Tonkon as APCF’s legal counsel and Deloitte as AIPF’s auditor. This PPM contained

numerous untrue statements of material fact (and omissions of material fact necessary to make

the statements made, in light of the circumstances under which they are made, not misleading),

including the following:

               a.      The disclosures that “the Aequitas integrated operating platform (the

“Platform”), that identifies and qualifies attractive investment opportunities, designs innovative


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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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financing structures, and then adds deep expertise in management and technology. The Platform

optimizes business and investment outcomes” (page 11), that APCF “intends to make

opportunistic investments in non-market correlated, niche income-yielding strategies that exist in

inefficient markets that are underserved by traditional lenders” (page 12); that APCF “expects to

be able to capitalize on a variety of conditions favorable to deal structure and pricing” (page 12);

and that “[t]he Chief Executive Officer of the Manager and of the Investment Advisor is Robert

J. Jesenik. Aequitas employs senior professionals in addition to Mr. Jesenik who have

complementary skills and extensive experience relevant to making and managing the

investments and financial operations of the Fund” were materially false and misleading because

they falsely portrayed Aequitas and AIM has having significant expertise in education

receivables, when they plainly lacked such expertise. Additionally, these disclosures were also

false and misleading because they omitted the material fact that Aequitas and its principals had a

track record of numerous and substantial business failures, as described more fully in Section

IV(A), supra;

                b.     The disclosure that APCF “is not obligated to register the Series Notes and

does not intend to do so” (page 32) was materially false and misleading when made because

AIPF was required to register the Secured Notes. This disclosure was further misleading

because it omitted to disclose the corresponding risk to investors if the AIPF Interests did not

comply with the exemption requirements under the Securities Acts and applicable state laws,

including the risks that: (i) each purchaser would have the right to rescind its purchase of the

APCF Interests; (ii) refunding all such rescission requests would cause APCF to face severe

financial demands and reputational harm that could materially adversely affect its business and

operations; (iii) APCF would be subject to significant fines and penalties imposed by the SEC or

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
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                                        TEL. (503) 227-1600 FAX (503) 227-6840
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state regulators; and (iv) additional remedies to purchasers could be available under applicable

state law;

               c.      The disclosure that “[t]his Offering is made in the United States to certain

selected offerees who qualify as accredited investors” is misleading because it omits to disclose

the material information that the securities were being sold through “finders” who were paid fees

in spite of not being licensed as broker dealers or agents, in violation of securities laws, which

subjected APCF to significant potential penalties, including allowing investors who purchased in

transactions in which finders’ fees were paid having the right to rescind their purchases and

subjecting ACF to additional liability under state and federal laws;

               d.       “The disclosures that APCF “may be unable to generate sufficient cash

flow to meet debt service” (Appendix A, page 10) and that “collateral may be insufficient or

unavailable” (Appendix A, page 11) were misleading when made because they identified these

issues as a potential problem that could occur at an unknown future date, but omitted to disclose

that these problems were already impacting APCF.

       I.      False and Misleading Quarterly Summaries

       167.    Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q4.2011” (the “Q4 2011 Performance Summary”) to investors and

prospective investors. The Q4 2011 Performance Summary contains numerous untrue

statements of material fact and/or omissions of material fact necessary to make the statements

made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The statement that the “Collateral Value of Assets” exceeded the “Book

Value of Assets” by nearly 18% (more than $42 million) was materially false and misleading

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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because it omitted and failed to disclose that “Collateral Value” did not reflect the fair value or

liquidation value of the assets;

               b.      The statement that the “Collateral Value of Assets” was greater than $283

million was materially false and misleading because it omitted and failed to disclose that the

“Collateral Value of Assets” reflected the full face value of the Corinthian receivables even

though the full face value of those receivables would not be realized, either through collection or

through recourse to Corinthian. For example, under the terms of several separate “one-off”

purchases of receivables from Corinthian, Aequitas would be required to pay Corinthian more

than $44 million if Aequitas actually collected the full face value of the receivables acquired in

those purchases;

               c.      The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected

the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;

               d.      The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management;



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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               e.       The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay prior investors with

maturing ACF Notes as well as investors with maturing investments in other Aequitas securities.

       168.    Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q2.2012” (the “Q2 2012 Performance Summary”) to investors and

prospective investors. The Q2 2012 Performance Summary contains numerous untrue

statements of material fact and/or omissions of material fact necessary to make the statements

made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The statement that the “Collateral Value of Assets” exceeded the “Book

Value of Assets” by nearly 25% (more than $71 million) was materially false and misleading

because it omitted and failed to disclose that “Collateral Value” did not reflect the fair value or

liquidation value of the assets;

               b.      The statement that the “Collateral Value of Assets” was greater than $358

million was materially false and misleading because it omitted and failed to disclose that the

“Collateral Value of Assets” reflected the full face value of the Corinthian receivables even

though the full face value of those receivables would not be realized, either through collection or

through recourse to Corinthian. For example, under the terms of several separate “one-off”

purchases of receivables from Corinthian, Aequitas would be required to pay Corinthian more

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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than $44 million if Aequitas actually collected the full face value of the receivables acquired in

those purchases;

               c.      The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected

the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;

               d.      The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management;

               e.      The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay prior investors with

maturing ACF Notes as well as investors with maturing investments in other Aequitas securities.

       169.    Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q3.2012” (the “Q3 2012 Performance Summary”) to investors and

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                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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prospective investors. The Q3 2012 Performance Summary contains numerous untrue

statements of material fact and/or omissions of material fact necessary to make the statements

made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The statement that the “Collateral Value of Assets” exceeded the “Book

Value of Assets” by nearly 38% (more than $124 million) was materially false and misleading

because it omitted and failed to disclose that “Collateral Value” did not reflect the fair value or

liquidation value of the assets;

               b.      The statement that the “Collateral Value of Assets” was greater than $454

million was materially false and misleading because it omitted and failed to disclose that the

“Collateral Value of Assets” reflected the full face value of the Corinthian receivables even

though the full face value of those receivables would not be realized, either through collection or

through recourse to Corinthian. For example, under the terms of several separate “one-off”

purchases of receivables from Corinthian, Aequitas would be required to pay Corinthian more

than $44 million if Aequitas actually collected the full face value of the receivables acquired in

those purchases;

               c.      The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected

the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               d.      The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management;

               e.      The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay previous investors

with maturing ACF Notes as well as investors with maturing investments in other Aequitas

securities;

        170.   Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q4.2012” (the “Q4 2012 Performance Summary”) to investors and

prospective investors. The Q4 2012 Performance Summary contains numerous untrue

statements of material fact and/or omissions of material fact necessary to make the statements

made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The statement that the “Collateral Value of Assets” exceeded the “Book

Value of Assets” by nearly 33% (more than $117 million) was materially false and misleading

because it omitted and failed to disclose that “Collateral Value” did not reflect the fair value or

liquidation value of the assets;

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               b.      The statement that the “Collateral Value of Assets” was greater than $472

million was materially false and misleading because it omitted and failed to disclose that the

“Collateral Value of Assets” reflected the full face value of the Corinthian receivables even

though the full face value of those receivables would not be realized, either through collection or

through recourse to Corinthian. For example, under the terms of several separate “one-off”

purchases of receivables from Corinthian, Aequitas would be required to pay Corinthian more

than $44 million if Aequitas actually collected the full face value of the receivables acquired in

those purchases;

               c.      The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected

the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;

               d.      The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management;

               e.      The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay previous investors

with maturing ACF Notes as well as investors with maturing investments in other Aequitas

securities.

        171.   Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q1.2013” (the “Q1 2013 Performance Summary”) to investors and

prospective investors. The Q1 2013 Performance Summary contains numerous untrue

statements of material fact and/or omissions of material fact necessary to make the statements

made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The statement that the “Collateral Value of Assets” exceeded the “Book

Value of Assets” by nearly 34% (more than $128 million) was materially false and misleading

because it omitted and failed to disclose that “Collateral Value” did not reflect the fair value or

liquidation value of the assets;

               b.      The statement that the “Collateral Value of Assets” was greater than $512

million was materially false and misleading because it omitted and failed to disclose that the

“Collateral Value of Assets” reflected the full face value of the Corinthian receivables even

though the full face value of those receivables would not be realized, either through collection or

through recourse to Corinthian. For example, under the terms of several separate “one-off”

purchases of receivables from Corinthian, Aequitas would be required to pay Corinthian more

than $44 million if Aequitas actually collected the full face value of the receivables acquired in

those purchases;

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               c.      The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected

the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;

               d.      The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management;

               e.      The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay previous investors

with maturing ACF Notes as well as investors with maturing investments in other Aequitas

securities.

        172.   Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q2.2013” (the “Q2 2013 Performance Summary”) to investors and

prospective investors. The Q2 2013 Performance Summary contains numerous untrue

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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statements of material fact and/or omissions of material fact necessary to make the statements

made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The statement that the “Collateral Value of Assets” exceeded the “Book

Value of Assets” by 33% (more than $139 million) was materially false and misleading because

it omitted and failed to disclose that “Collateral Value” did not reflect the fair value or

liquidation value of the assets;

               b.      The statement that the “Collateral Value of Assets” was greater than $559

million was materially false and misleading because it omitted and failed to disclose that the

“Collateral Value of Assets” reflected the full face value of the Corinthian receivables even

though the full face value of those receivables would not be realized, either through collection or

through recourse to Corinthian. For example, under the terms of several separate “one-off”

purchases of receivables from Corinthian, Aequitas would be required to pay Corinthian more

than $44 million if Aequitas actually collected the full face value of the receivables acquired in

those purchases;

               c.      The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected

the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;



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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               d.      The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management;

               e.      The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay previous investors

with maturing ACF Notes as well as investors with maturing investments in other Aequitas

securities.

        173.   Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q3.2013” (the “Q3 2013 Performance Summary”) to investors and

prospective investors. The Q3 2013 Performance Summary contains numerous untrue

statements of material fact and/or omissions of material fact necessary to make the statements

made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The statement that the “Collateral Value of Assets” exceeded the “Book

Value of Assets” by more than 33% (nearly $145 million) was materially false and misleading

because it omitted and failed to disclose that “Collateral Value” did not reflect the fair value or

liquidation value of the assets;

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               b.      The statement that the “Collateral Value of Assets” was greater than $578

million was materially false and misleading because it omitted and failed to disclose that the

“Collateral Value of Assets” reflected the full face value of the Corinthian receivables even

though the full face value of those receivables would not be realized, either through collection or

through recourse to Corinthian. For example, under the terms of several separate “one-off”

purchases of receivables from Corinthian, Aequitas would be required to pay Corinthian more

than $44 million if Aequitas actually collected the full face value of the receivables acquired in

those purchases;

               c.      The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected

the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;

               d.      The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management;

               e.      The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay previous investors

with maturing ACF Notes as well as investors with maturing investments in other Aequitas

securities.

        174.   Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q4.2013” (the “Q4 2013 Performance Summary”) to investors and

prospective investors. The Q4 2013 Performance Summary contains numerous untrue

statements of material fact and/or omissions of material fact necessary to make the statements

made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The statement that the “Collateral Value of Assets” exceeded the “Book

Value of Assets” by more than 33% (more than $157 million) was materially false and

misleading because it omitted and failed to disclose that “Collateral Value” did not reflect the

fair value or liquidation value of the assets;

               b.      The statement that the “Collateral Value of Assets” was greater than $632

million was materially false and misleading because it omitted and failed to disclose that the

“Collateral Value of Assets” reflected the full face value of the Corinthian receivables even

though the full face value of those receivables would not be realized, either through collection or

through recourse to Corinthian. By that time, Corinthian’s business had begun to collapse and it

was already failing on its recourse obligations with respect to the student loan receivables that

Aequitas had purchased. Moreover, under the terms of several separate “one-off” purchases of

receivables from Corinthian, Aequitas would be required to pay Corinthian more than $44

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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million if Aequitas actually collected the full face value of the receivables acquired in those

purchases. For the same reasons, the “Book Value” stated for ACF’s “Education Credit” was

also materially false and misleading;

               c.      The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected

the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;

               d.      The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management;

               e.      The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay previous investors

with maturing ACF Notes as well as investors with maturing investments in other Aequitas

securities.

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                                           209 S.W. OAK STREET, SUITE 500
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                                         TEL. (503) 227-1600 FAX (503) 227-6840
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       175.    Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q1.2014” (the “Q1 2014 Performance Summary”) to investors and

prospective investors. The Q1 2014 Performance Summary contains numerous untrue

statements of material fact and/or omissions of material fact necessary to make the statements

made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The statement that the “Collateral Value of Assets” exceeded the “Book

Value of Assets” by more than 34% (more than $158 million) was materially false and

misleading because it omitted and failed to disclose that “Collateral Value” did not reflect the

fair value or liquidation value of the assets;

               b.      The statement that the “Collateral Value of Assets” was greater than $617

million was materially false and misleading because it omitted and failed to disclose that the

“Collateral Value of Assets” reflected the full face value of the Corinthian receivables even

though the full face value of those receivables would not be realized, either through collection or

through recourse to Corinthian. By that time, Corinthian’s business had begun to collapse and it

was already failing on its recourse obligations with respect to the student loan receivables that

Aequitas had purchased. Moreover, under the terms of several separate “one-off” purchases of

receivables from Corinthian, Aequitas would be required to pay Corinthian more than $44

million if Aequitas actually collected the full face value of the receivables acquired in those

purchases. For the same reasons, the “Book Value” stated for ACF’s “Education Credit” was

also materially false and misleading;

               c.      The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected

the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;

               d.      The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management; and

               e.      The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay previous investors

with maturing ACF Notes as well as investors with maturing investments in other Aequitas

securities.

        176.   Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q2.2014” (the “Q2 2014 Performance Summary”) to investors and

prospective investors. The Q2 2014 Performance Summary contains numerous untrue

statements of material fact and/or omissions of material fact necessary to make the statements



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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The statement that the “Collateral Value of Assets” exceeded the “Book

Value of Assets” by more than 34% (more than $164 million) was materially false and

misleading because it omitted and failed to disclose that “Collateral Value” did not reflect the

fair value or liquidation value of the assets;

               b.      The statement that the “Collateral Value of Assets” was greater than $646

million was materially false and misleading because it omitted and failed to disclose that the

“Collateral Value of Assets” reflected the full face value of the Corinthian receivables even

though the full face value of those receivables would not be realized, either through collection or

through recourse to Corinthian. By that time, Corinthian’s business had begun to collapse and it

was already failing on its recourse obligations with respect to the student loan receivables that

Aequitas had purchased. Moreover, under the terms of several separate “one-off” purchases of

receivables from Corinthian, Aequitas would be required to pay Corinthian more than $44

million if Aequitas actually collected the full face value of the receivables acquired in those

purchases. For the same reasons, the “Book Value” stated for ACF’s “Education Credit” was

also materially false and misleading;

               c.      The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected



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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;

               d.      The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management; and

               e.      The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay previous investors

with maturing ACF Notes as well as investors with maturing investments in other Aequitas

securities.

        177.   Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q3.2014” (the “Q3 2014 Performance Summary”) to investors and

prospective investors. The Q3 2014 Performance Summary contains numerous untrue

statements of material fact and/or omissions of material fact necessary to make the statements

made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The statement that the “Collateral Value of Assets” exceeded the “Book

Value of Assets” by more than 31% (more than $162 million) was materially false and

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                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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misleading because it omitted and failed to disclose that “Collateral Value” did not reflect the

fair value or liquidation value of the assets;

               b.       The statement that the “Collateral Value of Assets” was greater than $674

million was materially false and misleading because it omitted and failed to disclose that the

“Collateral Value of Assets” reflected the full face value of the Corinthian receivables even

though the full face value of those receivables would not be realized, either through collection or

through recourse to Corinthian. By that time, Corinthian’s business had collapsed and it could

not perform on its recourse obligations with respect to the student loan receivables that Aequitas

had purchased. Moreover, under the terms of several separate “one-off” purchases of receivables

from Corinthian, Aequitas would be required to pay Corinthian more than $44 million if

Aequitas actually collected the full face value of the receivables acquired in those purchases. For

the same reasons, the “Book Value” stated for ACF’s “Education Credit” was also materially

false and misleading;

               c.       The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected

the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;

               d.       The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

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                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management; and

               e.      The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay previous investors

with maturing ACF Notes as well as investors with maturing investments in other Aequitas

securities.

        178.   Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q4.2014” (the “Q4 2014 Performance Summary”) to investors and

prospective investors. The Q4 2014 Performance Summary contains numerous untrue

statements of material fact and/or omissions of material fact necessary to make the statements

made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The statement that the “Collateral Value of Assets” exceeded the “Book

Value of Assets” by more than 29% (more than $163 million) was materially false and

misleading because it omitted and failed to disclose that “Collateral Value” did not reflect the

fair value or liquidation value of the assets;

               b.      The statement that the “Collateral Value of Assets” was greater than $718

million was materially false and misleading because it omitted and failed to disclose that the

“Collateral Value of Assets” reflected the full face value of the Corinthian receivables even

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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though the full face value of those receivables would not be realized, either through collection or

through recourse to Corinthian. By that time, Corinthian’s business had collapsed and it could

not perform on its recourse obligations with respect to the student loan receivables that Aequitas

had purchased. Moreover, under the terms of several separate “one-off” purchases of receivables

from Corinthian, Aequitas would be required to pay Corinthian more than $44 million if

Aequitas actually collected the full face value of the receivables acquired in those purchases. For

the same reasons, the “Book Value” stated for ACF’s “Education Credit” was also materially

false and misleading;

               c.       The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected

the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;

               d.       The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management; and

               e.       The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

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                                        TEL. (503) 227-1600 FAX (503) 227-6840
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portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay previous investors

with maturing ACF Notes as well as investors with maturing investments in other Aequitas

securities.

        179.   Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q2.2015” (the “Q2 2015 Performance Summary”) to investors and

prospective investors. The Q2 2015 Performance Summary contains numerous untrue

statements of material fact and/or omissions of material fact necessary to make the statements

made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The “Book Value” stated for ACF’s “Education Credit” was materially

false and misleading because it omitted and failed to disclose the fact that the value of ACF’s

student loan receivables depended on collection or recourse on the receivables purchased from

Corinthian. By that time, however, Corinthian’s business had collapsed and it could not perform

its recourse obligations with respect to the student loan receivables that Aequitas had purchased;

               b.      The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected

the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;

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                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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               c.      The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management; and

               d.      The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay previous investors

with maturing ACF Notes as well as investors with maturing investments in other Aequitas

securities.

        180.   Holdings and its affiliates provided an “Aequitas Capital // Quarterly Update –

Performance Summary // Q3.2015” (the “Q3 2015 Performance Summary”) to investors and

prospective investors. The Q3 2015 Performance Summary contains numerous untrue

statements of material fact and/or omissions of material fact necessary to make the statements

made, in light of the circumstances under which they were made, not misleading, including the

following:

               a.      The “Book Value” stated for ACF’s “Education Credit” was materially

false and misleading because it omitted and failed to disclose the fact that the value of ACF’s

student loan receivables depended on collection or recourse on the receivables purchased from



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                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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Corinthian. By that time, however, Corinthian’s business had collapsed and it could not perform

its recourse obligations with respect to the student loan receivables that Aequitas had purchased;

               b.      The statement that ACF held “Corporate Debt” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Debt” assets

were made up entirely (or almost entirely) of loans to various Aequitas affiliated companies,

most of which were insolvent or losing copious amounts of money, and the stated value of the

“Corporate Debt” assets was materially false and misleading because the stated value reflected

the full face value of those intercompany loans even though even though the ultimate repayment

of the loans was unlikely;

               c.      The statement that ACF held “Corporate Equity” assets was materially

misleading because it omitted and failed to disclose that the referenced “Corporate Equity” assets

were made up entirely (or almost entirely) of equity interests in various Aequitas affiliated

companies dependent on Aequitas for their continued operations and existence, the value of

which was subjectively assigned by Aequitas management; and

               d.      The statement that “ACF uses proceeds from Private Note primarily to

fund or finance the purchase of student loan receivables from educational providers, patient-pay

receivables from healthcare providers, other private credit strategy receivables and loan

portfolios, or direct collateralized loan and lease obligations, equities, and secured liquidity lines

to affiliates for general corporate purposes” was materially false and misleading because it failed

to disclose that a substantial portion of the proceeds would be used to repay previous investors

with maturing ACF Notes as well as investors with maturing investments in other Aequitas

securities.



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                                           209 S.W. OAK STREET, SUITE 500
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                                         TEL. (503) 227-1600 FAX (503) 227-6840
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        J.      False and Misleading Statements Regarding AMLF Notes

        181.    The AMLF Note investment documentation represented that the investment was

secured by a senior security interest in the assets of AMLF, i.e., motorcycle leases. This

representation was untrue because, in fact, the security interest was or would be subordinated to

other senior secured lenders, and misleading because it omitted to disclose the information

alleged in Section IV (A) regarding MotoLease.

        182.    The AMLF Note investment documentation represented that the investment was

guaranteed by ACF. This representation was misleading because it omitted to disclose the

information alleged herein regarding ACF, and because it implied that ACF was and would be

able to satisfy its obligations under the guaranty when, in fact, ACF was not and would not be

able to satisfy those obligations.

V.      THE COLLAPSE OF AEQUITAS AND PLAINTIFFS’ DISCOVERY OF THE
        BASIS FOR THEIR CLAIMS

        183.    The truth of the untrue and misleading statements alleged herein was not

disclosed to Plaintiffs.

        184.    Plaintiffs only discovered that Aequitas had potentially committed securities law

violations when they received a February 2, 2016, letter that ACF sent to investors informing

them that ACF had not been able to satisfy redemption requests since November 2015 and was

preparing to liquidate ACF’s assets. Plaintiffs did not know of the untruths and omissions and,

in the exercise of reasonable care, could not have known of the untruths or omission before

receiving that letter. While that letter did not indicate that Aequitas had committed securities

violations, it was the first indication that Aequitas may have made material untrue and

misleading statements.


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                                             209 S.W. OAK STREET, SUITE 500
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                                           TEL. (503) 227-1600 FAX (503) 227-6840
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       185.    On February 8, 2016, ACM disclosed that it had retained FTI Consulting (a

forensic and investigative financial consulting firm) to take over management control of the

portfolio and to advise on financial matters and potential restructuring of the Aequitas entities.

       186.    On February 16, 2016, Aequitas told Oregon state officials that it intended to lay

off 80 employees, and told each of these employees that the “layoff is intended to be permanent

in nature.”

       187.    On March 10, 2016, the U.S. Securities and Exchange Commission filed suit in

this District against Aequitas, Jesenik, and Oliver charging them with securities fraud in

connection with their sales of securities.

       188.    Soon thereafter, the SEC and the Aequitas entity defendants asked the Court to

appoint Ronald Greenspan of FTI as receiver for the Aequitas entities.

VI.    DEFENDANTS PARTICIPATED AND MATERIALLY AIDED IN THE SALE OF
       AEQUITAS SECURITIES

       189.    EisnerAmper participated and materially aided in the sales of securities by

Aequitas until at least March 24, 2014.

               a.      EisnerAmper acted as the auditor for numerous Aequitas investment

vehicles, including ACF; AIPF; AIOF; AETC; Aequitas Carepayment Founders Fund, LLC;

Aequitas Carepayment Fund, LLC; Aequitas Catalyst Fund, LLC; Aequitas Commodities Fund,

LLC; Aequitas Hybrid Fund, LLC; Aequitas Income Fund, LLC; and Aequitas Insurance Fund I,

LLC. EisnerAmper audited the consolidated financial statements of ACF, which encompassed

ACF as well as the following Aequitas entities: CarePayment, LLC; CP Funding I, LLC; CA

Medical, LLC; ASFG, LLC; CR Funding I, LLC; Destination Capital Equipment Finance, LLC;

EC Hangar, LLC; Aequitas North American Finance, Inc.; Aequitas Equipment Finance, LLC;


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                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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CP Leverage I, LLC; Aequitas CarePayment Fund, LLC; Aequitas Income Fund, LLC; AIOF;

AIPF; and AMLF.

               b.      EisnerAmper’s auditing services enabled the Aequitas group to conduct its

securities business. EisnerAmper’s willingness to audit Aequitas only below the level of

Holdings gave Aequitas the freedom it needed to undertake the transfers and transactions with

the entities outside the Deloitte-audited fundraising group that allowed it to create and perpetuate

the illusion of financial health. Aequitas needed the stamp of legitimacy provided by a “clean”

audit opinion from an established and reputable audit firm in order to attract, secure, and retain

investors and their funds. And Aequitas needed the audited annual reports in order to comply

with an exception to the standard custody requirements of the Investment Advisers Act of 1940,

an exception that allowed Aequitas to continue to raise and use investor funds free of outside

scrutiny.

               c.      EisnerAmper’s working papers acknowledge that SEC rules required the

distribution of audited financials and that the audited financials would be used by potential and

current investors.

               d.      Aequitas identified EisnerAmper as its auditor in connection with the sale

of securities. EisnerAmper is identified as the auditor in the PPMs for various Aequitas

securities, as alleged herein. For example, the March 30, 2012, Form ADV for AIM, which

EisnerAmper held in its audit files, publicly identified EisnerAmper as the auditor for AIOF;

AIPF; AETC; Aequitas CarePayment Founders Fund, LLC; Aequitas CarePayment Fund, LLC;

Aequitas Catalyst Fund, LLC; Aequitas Commodities Fund, LLC; Aequitas Insurance Fund I,

LLC; Aequitas Hybrid Fund, LLC; and Aequitas Income Opportunity Fund II, LLC. And the

October 23, 2013, Form ADV for AIM publicly identified EisnerAmper as the auditor for AIOF;

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                                          209 S.W. OAK STREET, SUITE 500
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                                        TEL. (503) 227-1600 FAX (503) 227-6840
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AIPF; AETC; Aequitas CarePayment Fund, LLC; Aequitas Hybrid Fund, LLC; and Aequitas

Commodities Fund, LLC. EisnerAmper also was identified as auditor for the various funds in

the Form ADVs for AIM dated March 30, 2011; July 30, 2012; September 11, 2012; and April 1,

2013.

               e.      EisnerAmper was identified as “Auditor/Tax Advisor” in marketing

materials for Aequitas securities. EisnerAmper had some or all of these marketing materials in its

audit files.

               f.      Because it acted as its own investment advisor, Aequitas was subject to

the Investment Advisers Act of 1940 and the rules issued thereunder, including Rule 206(4)-2.

That rule generally requires that client assets be maintained with a “qualified custodian” and

subjected to annual surprise audits, the results of which are reported to the SEC. Given its

business and fundraising model, Aequitas could not adhere to this requirement. Instead,

Aequitas took advantage of the only available exception to the rule, which required Aequitas (i)

to obtain an annual audit for each of the Aequitas Funds by an independent PCAOB-inspected

accounting firm, and (ii) to distribute the annual audited financial statements to investors. In

other words, Aequitas could not have continued to sell securities without EisnerAmper’s annual

audits, nor could Aequitas have continued to sell securities without distributing the annual

EisnerAmper-audited financial statements to investors. Because the Aequitas advisor and the

Aequitas Funds were all part of the integrated group of affiliated Aequitas companies, the

Aequitas advisor was deemed to have custody of client assets and was therefore subject to the

requirements of Rule 206(4)-2.




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                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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               g.      EisnerAmper’s audit workpapers state that “Aequitas relies on distributing

financials to investors within 120 days to satisfy custody rule. Users include investors and

potential investors who may want to invest in the fund.”

       190.    Deloitte participated and materially aided in the sales of securities by Aequitas

beginning no later than September 13, 2013.

               a.      Deloitte acted as the auditor for numerous Aequitas investment vehicles,

including ACF; AIPF; AIOF; AIOF-II; ACOF; AETC; AEIF; Aequitas Carepayment Fund,

LLC; Aequitas Hybrid Fund, LLC; and Aequitas WRFF I, LLC. Deloitte audited the

consolidated financial statements of ACF, which encompassed ACF as well as the following

Aequitas entities: CarePayment, LLC; CP Funding I, LLC; CA Medical, LLC; Campus Student

Funding, LLC; Destination Capital Equipment Finance, LLC; The Hill Land Company, LLC; EC

Hangar, LLC; Aequitas North American Finance, Inc.; Aequitas Equipment Finance, LLC; CP

Leverage I, LLC; CSF Leverage I, LLC; Aequitas CarePayment Fund, LLC; Aequitas Income

Fund, LLC; AIOF; AIOF-II; AIPF; AEIF; ACOF; and AMLF.

               b.      Deloitte’s auditing services enabled the Aequitas group to conduct its

securities business as a whole. Deloitte’s willingness to audit Aequitas only below the level of

Holdings gave Aequitas the freedom it needed to undertake the transfers and transactions with

the entities outside the Deloitte-audited fundraising group that allowed it to create and perpetuate

the illusion of financial health. Aequitas needed the stamp of legitimacy provided by a “clean”

audit opinion from an established and reputable audit firm in order to attract, secure, and retain

investors and their funds. And Aequitas needed the audited annual reports in order to comply

with an exception to the standard custody requirements of the Investment Advisers Act of 1940,



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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
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an exception that allowed Aequitas to continue to raise and use investor funds free of outside

scrutiny.

               c.      Aequitas informed Deloitte that it wished to transition auditing services

from EisnerAmper to Deloitte because of Aequitas’ desire to have a more prominent audit firm

with a national reputation. In addition, Aequitas informed Deloitte that Aequitas was not

satisfied with EisnerAmper’s industry qualifications, and Deloitte was selected for its

qualifications relating to Aequitas’ industry. Having Deloitte as the auditor of its securities

business gave Aequitas clout with prospective and existing investors, and the Deloitte-audited

financial statements were a material part of the information made available to prospective and

existing investors. Deloitte replaced EisnerAmper as Aequitas’ auditor no later than September

12, 2013.

               d.      Aequitas provided the financial statements audited by Deloitte to

prospective and existing investors who were deciding whether to invest or re-invest in Aequitas

securities. For example, AIM’s Form ADV Part 2A (the firm disclosure brochure) dated March

24, 2014, stated:

            Each year, each of our Funds delivers to its investors the previous year’s
            audited financial statements, including a balance sheet, an income statement,
            and a statement of investors’ capital. An independent accounting firm that is
            registered with and subject to inspection by the Public Accounting Oversight
            Board audits our Funds’ annual financial statements.

Deloitte was aware that Aequitas was subject to this requirement and that the audited financial

statements would be used in this way and for this purpose.

               e.      Deloitte’s working papers acknowledge that SEC rules required the

distribution of audited financials and that the audited financials would be used by potential and

current investors.

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               f.      Aequitas identified Deloitte as the auditor in the PPMs for various

Aequitas securities, as alleged herein. Aequitas also identified Deloitte as the auditor for the

Aequitas Funds in public disclosures filed with the SEC. Deloitte is identified as auditor in the

Form ADVs (Part 1A) filed by AIM with the SEC dated March 24, 2014; May 27, 2014; and

March 31, 2015.

               g.      For the reasons discussed in Paragraph 189 with respect to EisnerAmper,

Aequitas could not have continued to sell securities without Deloitte’s annual audits, nor could

Aequitas have continued to sell securities without distributing the annual Deloitte-audited

financial statements to investors.

               h.      Deloitte was identified as auditor in marketing materials for Aequitas

securities, and Deloitte approved Aequitas forwarding its contact details to potential investors

conducting due diligence.

       191.    Tonkon participated and materially aided in the sales of securities by Aequitas

beginning no later than June 9, 2010.

               a.      Tonkon provided legal services to Aequitas in connection with the sale of

its securities, including through ACF; AIOF; AIOF-II; AIPF; AEIF; ACOF; and AMLF, and

prepared legal papers necessary for Aequitas to complete the sale of its securities, including

through ACF; AIOF; AIOF-II; AIPF; AEIF; ACOF; and AMLF.

               b.      Tonkon provided a legal opinion, dated June 21, 2011, regarding ACF’s

qualification for an exemption from the Investment Company Act of 1940. Absent an

exemption, unregistered investment companies cannot engage in any business in interstate

commerce, or control any company engaged in interstate commerce. Tonkon opined that ACF



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appeared to be in compliance, but cautioned Aequitas to seek guidance from the SEC, which

Tonkon knew that Aequitas did not do.

                 c.     Tonkon is identified as legal counsel in the Directory of various PPMs for

Aequitas securities, as alleged herein. Tonkon drafted these PPMs and had copies of these PPMs

in its files.

                 d.     Tonkon provided legal services to AIM in connection with AIM’s role as

an SEC-registered investment advisor and the manager of numerous Aequitas investment

vehicles, including ACF; AIPF; AIOF; AIOF-II; ACOF (through its role as manager of

ACOFGP); AETC; AEIF; APCF; Aequitas Carepayment Founders Fund, LLC; Aequitas

Carepayment Fund, LLC; Aequitas Catalyst Fund, LLC; Aequitas Commodities Fund, LLC;

Aequitas Hybrid Fund, LLC; Aequitas Income Fund, LLC; Aequitas Insurance Fund I, LLC; and

Aequitas WRFF I, LLC.

                 e.     When Aequitas sought to retain Deloitte in order to have a more

prominent audit firm, Tonkon vouched that it could “see no reason why [Deloitte] wouldn’t want

to be associated with Aequitas.”

         192.    Sidley participated and materially aided in the sales of securities beginning no

later than April 5, 2013.

                 a.     Sidley’s initial engagement letter dated March 1, 2012, identifies ACF as

Sidley’s general client in all matters. Sidley provided legal services to ACF and other Aequitas

entities in connection with the sale of its securities.

                 b.     Sidley prepared legal papers necessary for Aequitas to complete the sale

of its securities.



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               c.      Sidley prepared offering documents required for Aequitas to complete the

sale of its securities, including ACOF securities. As reflected on invoices, Sidley billed Aequitas

more than $350,000 for its services relating to the ACOF securities offering, including the

following services: Drafting PPMs and at least three supplements thereto, drafting subscription

documents, drafting the administration agreement, drafting marketing materials, drafting the

term sheet, revising the pitch book, drafting the fact sheet, and drafting the fund limited

partnership agreement.

               d.      The PPMs for ACF securities identified the issue of compliance with the

Investment Company Act as a material issue. EisnerAmper, and later Deloitte, also identified

this material issue. As a result, the auditors required Aequitas to obtain legal opinions

confirming Aequitas’ compliance with the Investment Company Act. In response to

EisnerAmper, by Memorandum dated April 5, 2013, Sidley provided a written opinion and

analysis confirming ACF’s compliance. Without this legal opinion, EisnerAmper would not

have issued a clean audit opinion and Aequitas would not have been able to sell securities.

               e.      Aequitas, Deloitte, and Sidley knew, at the end of 2014, that ACF did not

comply with the exemption it had relied upon to avoid registration under the Investment

Company Act. SEC rules provide a one-year transition period to regain compliance with the

Investment Act of 1940. Sidley advised Aequitas how to regain compliance, and Deloitte relied

on this fact in proceeding with its audit engagement. Deloitte also relied on Sidley’s repeated

assurances with respect to the SEC investigation of Aequitas, an investigation that Sidley

disclosed to Deloitte in May 2015.

               f.      Sidley advised Aequitas how to structure its arrangement with Integrity so

as to enable Integrity to act as an aggregator of individual investments in an effort to circumvent

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the Investment Company Act. Integrity became involved with Aequitas in connection with

AIPF. Integrity told Aequitas that they could create a structure using a trust (having IBAT, a

general partnership, as nominee) that would allow Integrity to act as a pass-through for many

different investors that would count as only one investor for purposes of the exemption from the

Investment Company Act on which AIPF relied. Under this arrangement, Integrity would count

as a single investor against the maximum allowable 99 investors. Aequitas and Sidley learned

that Integrity was wrong and, in July 2014, Aequitas informed the SEC that AIPF failed to

satisfy the exemption, and Aequitas proceeded with the process of liquidating AIPF. During

2014, Sidley worked with Aequitas to create a structure that would allow Integrity to do what

was originally intended—that is, to act as an aggregator of individual investments—via AIOF-

II. AIOF-II was set up specifically for the purpose of retaining AIPF investor money in order to

avoid a liquidity crisis, by having the investments in AIPF transfer over to IOF-II.

                g.      Sidley was engaged by ASFG LLC, the Aequitas entity that purchased

loans from Corinthian, by letter dated July 18, 2012. Sidley also represented CP Lending I,

LLC, and its affiliates, entities used by Aequitas to leverage its healthcare receivables, as well as

AMLF, which Aequitas used to leverage its motorcycle leases.

                h.      Sidley provided legal advice to Aequitas regarding what Aequitas called

its “Note Manufacturing Program,” including advising Aequitas regarding what constitutes a

“security” and advice regarding 1940 Act compliance. Sidley advised Aequitas that these notes

were not securities and that Aequitas was not required to comply with securities laws as to these

notes. Based upon Sidley’s legal advice, Aequitas did not provide a PPM or other disclosures in

connection with its Note Manufacturing Program and was able to sell the subject securities. In

fact, the notes are securities.

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               i.      Sidley provided legal services to AIM in connection with AIM’s role as an

SEC-registered investment advisor and the manager of numerous Aequitas investment vehicles,

including ACF; AIPF; AIOF; AIOF-II; ACOF (through its role as manager of ACOFGP);

AETC; AEIF; Aequitas Carepayment Fund, LLC; Aequitas Hybrid Fund, LLC; and Aequitas

WRFF I, LLC.

               j.      Sidley provided other legal services to Aequitas, including legal opinions

and other legal services that enabled Aequitas to isolate its health care receivable assets from

investors and to pledge those assets as collateral securing Aequitas’ loan facilities with Bank of

America and Wells Fargo Bank, which promoted the illusion of success and legitimacy that

Aequitas required in order to perpetuate its ongoing efforts to take money from investors.

Among the opinions provided by Sidley was a 2015 opinion to Wells Fargo regarding ACF’s

status under the Investment Company Act.

       193.    Ameritrade participated and materially aided in the sales of securities by Aequitas

beginning no later than June 2010. Ameritrade, as part of its “Advisor Direct” financial advisor

referral program, recommended and referred investors to financial advisors for the purpose of

purchasing Aequitas securities. Ameritrade also served the critical role of providing custodial

services for its customers to hold Aequitas securities in their accounts.

               a.      The Advisor Direct program included a small number of investment

advisors. Before including them in the program, Ameritrade performed extensive due diligence

on the advisors. Ameritrade began its practice of recommending and referring investors to

financial advisors for the purpose of purchasing Aequitas securities at least as early as June 2010.

By contract, advisors participating in the Advisor Direct program paid Ameritrade 25% of all

advisory fees received from customers Ameritrade referred to the advisors, and family members

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of those customers. If the participating advisor suggested that a client move the client’s assets to

a financial institution other than Ameritrade, the advisor was required to pay Ameritrade a one-

time fee of 0.75% of the value of the referred client’s assets under management. The

participating advisors agreed to pay to Ameritrade a minimum of $10,000 per year in fees.

Strategic Capital, an investment advisor affiliated with Aequitas, was one of the advisors in

Advisor Direct. Ameritrade knew that Strategic Capital was heavily selling Aequitas securities.

Ameritrade representatives attended meetings between clients of Ameritrade and representatives

of Strategic Capital, at which Aequitas securities were sold to Ameritrade customers.

Ameritrade representatives were also present when Strategic Capital advisors presented the

Aequitas securities and documentation to Ameritrade clients. These meetings frequently

occurred in Ameritrade’s offices. Ameritrade had Aequitas offering documents and promotional

materials in its offices. Ameritrade representatives knew that customers found the Aequitas

securities to be very attractive because of the interest rates that Aequitas offered. Plaintiff

Ciuffitelli was referred to Strategic Capital by his Ameritrade account representative, Tim

Kenton, in September 2010. Mr. Kenton promoted Aequitas to Mr. Ciuffitelli as a great

investment with a big return and told Mr. Ciuffitelli that many of his other clients were investing

with Aequitas.

                 b.    Ameritrade participated directly with Aequitas in marketing Aequitas

securities to Ameritrade customers. For example, in April 2011, Aequitas executives held a

training dinner for TD Ameritrade Investment Consultants, followed by a prospect dinner.

Aequitas was introduced as a vehicle to move investor assets from other custodians and “draw

them to TD and to the Advisor Direct channel.” One participant in the Advisor Direct program



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was highlighted for having made four times the average Ameritrade investment consultant salary

by placing his customers in Aequitas securities.

               c.      Ameritrade’s agreement to allow its customers to hold their Aequitas

securities in their Ameritrade accounts was critical to Aequitas’ ability to sell securities. Without

this accommodation, Aequitas investors could not hold Aequitas securities in their Ameritrade

accounts, because Aequitas securities were “nonconventional” investments without a market.

Internal Aequitas documents detail the material impact of Ameritrade’s custodial services on

Aequitas’ business.

               d.      Ameritrade’s participation and aid was critical to Aequitas’ success in

selling securities. Ameritrade customers purchased and held in their Ameritrade accounts

approximately $140 million in Aequitas securities between 2010 and 2015.

               e.      Ameritrade also participated and aided in Aequitas’ sales of securities,

including agreements by investors to purchase new securities rather than redeem on maturity, y

failing to disclose its concerns about Aequitas. In January 2015, Ameritrade declined to custody

additional Aequitas securities. In October 2015, Ameritrade removed Aequitas from its custody

platform entirely. Ameritrade did not notify its customers of the reasons for its actions. By its

actions, Ameritrade forestalled the demise of Aequitas and enabled Aequitas to continue to sell

securities.

        194.   Integrity participated and materially aided in Aequitas’ sales of more than $90

million worth of ACF Notes, AIPF Interests and AIOF-II Notes, beginning no later than

December 1, 2011.

               a.      As alleged in paragraph 192(f), Integrity participated and materially aided

in Aequitas’ sales of AIPF Interests.

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               b.      Integrity later acted pursuant to several contracts with Aequitas and

promoted the sale of these securities. The first contract is an Aequitas Financial Services

Network Partner Subscription Agreement (“Network Agreement”) between Integrity and

Aequitas Capital Management, effective date of September 20, 2014. The subject network (the

“Network”) was organized by Aequitas Capital Management (“ACM”) and its Aequitas affiliates

to sell Aequitas securities. The Network “exists for the benefit of, and offers membership to,

independent firms composed of sophisticated financial services professionals, each of whom

devotes a significant portion of its activities to marketing to advisors of high net worth and

corporate clients”. By entering into the Network Agreement, Integrity agreed to “offer the

Network”. Integrity received Network commissions, labeled referral fees, for referring

purchasers to Aequitas or to other Network partners participating in the program to sell Aequitas

securities. These commissions were not disclosed to investors. Pursuant to this contractual

arrangement, Aequitas provided Integrity with access to Aequitas’ confidential business

information. The terms of the Network Agreement allowed Integrity to distribute pooled

investment vehicles through the Network or with one or more Network partners.

               c.      The second contract is an Administrative Services Agreement between

Integrity and Aequitas Commercial Finance, LLC (“ACF”) effective July 21, 2014. Pursuant to

this agreement, Integrity purchased ACF Notes from ACF on behalf of Integrity’s clients.

Integrity and ACF agreed that “each Private Note issued in accordance with this Agreement will

be issued on the terms and conditions described in the offering memorandum and offering

materials provided by Aequitas”. Integrity agreed to provide each prospective investor with the

offering documents in the form provided by Aequitas, and to provide each prospective investor

the opportunity to ask questions an obtain information about the ACF Notes. Integrity expressly

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acknowledged that “the offer and sale of the Private Notes will not be registered with the U.S.

Securities and Exchange Commission or any other state regulatory agency”. The mechanics of

the sales of securities pursuant to the Administrative Services Agreement were as follows:

           Bank will provide to Aequitas a properly executed subscription agreement,
           and such other documents as may be required by Aequitas, and such
           documents will apply to the future purchase of Private Notes on behalf of
           [Integrity] Bank and its Participating Clients. With respect to Participating
           Clients, Bank will obtain properly executed subscription agreements in a form
           approved by Aequitas and will provide Aequitas with copies of the same upon
           Aequitas’ request. …

The Administrative Services Agreement acknowledge that Integrity is Aequitas’ agent in

connection with all transactions pursuant thereto. Aequitas agreed to provide quarterly updates

to Integrity as to the status of each ACF Note. Integrity agreed to provide specific services to

purchasers of ACF Notes, including direct support regarding client accounts and the status of

participation in ACF Notes, serving as point of contact for questions about ACF Notes and

Aequitas, preparation of distribution statements and performance reporting on a monthly or

quarterly basis, annual tax reporting and billing support.

               d.      The third contract is an Administrative Services Agreement between

Integrity and AIOF-II effective October 15, 2014. Pursuant to this agreement, Integrity

purchased AIOF-II Notes from AIOF-II on behalf of Integrity’s clients. Integrity and AIOF-II

agreed that “each IOF II Note issued in accordance with this Agreement will be issued on the

terms and conditions described in the offering memorandum and offering materials provided by

the Fund”. Integrity agreed to provide each prospective investor with the offering documents in

the form provided by Aequitas, and to provide each prospective investor the opportunity to ask

questions an obtain information about the AIOF II Notes. Integrity expressly acknowledged that



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“the offer and sale of the AIOF II Notes will not be registered with the U.S. Securities and

Exchange Commission or any other state regulatory agency”. The mechanics of the sales of

securities pursuant to the Administrative Services Agreement were as follows:

           Bank will provide to the Fund a properly executed subscription agreement,
           and such other documents as may be required by the Fund, and such
           documents will apply to the future purchase of IOF II Notes on behalf of
           [Integrity] Bank and its Participating Clients. With respect to Participating
           Clients, Bank will obtain properly executed subscription agreements in a form
           approved by the Fund and will provide the Fund with copies of the same upon
           the Fund’s request. …

The Administrative Services Agreement acknowledge that Integrity is Aequitas’ agent in

connection with all transactions pursuant thereto. Aequitas agreed to provide quarterly updates

to Integrity as to the status of each AIOF-II Note. Integrity agreed to provide specific services to

purchasers of AIOF-II Notes, including direct support regarding client accounts and the status of

participation in AIOF-II Notes, serving as point of contact for questions about ACF Notes and

Aequitas, preparation of distribution statements and performance reporting on a monthly or

quarterly basis, annual tax reporting and billing support.

               e.      A promotional document titled “Aequitas Capital Income Opportunity

Fund II” describes an investment opportunity offered by Aequitas Capital. The document states

that the security is “Presented by: Integrity Bank & Trust” and provides Integrity’s address and

telephone and fax numbers. The document states that “Aequitas Capital or ‘Aequitas’ refers to

the entities and activities of Aequitas Holdings, LLC and its affiliates.” The document bears the

copyright “2014 Aequitas Capital Management.” The promotional document describes an

“opportunity” to invest in a “value-oriented, diversified private credit fund” that invests in

receivables or debt assets “that the Fund believes have an intrinsic worth that is undervalued by



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the market;” claims that it offers predictable, stable returns; and touts the “transparency” of the

fund and that “Investors have visibility into all Fund assets.”

               f.      Integrity served as the custodian for certain Aequitas fundraising vehicles,

including ACF; AIOF; AIPF; ACOF; AEIF; AETC; Aequitas Hybrid Fund, LLC; and Aequitas

WRFF I, LLC.

        195.   Duff & Phelps participated and materially aided in the sales of Aequitas securities

during and after 2014. Aequitas used Duff & Phelps’ name and valuations in marketing ACOF

securities.

               a.      Duff & Phelps’ December 4, 2013 engagement letter with AIM

acknowledged and consented to the use of Duff & Phelps’ name, the services provided by it and

a description of its business in PPMs and other marketing materials to be provided to investors.

               b.      Duff & Phelps prepared appraisal reports that it agreed could be provided

to potential investors and were, in fact given to potential investors.

               c.      Duff & Phelps provided analyses of the value of ACOF’s investments,

including Carepayment, EDPlus and ETC, in December 2013, July 2014, and February-March

2015. The valuations provided by Duff & Phelps were disclosed and explicitly referenced in

ACOF’s February 2014 PPM. The Duff & Phelps valuations were used by Aequitas in the PPM

to give investors confidence in the values of ACOF’s assets, which were referred to as the

“existing portfolio investments.” These values were critical because the existing portfolio

investments were ACOF’s only assets.

               d.      Duff & Phelps’s valuations were also used by Aequitas to support the

asserted value of ACF and to present ACF as a low-risk investment. The ACOF assets valued by

Duff & Phelps were included on ACF’s consolidated financial statements and in summaries

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given to investors to encourage them to invest in ACF and ACOF. For example, June 2014

marketing materials for ACF stated that ACF’s total assets had a book value of more than $482

million and were secured by collateral valued at more than $646 million, which included the

purported value of ACOF and reflected Duff & Phelps’ valuation. Duff & Phelps’ valuations of

ACOF enabled ACF to market its multi-million-dollar interest in ACOF as a significant asset

backing the Private Notes ACF was selling.

               e.     Duff & Phelps’ valuations created the illusion that Aequitas was a stable

investment with valuable assets.

               f.     By agreement, the statute of limitations for Plaintiffs’ claims against Duff

& Phelps was tolled between February 21, 2017 and September 8, 2017.

VII.    PLAINTIFFS’ PURCHASES OF AEQUITAS

        196.   Plaintiff Ciuffitelli purchased the following securities from Aequitas:

               a.     In May 2013, Ciuffitelli purchased three ACF Notes from Aequitas, each

in the total principal amount of $750,000, all with interest at the annual rate of 11 percent, and

with maturity dates of May 2016, May 2017, to May 2018, respectively.

               b.     In February 2015, Ciuffitelli purchased ACOF Interests from Aequitas in

the total principal amount of $750,000.

               c.     In September 2015, Ciuffitelli purchased an AMLF Note from Aequitas in

the principal amount of $1.0 million. In December 2015, Aequitas induced Ciuffitelli to extend

the maturity date of that AMLF Note.

        197.   In 2012, plaintiffs the Juliens purchased an AIOF Note from Aequitas in the

principal amount of $375,000. In October 2015, the Juliens used the funds they had invested in



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that AIOF Note to purchase an ACF Note from Aequitas, again in the amount of $375,000, with

interest at the annual rate of 11 percent and an October 2019 maturity date.

       198.      Plaintiff RFMC purchased the following securities from Aequitas:

                 a.     In March 2013, RFMC purchased an AIOF Note from Aequitas in the

total principal amount of $300,000, with interest at the annual rate of 10 percent and an April

2016 maturity date.

                 b.     In February 2015, RFMC purchased an ACF Note from Aequitas in the

total principal amount of $3,134,781.18, with interest at the annual rate of 10 percent and a

February 2016 maturity date.

                 c.     In April 2015, RFMC purchased an additional ACF Note from Aequitas in

the principal amount of $300,000, with interest at the annual rate of 11 percent and a maturity

date of November 2017.

                 d.     In September 2015, RFMC purchased an AMLF Note from Aequitas in

the principal amount of $1,000,000, with interest at the annual rate of 13 percent to be paid at its

December 2015 maturity. In December 2015, Aequitas induced RFMC to extend the maturity

date of that AMLF Note to June 2016.

       199.      Plaintiffs the MacDonalds purchased the following securities from Aequitas:

                 a.     In April 2015, the MacDonalds purchased two ACF Notes from Aequitas

in the total principal amount of $1.0 million, with interest at annual rates of 9.5 and 11 percent

and maturity dates of December 2015 and November 2017, respectively.

                 b.     In July 2012, the MacDonalds purchased an AIOF Note from Aequitas in

the principal amount of $500,000, with interest at the annual rate of 10 percent and an April 2016

maturity date.

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                 c.     In September 2015, the MacDonalds purchased an AMLF Note from

Aequitas in the principal amount of $500,000, with interest at the annual rate of 13 percent and a

December 2015 maturity date. In December 2015, Aequitas induced the MacDonalds to extend

the maturity date of that AMLF Note to June 2016.

       200.      Plaintiff Nowak purchased the following securities from Aequitas:

                 a.     In February 2013, Nowak purchased AIPF Interests in the total principal

amount of $500,000. In May 2015, following the redemption of those AIPF Interests, Aequitas

induced Nowak to purchase an ACF Note from Aequitas in the total principal amount of

$500,000.

                 b.     In May 2014, Nowak purchased an ACF Note from Aequitas in the

principal amount of $1.6 million, with interest at the annual rate of 11 percent and a May 2018

maturity date.

       201.      Plaintiff Ramstein purchased the following securities from Aequitas:

                 a.     In July 2012, Ramstein purchased an ACF Note from Aequitas in the

principal amount of $400,000, with interest at the annual rate of 10 percent and a July 2016

maturity date.

                 b.     In August 2013, Ramstein purchased an ACF Note from Aequitas in the

principal amount of $520,000, with interest at the annual rate of 11 percent and an August 2017

maturity date.

                 c.     In March 2014, Ramstein purchased an ACF Note from Aequitas in the

principal amount of $400,000, with interest at the annual rate of 10 percent and a March 2018

maturity date.



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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
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                                         TEL. (503) 227-1600 FAX (503) 227-6840
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                 d.     In September 2015, Ramstein purchased an ACF Note from Aequitas in

the principal amount of $625,000, with interest at the annual rate of 5 percent and a March 2016

maturity date.

       202.      Plaintiffs Greg and Susan Warrick purchased the following securities from

Aequitas, all of which Integrity solicited on Aequitas’ behalf:

                 a.     In September 2015, Greg and Susan Warrick, acting as co-trustees of the

Warrick Family Trust, purchased from Aequitas an interest in an AIOF-II Note in the principal

amount of $94,000, with interest at the annual rate of 10 percent.

                 b.     In September 2015, Greg Warrick purchased from Aequitas an interest in

an AIOF-II Note in the principal amount of $57,200, with interest at the annual rate of 10

percent.

                                CLASS ACTION ALLEGATIONS

       203.      Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of all persons who purchased Aequitas securities on or after

June 9, 2010 (the “Class”). The Class does not include: (a) Defendants; (b) the past and present

officers and directors of the Aequitas affiliated companies, including without limitation Robert

Jesenik, Brian Oliver, Craig Froude, Scott Gillis, Andrew MacRitchie, Olaf Janke, Brian Rice,

William Ruh, Steve Hedberg, Brett Brown, Tom Goila, Patricia Brown, Bill Malloy, and

Thomas Szabo, and their respective families and affiliates; (c) the past and present members of

the Aequitas Advisory Board, including without limitation William McCormick, L. Martin

Brantley, Patrick Terrell, Edmund Jensen, Donna Miles, William Glasgow, Keith Barnes, Bob

Zukis, and their respective families and affiliates; and (d) registered investment advisors and



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                                    STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                            209 S.W. OAK STREET, SUITE 500
                                               PORTLAND, OREGON 97204
                                          TEL. (503) 227-1600 FAX (503) 227-6840
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investment advisor representatives; and (e) any investor who received finder’s fees or other

consideration from Aequitas in connection with referring investors to Aequitas.

        204.   Members of these Classes are so numerous that joinder is impracticable. Plaintiffs

believe that the Class exceeds 1,500 members. Further, the Class is readily identifiable from

information and records kept in the possession of Aequitas and/or the Class.

        205.   Plaintiffs’ claims are typical of the claims of the Class in that the claims are based

upon a common set of written representations, all Class members were damaged by the same

wrongful conduct, and the relief sought is common to the Class.

        206.   Numerous common questions of law or fact arise from Defendants’ conduct,

including:

               a.      whether the Aequitas securities were sold in violation of the registration

requirements of the Oregon Securities Law;

               b.      whether the Aequitas securities were sold by means of false statements of

fact or omissions of material fact;

               c.      whether Defendants EisnerAmper, Deloitte, Sidley, Tonkon, Ameritrade,

Integrity and Duff & Phelps participated in or materially aided the sales of Aequitas securities;

and

               d.      whether Defendant Integrity successfully solicited sales of Aequitas

securities.

        207.   These common questions of law or fact predominate over any other questions

affecting only individual Class members.

        208.   Plaintiffs will fairly and adequately represent the interests of the Class in that they

are typical persons that purchased Aequitas securities, and have no conflicts with any other

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                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
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member of either Class. Plaintiffs have retained competent counsel experienced in class action

litigation.

        209.    A class action is superior to the alternatives, if any, for the fair and efficient

adjudication of this controversy, as the burden of individual litigation makes it impracticable for

Class members to seek individual redress for the wrongful conduct alleged herein.

        210.    Plaintiffs reserve the right to expand, modify, or alter the Class definition in

response to information learned during discovery.

                                       CLAIM FOR RELIEF

                              (Violations of Oregon Securities Law)
                                     (Against All Defendants)

        211.    Plaintiffs incorporate by reference the allegations in the above paragraphs as if

fully set forth herein.

        212.    Securities were sold by Aequitas, as alleged herein, to Plaintiffs and the Class in

violation of ORS 59.115(1).

        213.    Within three years before this action was commenced, Aequitas sold unregistered

securities in violation of ORS 59.055 and 59.115(1)(a).

        214.    On and after June 9, 2010, Aequitas sold securities in violation of ORS 59.135(2)

and 59.115(1)(a), by making untrue statements of material facts and by omitting to state material

facts necessary in order to make the statements made, in light of the circumstances under which

they were made, not misleading. Plaintiffs and the Class did not know of the untruths or

omissions and, in the exercise of reasonable care, could not have known of the untruths or

omissions.




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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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       215.    On and after June 9, 2010, Aequitas sold securities by means of untrue statements

of material facts and omission to state material facts necessary to make the statements made, in

light of the circumstances under which they were made, not misleading, in violation of ORS

59.115(1)(b). Plaintiffs and the Class did not know of the untruths or omissions.

       216.    All Defendants are liable pursuant to ORS 59.115(3) because they participated in

and materially aided unlawful sales of securities.

       217.    Defendant Integrity is liable pursuant to ORS 59.115(1)(b) because it sold or

successfully solicited the unlawful sale of ACF Notes, AIPF Interests and AIOF-II Notes.

       218.     Pursuant to ORS 59.115(2)(a), upon tender of the securities, Defendants are

jointly and severally liable for the consideration paid for the securities, plus interest from the date

of payment equal to the greater of the rate of interest provided in the security or 9%, less any

amounts Plaintiffs and the Class received on the securities.

       219.    Pursuant to ORS 59.115(10), Defendants should be required to pay the reasonable

attorney fees of Plaintiffs and the Class.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that:

       A.      This action may properly be maintained as a class action under Rule 23 of the

Federal Rules of Civil Procedure, and certifying Plaintiffs as class representatives and

designating their counsel as counsel for the Class;

       B.      Plaintiffs and the Class be awarded relief pursuant to ORS 59.115(2)(a), including

the consideration paid for the securities and interest from the date of payment equal to the greater

of the rate of interest provided in the security or 9%;



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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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       C.      Plaintiffs and the Class be awarded its reasonable attorney fees pursuant to ORS

59.115(10);

       D.      Plaintiffs and the Class be awarded their reasonable costs and expenses incurred

in this action, including expert fees;

       E.      Judgment be entered in favor of Plaintiffs and the Class against Defendants,

including interest thereon; and

       F.      For such other and further relief as the nature of this case may require or as this

Court deems just, equitable, and proper.

       DATED this 8th day of September, 2017.

                                         STOLL STOLL BERNE LOKTING & SHLACHTER P.C.

                                         By: s/Timothy S. DeJong
                                            Keith A. Ketterling, OSB No. 913368
                                            Timothy S. DeJong, OSB No. 940662
                                            Jacob S. Gill, OSB No. 033238
                                            Nadia H. Dahab, OSB No. 125630

                                         209 SW Oak Street, Suite 500
                                         Portland, OR 97204
                                         Telephone: (503) 227-1600
                                         Facsimile: (503) 227-6840
                                         Email:      kketterling@stollberne.com
                                                     tdejong@stollberne.com
                                                     jgill@stollberne.com
                                                     ndahab@stollberne.com
                                         -And-
                                         Steve W. Berman (admitted pro hac vice)
                                         Email: steve@hbsslaw.com
                                         Karl P. Barth (admitted pro hac vice)
                                         Email: karlb@hbsslaw.com
                                         Catherine Y.N. Gannon (admitted pro hac vice)
                                         Email: catherineg@hbsslaw.com
                                         Dawn Cornelius (admitted pro hac vice)
                                         Email: dawn@hbsslaw.com
                                         HAGENS BERMAN SOBOL SHAPIRO LLP
                                         1918 Eighth Avenue, Suite 3300
                                         Seattle, WA 98101
                                         Telephone: (206) 623-7292
                                         Facsimile: (206) 623-0594

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                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                           209 S.W. OAK STREET, SUITE 500
                                              PORTLAND, OREGON 97204
                                         TEL. (503) 227-1600 FAX (503) 227-6840
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                                -And-
                                Robert S. Banks, Jr., OSB No. 821862
                                Email: bbanks@SamuelsLaw.com
                                Darlene D. Pasieczny, OSB No. 124172
                                Email: darlenep@SamuelsLaw.com
                                SAMUELS YOELIN KANTOR LLP
                                Attorneys at Law
                                111 SW 5th Avenue, Suite 3800
                                Portland, OR 97204-3642
                                Telephone: (503) 226-2966
                                Facsimile: (503) 222-2937

                                Attorneys For Plaintiffs




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                           STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                   209 S.W. OAK STREET, SUITE 500
                                      PORTLAND, OREGON 97204
                                 TEL. (503) 227-1600 FAX (503) 227-6840
